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                           ATTACHMENT
           Case 2:03-cv-00294-DN Document 1164 Filed 03/01/16 Page 1 of 1
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                                                                                            FILED
AO 450 (Rev.5/85) Judgment in a Civil Case                                        CLERK, U.S. DISTRICT COURT
                                                                                     March 1, 2016 (10:25am)
                                                                                      DISTRICT OF UTAH

                       United States District Court
                                             Central Division for the District of Utah




                        SCO Group                                  JUDGMENT IN A CIVIL CASE
                                  V.

    International Business Machines
              Corporation
                                                                  Case Number: 2:03cv00294 DN

          This action came to trial or hearing before the Court. The issues have been tried or heard and a
          decision has been rendered.

          IT IS ORDERED AND ADJUDGED


          that pursuant to the orders of the court entered on July 10, 2013, February 5, 2016, and February
          8, 2016, judgment is entered in favor of the defendant and plaintiff's causes of action are
          dismissed with prejudice.




March 1, 2016                                                 D. Mark Jones
Date                                                          Clerk of Court




                                                              (By) Deputy Clerk
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                             UNITED STATES DISTRICT COURT
                          DISTRICT OF UTAH, CENTRAL DIVISION


THE SCO GROUP, INC., A DELAWARE                     ORDER GRANTING IBM’S [783]
CORPORATION;                                        MOTION FOR PARTIAL
                                                    SUMMARY JUDGMENT
                       Plaintiff,
                                                    2:03-CV-00294-DN
v.
                                                    District Judge David Nuffer
INTERNATIONAL BUSINESS MACHINES
CORPORATION,

                       Defendant.


       This case arises out of the relationship between The SCO Group, Inc. (“SCO”) and

International Business Machines Corporation (“IBM”) regarding IBM’s production of its LINUX

operating system. SCO held a majority of the UNIX-on-Intel market with its UNIX operating

system in 1998 when IBM and SCO agreed to collaborate to produce a new operating system,

Project Monterey. SCO claimed that IBM used this project to gain access SCO’s UNIX source

code and then copied thousands or millions of lines of that code into LINUX. Because LINUX

was offered at no cost in the open-source community, it rapidly displaced UNIX, and SCO’s

UNIX sales rapidly diminished. SCO publicized the alleged copyright infringement and the

alleged wrongs committed by IBM, and IBM argued that SCO’s tactics were improper and in

bad faith, and that it had the right to use any lines of code it added to LINUX. Previously in this

litigation, many claims have been resolved. This order addresses SCO’s tortious interference

claims, granting summary judgment on those claims in favor of IBM.




                                                                                                      1
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                                         CASE AND MOTION BACKGROUND

           This case has been assigned to multiple judges in the District of Utah since it was filed in

2003. The case was administratively closed by Judge Kimball on September 20, 2007 due to

SCO’s filing for bankruptcy, 1 and on September 10, 2010, Judge Campbell denied SCO’s

request to re-open the case to resolve two of the several pending motions. 2 SCO filed a motion to




1
    Order Regarding Temporary Administrative Closure of Case, docket no. 1081, filed Sept. 20. 2007.
2
    Order, docket no. 1093, filed Sept. 10, 2010.



                                                                                                                                                  2
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reopen the case to resolve some pending motions, 3 and after the case was reassigned again, that

motion was denied with the intent of keeping the case closed during the bankruptcy. 4 On May 7,

2013, SCO filed a motion for reconsideration of that order. 5 Because IBM did not oppose this

motion or the reopening of the case, SCO’s motion was granted, the previous order denying the

motion to reopen 6 was vacated, and the case was reopened on June 14, 2013. 7

           Following the resolution of separate litigation between Novell, Inc. (“Novell”) and SCO, 8

SCO proposed that six of SCO’s claims be dismissed with prejudice: breach of IBM Software

Agreement (Count I), breach of IBM Sublicensing Agreement (Count II), breach of Sequent

Software Agreement (Count III), breach of Sequent Sublicensing Agreement (Count IV),

copyright infringement (Count V), and interference with the 1995 Asset Purchase Agreement at

issue in the Novell case (Count VIII). 9 On July 22, 2013, IBM filed a motion for partial summary

judgment regarding remaining claims based on the Novell judgment. 10 On December 15, 2014,

partial summary judgment was granted in IBM’s favor on IBM’s counterclaims seeking a

declaration of non-infringement of the copyrights to the pre-1996 UNIX source code (IBM’s

Counterclaims IX and X), and on SCO’s unfair competition claim (Count VI) and tortious

interference claims (Counts VII and IX) “insofar as they alleged that SCO, and not Novell, owns

the copyrights to the pre-1996 UNIX source code and/or that Novell does not have the right to


3
    The SCO Group, Inc.’s Motion to Reopen the Case, docket no. 1095, filed Nov. 4, 2011.
4
    Memorandum Decision and Order Denying Motion to Reopen the Case, docket no. 1109, filed Apr. 24, 2013.
5
 The SCO Group, Inc.’s Motion for Reconsideration of the Court’s Order Denying Motion to Reopen the Case,
docket no. 1110, filed May 7, 2013.
6
    Memorandum Decision and Order Denying Motion to Reopen the Case, docket no. 1109, filed Apr. 24, 2013.
7
    Order Reopening Case and Vacating Prior Order, docket no. 1115, filed June 14, 2013.
8
    SCO Group, Inv. v. Novell, Inc., Case No. 2:04-cv-00129-TS.
9
    Partial Judgment Dismissing SCO Claims, docket no. 1123, filed July 10, 2013.
10
  IBM’s Motion and Memorandum for Partial Summary Judgment on the Basis of the Novell Judgment, docket no.
1126, filed July 22, 2013.



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waive IBM’s alleged breaches of the licensing agreements pursuant to which IBM licensed pre-

1996 UNIX source code.” 11

           On March 13, 2015, SCO and IBM filed a Joint Status Report 12 outlining the claims and

motions that remain pending. SCO’s only remaining claims are unfair competition (Count VI),

tortious interference with a contract (Count VII), and tortious interference with prospective a

business relationship (Count IX), all of which are challenged by summary judgment motions.

IBM has eight pending counterclaims, seven of which are challenged by summary judgment

motions. 13 An order entering summary judgment against SCO on its unfair competition claim

(Count VI) was entered February 5, 2016. 14 This order addresses only SCO’s remaining claims,

for tortious interference (Counts VII and IX).

           On September 25, 2006, IBM filed a motion for summary judgment on SCO’s tortious

interference claims, 15 followed shortly thereafter by a memorandum in support. 16 On November

11, 2006, SCO filed its opposition brief, 17 to which IBM replied on January 12, 2007. 18 The




11
  Memorandum Decision and Order Granting in Part and Denying in Part IBM’s Motion for Partial Summary
Judgment on the Basis of the Novell Judgment, docket no. 1132, filed Dec. 15, 2014.
12
     Docket no. 1134, filed Mar. 13, 2015.
13
  IBM’s pending counterclaims are breach of contract (Counterclaim I), a violation of the Lanham Act
(Counterclaim II), unfair competition (Counterclaim III), intentional interference with prospective economic
relations (Counterclaim IV), a violation of the New York State Unfair and Deceptive Trade Practices Act
(Counterclaim V), breach of the General Public License (Counterclaim VI), promissory estoppel (Counterclaim
VII), and copyright infringement (Counterclaim VIII). SCO has not challenged IBM’s breach of contract
counterclaim by dispositive motions.
14
     Order Granting IBM’s Motion for Partial Summary Judgment, docket no. 1159, filed Feb. 5, 2016.
15
  IBM’s Motion for Summary Judgment on SCO’s Interference Claims (SCO’s Seventh, Eighth and Ninth Causes
of Action) (“IBM’s Interference Motion”), docket no. 783, filed Sept. 25, 2006.
16
  IBM’s Memorandum in Support of Its Motion for Summary Judgment on SCO’s Interference Claims (SCO’s
Seventh, Eighth and Ninth Causes of Action) Filed Under Seal Pursuant to 9/16/03 Protective Order, Docket #38
(“IBM’s Interference Memorandum”), docket no. 803, filed Sept. 29, 2006.
17
  SCO’s Memorandum in Opposition to IBM’s Motion for Summary Judgment on SCO’s Interference Claims
(SCO’s Seventh, Eighth and Ninth Causes of Action) Filed Under Seal (“SCO’s Interference Opposition”), docket
no. 868, filed Nov. 11, 2006.


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parties argued the motion before Judge Kimball on March 5, 2007. 19 Pursuant to a request in the

March 2015 Joint Status Report 20 to supplement the older briefing, the parties were given the

opportunity to provide five additional pages of authority. 21 On May 21, 2015, IBM filed its

supplemental brief, 22 and SCO filed its supplement on June 5, 2015. 23

           A status conference was held on June 11, 2015 in which the parties gave brief educational

and background summaries on the remaining claims and motions. 24 As part of this background

presentation, both parties relied heavily on both Utah and New York case law, agreeing that

there was not an important distinction in the bodies of law regarding this case and stipulating to

the use of both. In that hearing, the parties also agreed to engage in settlement negotiations

conducted by a magistrate judge, but were not amendable to a settlement conference when the

magistrate judge attempted to arrange one. 25

           Having reviewed the parties’ original and supplementary briefing as well as their oral

argument before Judge Kimball, it is unnecessary to hold additional oral argument to decide this

motion. Therefore, for the reasons stated more fully below, summary judgment is GRANTED in

IBM’s favor on SCO’s tortious interference claims.

18
   IBM’s Reply Memorandum in Further Support of Its Motion for Summary Judgment on SCO’s Interference
Claims (SCO’s Seventh, Eighth and Ninth Causes of Action) Filed Under Seal Pursuant to 9/16/03 Protective Order,
Docket #38 (“IBM’s Interference Reply”), docket no. 946, filed Jan. 12, 2007.
19
     See Minute Entry, docket no. 974, filed Mar. 5, 2007.
20
     Docket no. 1134, filed Mar. 13, 2015.
21
     See Docket Text Order, docket no. 1142, filed May 28, 205.
22
  IBM’s Case Law Update with Respect to Its Motion for Summary Judgment on SCO’s Unfair Competition Claim
(SCO’s Sixth Cause of Action) and Its Motion for Summary Judgment on SCO’s Interference Claims (SCO’s
Seventh and Ninth Causes of Action) (“IBM’s Interference Supplement”), docket no. 1140, filed May 21, 2015.
23
  SCO’s Response to IBM’s Case Law Update with Respect to Its Motion for Summary Judgment on SCO’s Unfair
Competition Claim (SCO’s Sixth Cause of Action) and Its Motion for Summary Judgment on SCO’s Interference
Claims (SCO’s Seventh and Ninth Causes of Action) (“SCO’s Interference Supplement”), docket no. 1144, filed
June 5, 2015.
24
     See Minute Order, docket no. 1150, filed June 11, 2015.
25
     See Order Regarding Settlement Conference Referral, docket no. 1155, filed July 7, 2015.



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                           STATEMENT OF UNDISPUTED FACTS ON [783]

            The below collection of undisputed facts is distilled from the above listed filings. IBM’s

Interference Memorandum provided a statement of facts 26 and separate supporting exhibits. 27

SCO’s Interference Opposition responded to IBM’s statement of facts 28 and provided a statement

of additional facts 29 and its own set of exhibits. IBM’s Interference Reply replied to SCO’s

responses to IBM’s statement of facts 30 and included an addendum in which it objected to SCO’s

additional facts. 31 In the June 11, 2015 hearing, the parties agreed to reconcile the facts on IBM’s

Interference Motion and IBM’s summary judgment motion32 regarding SCO’s unfair

competition claim. 33 The parties were ordered to reconcile the facts on IBM’s unfair competition

motion first, to be completed within 30 days; however, after seeking an extension, the parties

failed to reconcile the facts as ordered. Determination of the undisputed facts has been made by

the court.

            The headings in this statement of facts are descriptive, not declaratory or substantive.


                                     A. SCO’s Complaints and Disclosures.

            1.      SCO’s first complaint in this case, filed on March 6, 2003, included a claim for

interference with contract. In it, SCO identified seven companies as purported examples of

companies with whose contracts IBM is alleged to have interfered: The Sherwin-Williams

26
     IBM’s Interference Memorandum at 3–35.
27
  See Declaration of Todd M. Shaughnessy Filed Under Seal Pursuant to 9/16/03 Protective Order, Docket #38
(“IBM’s First Exhibits”), docket no. 804, filed under seal on Sept. 25, 2006.
28
     SCO’s Interference Opposition at 56–94, Appendix A: Response to IBM’s “Statement of Undisputed Facts.”
29
     Id. at 4–27.
30
     IBM’s Unfair Competition Reply at Addendum A: IBM’s Undisputed Facts: IBM Interference Brief.
31
     Id. at Addendum B: IBM’s Objections to SCO’s Alleged Evidence.
32
  IBM’s Motion for Summary Judgment on SCO’s Unfair Competition Claim (SCO’s Sixth Cause of Action),
docket no. 782, filed Sept. 25, 2006.
33
     See Minute Order, docket no. 1150, filed June 11, 2015.



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Company (“Sherwin-Williams”), Papa John’s Pizza, AutoZone, Inc. (“AutoZone”), Hewlett-

Packard Company (“Hewlett-Packard”), Fujitsu Ltd., NEC, and Toshiba Group. 34

           2.       SCO’s Amended Complaint, filed on July 22, 2003, also contained a claim for

interference with contract, but this time listed only three companies as purported examples of

companies with which IBM is alleged to have interfered: Sherwin-Williams, Papa John’s Pizza

and AutoZone. 35

           3.       IBM propounded its first set of interrogatories on June 13, 2003, asking, in

Interrogatory No. 8, that SCO, among other things, “identify all agreements with which plaintiff

alleges IBM interfered and describe, in detail, each instance in which plaintiff alleges or

contends that IBM interfered with those agreements, including but not limited to . . . all persons

involved in the alleged interference . . . and . . . the specific trade secret or confidential or

proprietary information, if any, involved in the alleged interference.” 36

           4.       On August 4, 2003, SCO responded to IBM’s Interrogatory No. 8 only with stock

objections, stating that “discovery has just begun and [SCO] has not received responsive

discovery from IBM that would allow it to fully answer this question because part of this

information is peculiarly within the knowledge of IBM.” 37

           5.       On October 1, 2003, IBM filed a motion to compel SCO to provide complete

responses to its interrogatories, including Interrogatory No. 8. 38



34
     Complaint ¶ 125, attached as Exhibit 1 to IBM’s First Exhibits.
35
     Amended Complaint ¶ 157, attached as Exhibit 2 to IBM’s First Exhibits.
36
  Defendant IBM’s First Set of Interrogatories and First Request for the Production of Documents at 4-5
Interrogatory No. 8, attached as Exhibit 11 to IBM’s First Exhibits.
37
 Plaintiff’s Responses to Defendant’s First Set of Interrogatories and First Request for the Production of
Dcouments at 12 Interrogatory Response No. 8, attached as Exhibit 31 to IBM’s First Exhibits.
38
 Defendant/Counterclaim Plaintiff International Business Machines Corporation’s Memorandum in Support of
Motion to Compel Discovery, attached as Exhibit 62 to IBM’s First Exhibits.



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            6.       On October 23, 2003, the same day it filed an opposition to IBM’s motion to

 compel, SCO served IBM with a supplemental response to IBM’s first set of interrogatories. 39 In

 it, SCO claimed that IBM had interfered with SCO’s contracts or prospective relationships with

 12 entities- Sherwin-Williams, AutoZone, Target Corporation (“Target”), The Kroger Company

 (“Kroger”), Advanced Auto, Shaw’s Supermarkets, State of Maine (Department of Labor),

 Eckerd Corporation/CVS Pharmacy (“Eckerd/CVS”), Safeway, Inc. (“Safeway”), Hewlett-

 Packard, Intel Corporation (“Intel”) and Computer Associates International, Inc. (“Computer

 Associates”) – nine of whom had never before been identified by SCO. 40

            7.       On December 12,2003, Magistrate Judge Wells granted IBM’s motions to

 compel, and ordered SCO “[t]o respond fully and in detail to Interrogatory Nos. 1–9 as stated in

 IBM’s First Set of Interrogatories” on or before January 12, 2004. 41

            8.       After the January 12, 2004 deadline, SCO submitted its “Revised Supplemental

 Response to Defendant’s First and Second Set of Interrogatories” on January 15, 2004. In it,

 SCO claimed that IBM had interfered with SCO’s contracts or prospective relationships with

 seven – not 12 – entities: Sherwin-Williams, AutoZone, Target, Hewlett-Packard, Intel,

 Computer Associates, and Oracle Corporation (“Oracle”). 42

            9.       The next month, SCO filed a Second Amended Complaint, dated February 27,

 2004, and the list of companies shrank further. There, SCO’s Seventh Cause of Action again


 39
   Plaintiff’s Supplemental Response to Defendant’s First Set of Interrogatories, attached as Exhibit 32 to IBM’s
 First Exhibits.
 40
      Id. at 32 Supplemental Interrogatory Response No. 8.
 41
  Order Granting International Business Machine’s Motions to Compel Discovery and Requests for Production of
 Documents, filed Dec. 12, 2003, at 2, 3, attached as Exhibit 55 to IBM’s First Exhibits.
 42
   Plaintiff’s Revised Supplemental Response to Defendant’s First and Second Set of Interrogatories at 50-56
 Supplemental Interrogatory Response No. 8, attached as Exhibit 33 to IBM’s First Exhibits (SCO dropped Kroger,
 Advanced Auto, Shaw’s Supermarkets, State of Maine (Department of Labor), Eckerd’s/CVS, and Safeway, and
 added Oracle for the first time).



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 alleged interference with contract, this time specifically identifying only two companies

 (Sherwin-Williams and AutoZone, purportedly as examples) with which IBM is alleged to have

 interfered. SCO reiterated that its claim also extended to “existing or potential economic

 relationships with a variety of companies in the computer industry, including but not limited to

 Hewlett-Packard.” 43 SCO’s Ninth Cause of Action claiming interference with business relations

 identified only one company (Hewlett-Packard) with whose business relationship IBM is alleged

 to have interfered. 44 Thus, as of February 27, 2004, the three companies involved in SCO’s

 interference claims that were specifically identified were Sherman-Williams, AutoZone, and

 Hewlett-Packard.

             10.       By Order dated March 3, 2004, the Court reiterated its December 2003 Order,

 compelling SCO again to provide meaningful responses to IBM’s interrogatories, this time on or

 before April 19, 2004. 45 Specifically, the Court required SCO to “fully comply within 45 days of

 the entry of this order with the Court’s previous order dated December 12, 2003.” 46 The

 Magistrate Judge further observed that SCO had made “good faith efforts to comply with the

 Court’s prior order.” 47

             11.       On January 22, 2005, IBM propounded its sixth set of interrogatories, including

 Interrogatory No. 24, which states:

             For each of the claims asserted by plaintiff in this lawsuit, please describe in
             detail all of the alleged damages to plaintiff that were proximately caused by
             IBM, including, but not limited to; (a) the amount of the alleged damages; (b) the
             basis for the alleged damages; (c) the precise methodology by which the damages

 43
      Second Amended Complaint ¶ 209, attached as Exhibit 3 to IBM’s First Exhibits.
 44
      Id. ¶¶ 208-14.
 45
   Order Regarding SCO’s Motion to Compel Discovery and IBM’s Motion to Compel Discovery, filed Mar. 3,
 2004, at 2, attached as Exhibit 56 to IBM’s First Exhibits.
 46
      Id.
 47
      Id. at 3.



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            were calculated; documents or other materials relied upon or considered in
            determining the alleged damages; and (d) all efforts undertaken by plaintiff to
            mitigate the alleged damages. 48

            12.       On April 21, 2005, at a hearing before the Court, counsel for SCO stated:

            IBM has served interrogatories on SCO, and SCO is under an obligation to
            respond to those interrogatories. We will do so as soon as we can. If it arises that
            IBM is of the view that it has not received our responses to their interrogatories in
            enough time to complete discovery, that is an issue to raise with the Court at that
            point. The Court is full of arsenal [sic] of measures it can take to allow more time
            or to preclude us from using evidence if we haven’t produced responses to those
            interrogatories in time. 49

            13.       On July 1, 2005, the Court entered a Revised Scheduling Order, setting October

 28, 2005, as the “Interim Deadline for Parties to Disclose with Specificity All Allegedly Misused

 Material” and December 22, 2005, as the “Final Deadline for Parties to Identify with Specificity

 All Allegedly Misused Material.” 50 The Court required SCO to update interrogatory responses

 accordingly, including its response to Interrogatory No. 8. 51

            14.       Having received no further update to its response to Interrogatory No.8 despite

 the three Court orders, on September 2, 2005, IBM served SCO with a Rule 30(b)(6) deposition

 notice, asking that SCO designate a corporate representative to testify about SCO’s relationships,

 and IBM’s alleged interference, with the 13 entities identified in all of SCO’s interrogatory

 responses to that point (Sherwin-Williams, AutoZone, Target, Kroger, Advanced Auto, Shaw’s

 Supermarkets, State of Maine (Department of Labor), Eckerds/CVS, Safeway, Hewlett-Packard,

 Intel, Computer Associates, and Oracle), as well as with Novell. 52


 48
  Defendant/Counterclaim-Plaintiff IBM’s Sixth Set of Interrogatories and Sixth Request for Production of
 Documents at 3 Interrogatory No. 24, attached as Exhibit 17 to IBM’s First Exhibits.
 49
      Transcript of Motion Hearing, dated Apr. 21, 2005, at 95:20-96:4, attached as Exhibit 417 to IBM’s First Exhibits.
 50
      Order, filed July 1, 2005, at 4, attached as Exhibit 58 to IBM’s First Exhibits.
 51
      Id.
 52
   Defendant/Counterclaim-Plaintiff IBM’s Notice of 30(b)(6) Deposition (“IBM’s 30(b)(6) Deposition Notice”) at
 5-6, attached as Exhibit 20 to IBM’s First Exhibits.



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            15.      SCO designated Jeff Hunsaker, Senior Vice-President and General Manager of

 SCO’s UNIX division and former Vice-President of Worldwide Sales, to testify about SCO’s

 business relationships with the 14 entities listed in IBM’s notice. 53 SCO also designated Ryan

 Tibbitts, SCO’s general counsel, to testify about the remaining subtopics, including “the date,

 nature and particulars of any conduct by IBM interfering with the relationship” and “the impact

 on SCO of IBM’s conduct.” 54

            16.      On October 7, 2005, at a hearing before the Court, counsel for SCO committed to

 supplementing SCO’s responses to IBM’s interrogatories, including its response to Interrogatory

 No. 8, by December 22, 2005, as required by the Court in its July 1, 2005, Order:

            Counsel for SCO: Now, with respect to material that has been produced, Judge
            Kimball ordered us by October 24th to provide our interim disclosures of the
            technology and supplement that with the final disclosure in December. We are
            working on that and. We intend to fully comply with the order, which is the
            current order we understand we are operating under with respect to those
            mentioned by identification. 55

            17.      At his deposition on November 10, 2005, Mr. Hunsaker (SCO’s 30(b)(6)

 designee) could name no companies other than the 14 listed in IBM’s 30(b)(6) notice as having

 relationships with SCO with which IBM allegedly interfered:

            Q: Could you please answer if, aside from the companies mentioned in Topic 10,
            there is any other company or entity with whose relationship with SCO IBM has
            allegedly interfered with?

            A: As relates to specific names of companies, no. As it relates to the impact of
            IBM on SCO’s business to all of our customers, it’s broad. 56




 53
      Letter from E. Normand to A. Sorenson, dated Sept. 26, 2005, attached as Exhibit 47 to IBM’s First Exhibits.
 54
      IBM’s 30(b)(6) Deposition Notice at 6.
 55
      Transcript of Motion Hearing, dated Oct. 7, 2005, at 56:1-7, attached as Exhibit 418 to IBM’s First Exhibits.
 56
    Deposition Transcript of Jeff Hunsaker, dated Nov. 10, 2005 (“Hunsaker Nov. 10, 2005 Depo.”), at 19:10-17,
 attached as Exhibit 312 to IBM’s First Exhibits.



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             18.     In response to questions concerning SCO’s historical revenues from each of the

 14 companies and the SCO products purchased by these companies, Mr. Hunsaker could not

 provide any specific information, but instead referred to certain “financial records” that he stated

 had already been provided to IBM. 57 Counsel for IBM requested that “the records that Mr.

 Hunsaker has referred to that he reviewed regarding revenue products and other information for

 the [14] Subject Companies be produced to [IBM], and if it already has been produced, that it be

 specifically identified to [IBM].” 58

             19.     On November 30, 2005, counsel for IBM wrote to counsel for SCO, requesting

 that SCO produce the “financial and other information dating from 1996 and pertaining to SCO

 customers, revenues and product sales” that Mr. Hunsaker testified he had reviewed. 59 Counsel

 for IBM stated, “It became readily apparent that IBM was seeking reasonably detailed and

 specific information with respect to the Subject Companies. Mr. Hunsaker was not prepared to

 provide this type of information.” 60

             20.     On December 1, 2005, SCO produced two documents to IBM. One document

 purported to contain “Revenue Information” from 1999 to 2005 for 12 of the 14 companies listed

 in IBM’s notice (omitting Advanced Auto and Oracle). The other document purported to contain

 “Invoicing” information from 1996 to 1998 for 13 of the 14 companies listed in IBM’s notice

 (omitting Advanced Auto). 61




 57
      Id. at 63:15–20, 138:2–25, 140:21–141:16,146:22–147:8.
 58
      Id. at 159:18–23.
 59
      Letter from C. Drake to E. Normand, dated Nov. 30, 2005, at 3, attached as Exhibit 209 to IBM’s First Exhibits.
 60
      Id. at 3-4.
 61
    Revenue Information for Select Customers for the Period of FY1999 to FY2005, attached as Exhibit 49 to IBM’s
 First Exhibits; Invoicing Only -- Not Revenue for the Period of Fiscay 1996 to 1998, attached as Exhibit 50 to
 IBM’s First Exhibits.



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            21.      The next day, IBM deposed Darl McBride, SCO’s President and CEO. When Mr.

 McBride was asked to confirm that the 13 companies identified in the documents were the only

 companies with which IBM was alleged to have interfered, he declined to do so and instead went

 on to identify ten new “sets” of relationships, constituting at least 43 entities, with which he

 claimed IBM interfered. 62 The ten “sets” identified by Mr. McBride were: (i) the “Members of

 United Linux”; (ii) SCO’s “Customers” in its typical distribution channel; (iii) “Third-Party

 Software and Hardware Vendors”; (iv) “Industry Event Companies”; (v) the “Chicago 7”

 companies; (vi) “Industry Analysts”; (vii) the “Project Monterey Group”; (viii) “Standards

 Bodies or Companies Related to Standards Bodies; (ix) “SCO Investors”; and (x) the “Media”. 63

 At his deposition, Mr. McBride could not identify all of the members of these groups. 64

            22.      Mr. McBride also testified that he “[knew] there are other names,” that “the list of

 those companies would be much longer than what I could just recall off the top of my head,” and

 that he could not “tell . . . specifics of everyone that should be on that list.” 65

            23.      On December 5, 2005, counsel for IBM sent SCO’s counsel a letter, objecting to

 Mr. McBride’s testimony and the expansion of SCO’s interference claims. 66 Counsel for IBM

 stated:

            It is difficult to view Mr. McBride’s testimony as anything other than a misguided
            attempt by SCO to gain an unfair tactical advantage by expanding the scope of its
            interference and unfair competition claims and trying to force an extension of the
            discovery schedule. If SCO were allowed to expand its claims by Mr. McBride’s
            assertions, which (like most of his testimony) lacked any basis in personal
 62
    Deposition Transcript of Darl McBride, dated Dec. 2, 2005 (“McBride Dec. 2, 2005 Depo.”), at 63:12-83:24,
 attached as Exhibit 317 to IBM’s First Exhibits.
 63
   Persons or Entities Whose Relationship with SCO IBM is Alleged to have Interfered with, such that SCO was
 Damaged, that are the Subject of SCO’s Claims Against IBM – Identified by Mr. McBride at Deposition, attached as
 Exhibit 51 to IBM’s First Exhibits.
 64
      McBride Dec. 2, 2005 Depo. at 67:19-68:9.
 65
      Id. at 64:4–5, 64:9–10, 83:21-22.
 66
      Letter from T. Shaughnessy to E. Normand, dated Dec. 5, 2005, attached as Exhibit 52 to IBM’s First Exhibits.



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             knowledge, then IBM would be required to undertake substantial additional third-
             party discovery at great expense, burden and prejudice to IBM. 67

 Counsel for IBM also requested that SCO confirm that SCO’s interference claims were limited to

 IBM’s alleged interference with only the persons or entities listed in its interrogatory responses,

 at its Rule 30(b)(6) depositions and in the two documents produced the day before Mr.

 McBride’s deposition. 68

             24.     In response, counsel for SCO stated that IBM’s objections to Mr. McBride’s

 testimony were “mistaken,” that Mr. Tibbitts would testify on behalf of the company on the

 remainder of IBM’s Rule 30(b)(6) subtopics regarding SCO’s interference claims, including the

 identity of all companies with whom IBM is alleged to have interfered, and that “SCO’s

 supplemental interrogatory responses . . . will be consistent with SCO’s 30(b)(6) testimony on

 the same topics as the interrogatory responses.” 69 More completely, SCO’s counsel explained:

             Mr. Hunsaker was not designated to testify as a 30(b)(6) witness on the topic of
             IBM’s interference with SCO’s business relationships underlying SCO’s claims
             for tortious interference with contract and/or unfair competition. As per SCO’s
             objection at the time that IBM questioned Mr. Hunsaker (which objection you do
             not acknowledge in your December 5 letter), any question about the scope of
             SCO’s interference or unfair competition claims “exceeds the scope of the topic,
             the designation, for the witness.” 70

             25.     IBM took the Rule 30(b)(6) deposition of Mr. Tibbitts as to SCO’s interference

 claims the following week, on December 16, 2005. During Mr. Tibbitts’s deposition, SCO

 produced a spreadsheet describing “the interferences that [SCO is] alleging and currently




 67
      Id. at 2.
 68
      Id.
 69
   Letter from E. Normand to T. Shaughnessy, dated Dec. 8, 2005, at 5, attached as Exhibit 60 to IBM’s First
 Exhibits.
 70
      Id. (citing Hunsaker Nov. 10, 2005 Depo. at 18:22-24).



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 investigating.” 71 This spreadsheet, marked as Exhibit 90 to Mr. Tibbitts’s deposition, identifies

 some 250 entities in at least seven countries. 72 Exhibit 90 provides little meaningful information,

 if any, concerning the nature of SCO’s claim, IBM’s alleged misconduct, SCO’s relationships

 with the companies identified, SCO’s historical or prospective business with the companies or

 SCO’s alleged damages. 73

             26.        Although counsel for SCO stated to counsel for IBM that Exhibit 90 would “assist

 [Mr. Tibbitts] in answering these questions,” 74 when asked to provide information beyond what

 was represented on the chart, Mr. Tibbitts testified that “Well, as a general proviso, I don’t know

 much about these entities other than what’s on the spreadsheet here.” 75 Mr. Tibbitts testified that,

 other than certain additions he had, it was SCO’s “intent that this document basically be our

 answer to this category.” 76

             27.        When asked whether he could provide any additional information about any of the

 entities listed in Exhibit 90, Mr. Tibbitts testified, “So first page, no; second page, no; third page,

 no; fourth page, no; fifth page, no; sixth page, no; seventh page, no; eighth, no.” 77 Mr. Tibbitts

 further testified:

             Q: [W]ith the exception of those that you’ve identified, which we’ll talk about in
             just a minute, you are not prepared today to provide information beyond that
             which appears in Exhibit 90?

             A: Correct, and as I’ve already testified to.


 71
    Deposition Transcript of Ryan E. Tibbitts, dated Dec. 16, 2005 (“Tibbitts Dec. 16, 2005 Depo.”), at 43:9-14, 44:3-
 5, attached as Exhibit 319 to IBM’s First Exhibits.
 72
      Alleged IBM Interference Subject of and to Discovery 12/15/2005, attached as Exhibit 61 to IBM’s First Exhibits.
 73
      Id.
 74
      Tibbitts Dec. 16, 2005 Depo. at 43:16-17.
 75
      Id. at 53:5–7.
 76
      Id. at 53:8-12.
 77
      Id. at 85:7–9.



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             Q: Right. And that would include information regarding the specifics of IBM’s
             conduct?

             A: Correct. 78

             28.       At times, where Mr. Tibbitts purported to provide additional information beyond

 what appeared on the face of Exhibit 90, his testimony was frequently based on mere

 speculation. For example, when asked to elaborate on the meaning of an entry on Exhibit 90 that

 stated “Dell shifted over to IBM’s plan,” Mr. Tibbitts responded, “No. I mean I can guess that it

 means shifted over to IBM’s Linux plan, but that’s a guess on my part.” 79

             29.       Although many of the entries on Exhibit 90 contain the identical allegations that

 “IBM’s sales representatives persuad[ed] SCO’s customers that SCO has no viability” 80 and that

 there was “direct pressure from IBM to stop dealing with SCO,” 81 Mr. Tibbitts was unable to

 substantiate or clarify these allegations in any way.

             Q: Are you able to testify concerning the specifics of any statements by IBM to
             any customers or prospective customers identified in Exhibit 90 concerning
             SCO’s viability?
             A: No.
             Q: And are you able to provide any information about IBM’s alleged direct
             pressure to these customers and prospective customers to stop dealing with SCO?
             A: No. 82

             30.       Mr. Tibbitts, SCO’s Rule 30(b)(6) witness on SCO’s relationship with BayStar

 Capital Management, LLC (“Baystar”), also testified that all he knew about IBM’s alleged

 interference with BayStar was as briefly stated in SCO’s Exhibit 90: “No, I think this is all I

 know about IBM’s alleged involvement with -- behind the scenes with BayStar”: that BayStar’s



 78
      Id. at 87:2–9.
 79
      Id. at 110:7–14.
 80
      Alleged IBM Interference Subject of and to Discovery 12/15/2005, attached as Exhibit 61 to IBM’s First Exhibits.
 81
      Id.
 82
      Tibbitts Dec. 16, 2005 Depo. at 89:14-22.



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 principal, Lawrence Goldfarb, “told [SCO’s CEO] Darl [McBride] sort of after the dust settled

 that IBM was on him, on him, on him, or something like that.” 83

             31.     The next week, on December 20, 2005, counsel for IBM spoke with counsel for

 SCO regarding Mr. McBride’s and Mr. Tibbitts’s testimony and SCO’s expansion of its

 interference claims. 84 Counsel for SCO stated that SCO had now determined to limit the number

 of specific companies for which SCO was claiming interference to ten, and possibly to five, and

 that SCO would provide an updated interrogatory response reflecting this as soon as possible. 85

 In response, counsel for IBM stated that if such a response was not promptly provided, IBM was

 prepared to bring the matter to the attention of the Court. 86

             32.     On December 22, 2005, SCO served its final disclosures, but failed to update its

 interrogatory responses, including its response to Interrogatory No. 8. 87

             33.     On December 28, 2005, counsel for SCO informed counsel for IBM that the

 number of specific companies at issue would in fact be only six; that they would be BayStar,

 Hewlett-Packard, Oracle, AutoZone, Intel, and Novell; and that SCO would promptly

 supplement its interrogatory answers accordingly. 88




 83
      Id. at 86:15–19.
 84
   Declaration of Todd M. Shaughnessy (“Shaughnessy Declaration”) ¶ 2, attached as Exhibit 70 to IBM’s First
 Exhibits.
 85
      Id. ¶ 3.
 86
      Id.
 87
      SCO’s Disclosure of Material Misues by IBM, attached as Exhibit 54 to IBM’s First Exhibits.
 88
      Shaughnessy Declaration ¶ 4.



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             34.    On January 13, 2006, after the December 22, 2005, deadline for finally submitting

 its final disclosures and updated interrogatory responses, SCO served a revised Supplemental

 Response to Interrogatory No. 8. 89

             35.    Despite SCO’s commitment to limit its interference claims to approximately six

 companies, the Supplemental Response identifies over 150 entities whose relationship with SCO

 IBM allegedly interfered with. 90 The Supplemental Response also identifies six companies or

 entities with which SCO claims IBM interfered through various direct contacts with the

 companies: BayStar, Hewlett-Packard, Computer Associates, Oracle, and Intel, as well as an

 “OpenSource Conference” in Scottsdale, Arizona. 91

             36.    As to these, SCO makes the following allegations:

                    a.      BayStar: SCO alleges that, following BayStar’s investment in SCO in

             October 2003, “IBM on one or more occasions communicated with BayStar in order to

             induce BayStar to threaten litigation against SCO and to terminate its business

             relationship with and/or withdraw or reduce its investment in SCO” and that “[a]s a

             proximate result of IBM’s communications with BayStar, BayStar terminated its business

             relationship with SCO in May 2004.” 92

                    b.      Computer Associates, Oracle, and Intel: SCO alleges “[o]n information

             and belief” that IBM contacted Computer Associates, Oracle, and Intel during or shortly




 89
   SCO’s Supplemental Response to Interrogatory No. 8 ( “Supplemental Response”), attached as Exhibit 46 to
 IBM’s First Exhibits.
 90
      Id.
 91
      Id. at 2–7.
 92
      Id. at 2–3.



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             after the LinuxWorld 2003 convention and informed them that IBM was “cutting off all

             business ties with SCO” and that IBM wanted each of them to do the same. 93

                    c.       Hewlett-Packard: SCO alleges that “[Karen] Smith [of IBM] contacted

             Rick Becker of Hewlett-Packard during or shortly after the LinuxWorld 2003 convention

             and stated that IBM was cutting off all business ties with SCO and wanted Hewlett-

             Packard to do the same.” 94 SCO relies entirely on the deposition testimony of Mr.

             Becker, that at the LinuxWorld 2003 convention, Ms. Smith “indicated to me that IBM

             was going to withdraw all their business activities from SCO, and that in the interest of

             the best outcome for our joint Linux initiatives that she was going to suggest that HP, and

             I was representing HP, and following me, Intel should do the same.” 95 SCO also alleges

             that, although Hewlett-Packard and SCO “still have a good business relationship,

             Hewlett-Packard has provided SCO with significantly less support than it did in 2002.” 96

                    d.       OpenSource Conference in Scottsdale, Arizona: SCO alleges that Darl

             McBride “entered into an oral business relationship with John Terpstra, who was hosting

             an OpenSource Conference in Scottsdale, Arizona, in the spring of 2004, to speak at the

             conference.” 97 SCO further claims that IBM thereafter “contacted Mr. Terpstra and

             informed him that IBM did not want Mr. McBride to speak at the conference, and




 93
      Id. at 4.
 94
      Id.
 95
    Deposition Transcript of Rick Becker, dated Oct. 15, 2003 (“Becker Oct. 15, 2003 Depo.”), at 54:3-20, 55:6-11,
 attached as Exhibit 118 to IBM’s First Exhibits.
 96
      Supplemental Response at 4.
 97
      Id. at 7.



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             intimated that IBM would withdraw its participation in the conference if Mr. McBride did

             speak.” 98

             37.     The Supplemental Response also alleges that IBM “encourag[ed] and improperly

 enabl[ed] numerous companies to migrate to or to use an enterprise-hardened Linux platform

 operating on Intel-based hardware rather than use SCO’s UnixWare or OpenServer products[,]”

 thereby interfering with SCO’s prospective business relationships with 19 “former SCO

 customers who migrated to an enterprise-hardened Linux platform” (Actual Systems, Advantage

 Business Computers, AmCom Software, Auto Zone, Avaya, Avnet, Bebe, Frazee Paints, Kmart,

 Prime Clinical, Radical System, Safeway, Save Mart, Shaw’s Supermarkets, Sherwin-Williams,

 Shopper’s Drug Mart, Snyder Drug Stores, Target Pharmacies, and West Communications) and

 156 “other Linux users who chose an enterprise-hardened Linux platform[.]” 99

             38.     On June 28, 2006, Magistrate Judge Wells issued an Order Granting in Part

 IBM’s Motion to Limit SCO’s Claims. In the Order, Judge Wells states:

             In an order signed by Judge Kimball on July 1, 2005, both SCO and IBM were
             given two important dates, October 28, 2005 and December 22, 2005
             respectively. These dates were court ordered deadlines for the parties “to disclose
             with specificity all allegedly misused material’. With the October date being the
             interim deadline and the December date being the final deadline. Pursuant to this
             same order, the parties were also ordered to “update interrogatory responses.” 100

             39.     Because Mr. Tibbitts was unable to provide meaningful information about SCO’s

 claims at his December 16, 2005 deposition, and because SCO’s claims continued to evolve,




 98
      Id.
 99
      Id. at 7–13.
 100
    Order Granting In Part IBM’s Motion to Limit SCO’s Claims, filed June 28, 2006, at 14-15, attached as Exhibit
 59 to IBM’s First Exhibits.



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 IBM deposed Mr. Tibbitts a second time in his capacity as SCO’s Rule 30(b)(6) witness on the

 interference claims on June 30, 2006. 101

            40.      At this deposition, SCO confirmed that the Supplemental Response sets forth “the

 complete and accurate” response to IBM’s Interrogatory No. 8 as it understood it to date, that it

 “supersede[s]” and “replace[s]” SCO’s prior responses to Interrogatory No.8, and that – at least

 as to pages one through ten of the Supplemental Response – SCO has “no plan to update

 anything” therein. 102

            41.      Mr. Tibbitts further acknowledged that SCO was “abandoning” its tortious

 interference claims with respect to five of the 19 “former SCO customers” identified in the

 Supplemental Response – Avnet, Frazee Paints, Save Mart, Snyder Drug Stores, and Target

 because these companies had not switched to a LINUX platform at all. 103

            42.      As set out in the Supplemental Response and Mr. Tibbitts’s testimony, SCO now

 asserts its Seventh and Ninth Causes of Action with respect to:

                     a.       Six identified contractual or existing business relationships with which

            IBM allegedly interfered by specific conduct or communication to the companies or

            persons with whom SCO had the relationships: BayStar, Hewlett-Packard, Computer

            Associates, Oracle, Intel, and the OpenSource Conference.

                     b.       Possible business relationships that allegedly might have been established

            with companies in a second group, consisting of the 14 “former SCO customers” and 156

            “other Linux users.” SCO “is not alleging that IBM contacted any one of these companies

            individually and somehow wrongfully induced them to switch to Linux on that basis”;

 101
   Deposition Transcript of Ryan Tibbitts, dated June 30, 2006 (“Tibbitts June 30, 2006 Depo.”), attached as Exhibit
 345 to IBM’s First Exhibits.
 102
       Id. at 9:10–10:1, 22:24–23:21.
 103
       Id. at 24:23–26:22.



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            instead, the alleged acts consists of IBM’s alleged activities relating to LINUX affecting

            the marketplace in general. 104 SCO has characterized this claim as one for “indirect”

            interference or interference with “the UNIX on Intel market as a whole.” 105 SCO asserts

            that, but for IBM’s alleged interference, these companies and entities “foreseeably would

            have chosen a SCO platform” rather than a LINUX platform. 106 SCO also does not claim

            that the more than 150 “other Linux users” were SCO customers or that SCO necessarily

            had any direct contact or communication with them. In fact, during Mr. Tibbitts’s June

            30, 2006 Rule 30(b)(6) deposition, counsel for SCO admitted that SCO generated the list

            of the 156 companies by lifting companies named in an IBM document which purports to

            identify certain companies as “Linux wins[.]” 107 In its Supplemental Response, SCO

            expressly states that the claims as to these 156 companies are made only “on information

            and belief.” 108

                             B. Background on SCO in the UNIX-On-Intel Market

            43.      The Santa Cruz Operation (“SCO” or “Santa Cruz”) 109 was founded 1979 as a

 UNIX system porting and consulting company. 110 In 1983, SCO delivered the first packaged



 104
       Id. at 29:16–30:10.
 105
       McBride Dec. 2, 2005 Depo. at 67:22–25; Tibbitts June 30, 2006 Depo. at 26:19–22, 35:4–11.
 106
       Supplemental Response at 7–13.
 107
       Tibbitts June 30, 2006 Depo. at 42:6–11.
 108
       Supplemental Response at 11-13.
 109
    The Santa Cruz Operation was historically referred to as “SCO” and many documents in this action use the term
 “SCO” in reference to that entity. In May 2001, Santa Cruz transferred its UNIX assets to plaintiff, which was then
 called Caldera International, Inc. (“Caldera”). Immediately after the sale, Santa Cruz changed its name to Tarantella.
 Caldera International Inc. remained Caldera after the transaction but later, in 2002, changed its name to The SCO
 Group, Inc., the plaintiff in this action, in order to leverage the UNIX assets and business it had acquired. The term
 “SCO” is used herein, as it is in many documents, to refer to the entity in possession of the UNIX assets, although
 that entity changed from Santa Cruz to The SCO Group, previously Caldera, in May 2001.
 110
   The History of The SCO Group at 1, http://www.sco.com/company/history.html, attached as Exhibit 250 to
 Declaration of Brent O. Hatch (“SCO’s Opposition Exhibits”), docket no. 876, filed under seal on Nov. 11, 2006.



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 UNIX System for Intel processor-based PCs, and continued to focus on UNIX systems on Intel

 processors (referred to as Intel architecture or simply, IA). 111

             44.   As one industry analyst described it, “SCO established the market for advanced

 operating systems on industry-standard Intel platforms in the 1980s, pioneering such features as

 a full 32-bit implementation, security, and multiprocessing.” 112

             45.   At least as far back as 1989, SCO was described as “the largest vendor of Unix-

 like operating systems on Intel-based computers.” 113

             46.   In 1997, SCO was the worldwide UNIX market leader in terms of unit shipments,

 with roughly 40 percent of total market unit sales. 114

             47.   SCO dominated the UNIX-on-Intel market to an even greater extent – with an

 80% market share. 115

             48.   The strength of SCO’s market position at this time was described in detail in the

 expert reports of Dr. Gary Pisano and Dr. Jeffrey Leitzinger, and those findings are incorporated

 herein by reference. 116




 111
       Id.
 112
    Christopher Thompson, SCOring a Hit against Microsoft Windows NT at 6, GARTNER (Apr. 21, 1997), attached
 as Exhibit 244 to SCO’s Opposition Exhibits.
 113
     Evan O Grossman, UNIX Users Look Forward to Advantages of Intel ‘486 at 1, PC WEEK (Apr. 17, 1989),
 attached as Exhibit 246 to SCO’s Opposition Exhibits.
 114
    Project Monterey, The Volume Enterprise UNIX Platform, A Value Proposition to ISVs, dated Feb. 2000, at
 1912022968, attached as Exhibit 190 to SCO’s Opposition Exhibits; UNIX Server License Share by Vendor (Units),
 dated Dec. 1997, at 1710009530, attached as Exhibit 185 to SCO’s Opposition Exhibits; Strategic Issue Discussion,
 dated Aug. 5, 1998, at 1710136591, attached as Exhibit 197 to SCO’s Opposition Exhibits.
 115
   Project Monterey Update CTC Executive Committee Presentation, dated Mar. 26, 1999, at 1710090997,
 1710090986, attached as Exhibit 171 to SCO’s Opposition Exhibits.
 116
     Expert Report of Gary Pisano, Ph.D., dated May 19, 2006 (“Pisano Report), at 40-46, attached as Exhibit 284 to
 SCO’s Opposition Exhibits; Expert Report of Dr. Jeffrey Leitzinger, dated May 19, 2006 (Leitzinger Report), at 9-
 20, attached as Exhibit 281 to SCO’s Opposition Exhibits.



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                                    C. IBM’s Position Relative to SCO’s

             49.     In a July 30, 1998 summary of IBM’s UNIX Strategy addressed to IBM’s CEO

 Lou Gerstner, IBM recognized SCO’s strong competitive position, and, indeed, dominance of the

 UNIX-on-Intel market. 117 Mr. Gerstner was informed: “While HP and Sun have been successful

 at driving commitments to 64-bit Intel, today’s clear leader in the UNIX on Intel market is Santa

 Cruz Operation (SCO) with over 80% of the $3B UNIX-Intel market.” 118

             50.     On August 5, 1998, IBM executives again presented Mr. Gerstner with a

 summary of SCO’s strong market position, which provided: “Based on 1997 estimates, SCO

 captured 15% of the revenue and 40% of the volume in the UNIX industry . . . . In the segment

 of UNIX operating systems running on Intel processors, SCO was believed to have 80% of the

 revenue.” 119 IBM further explained that “SCO’s operating system is an important component for

 solutions in the Intel high-volume server market” and that “[s]olutions built on SCO provide the

 robustness and extendability of UNIX with the cost advantages of an Intel platform.” 120

             51.     In addition, IBM identified for Mr. Gerstner SCO’s key market segments,

 customers, and applications. 121 For instance, IBM recognized that independent software vendors

 (ISVs) work with SCO because SCO has “[o]ne of the industry’s strongest support infrastructure,

 with over 10,000 authorized resellers, 100 distributors, 250 vertical solution providers and

 system integrators, and 140 education centers” and because SCO “[d]ominated market share in




 117
   Memorandum to L. Gerstner regarding IBM’s UNIX Strategy, dated July 30, 1998, at 1710117641, attached as
 Exhibit 284 to SCO’s Opposition Exhibits.
 118
       Id.
 119
   Strategic Issue Discussion, dated Aug. 5, 1998, at 1710136584, attached as Exhibit 197 to SCO’s Opposition
 Exhibits.
 120
       Id. at 1710136589.
 121
       Id. at 1710136590-91.



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 Telecom and In-store Systems in Retail Industries (e.g. installed in 14 out of top 16 biggest

 pharmacies, all major auto-part stores and grocery stores).” 122

             52.       IBM further acknowledged in an April 1999 “IBM Linux Initiative” that SCO’s

 UnixWare was not then competitively impacted by LINUX. 123

                         D. IBM’s Alleged Tortious Interference with SCO’s Business
                                    Relations in the UNIX-On-Intel Market

             53.       In early 2000, IBM began disclosing proprietary UNIX technologies to LINUX

 for the purpose of commercially hardening LINUX for use in core enterprise functions. 124

             54.       The impact of IBM’s disclosures on SCO’s business was direct, immediate and

 profound. 125 SCO’s revenues declined “precipitously in 2000 through 2002, dropping 74%,

 immediately after the first alleged contributions of IBM in February of 2000.” 126 SCO’s revenues

 dropped as customers migrated to the LINUX operating system, as noted by both industry

 analysts and SCO distributors. 127

             55.       The reason for this swift impact on SCO’s business was that IBM’s disclosures to

 the LINUX community enabled LINUX to be used within corporations for the same functions as

 SCO’s UNIX operating systems. 128 In reaching this conclusion, SCO’s experts relied in part on

 evidence that IBM had focused its efforts on LINUX’s shortcomings as compared to UNIX. 129

 122
       Id.
 123
   IBM Linux Initiatives (“Easter2” Update), dated Apr. 1999, at 181437823, attached as Exhibit 192 to SCO’s
 Opposition Exhibits.
 124
       Pisano Report at 31-34, 50; Leitzinger Report at 45-48.
 125
   Response to the Reports and Declarations of IBM Experts by Gary Pisano, Ph.D., dated Aug. 28, 2006 (Pisano
 Response Report), at 20, attached as Exhibit 286 to SCO’s Opposition Exhibits; Leitzinger Report at 56-58; 62-69;
 Expert Report of Avner Kalay, Ph.D., Valuation of Lost Asset, dated May 19, 2006, at 12, 27, attached as Exhibit
 279 to SCO’s Opposition Exhibits.
 126
       Pisano Response Report at 21.
 127
       Id. at 25-26.
 128
       Pisano Report at 52; Pisano Response Report at 31, 39; Leitzinger Report at 54–56.
 129
       Pisano Response Report at 43-44.


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            56.      In 1999, prior to IBM’s disclosures, LINUX had not been used for these functions

 and did not compete with SCO’s UNIX operating systems. 130

            57.      In early 2000, an IBM representative announced at LinuxWorld that IBM had

 contributed certain AIX technology to LINUX as part of its commitment to improving LINUX

 for commercial workloads. 131

            58.      In 2000, even before the disclosures were implemented in LINUX but after they

 were made, the expectation of such implementation impacted customers’ buying patterns and

 drove buyers away from SCO’s UNIX products to LINUX. 132

            59.      SCO’s experts conclude that, but for IBM’s disclosures to LINUX, LINUX would

 not have been in a position to compete for the same functions with the same customers as SCO’s

 UNIX operating systems. 133

            60.      SCO did not encourage its partners or its customers to use or support LINUX

 instead of UNIX. SCO consistently positioned LINUX as a complimentary solution to UNIX,

 and something that could be used in addition to (not in place of) UNIX. 134

            61.      Specifically, SCO positioned its UNIX product, Open Unix 8, for use in “business

 critical applications” and “for hardened reliability and scalability.” 135 In contrast, SCO




 130
       Pisano Report at 43; Pisano Response Report at 19, 26; Leitzinger Report at 22-24.
 131
   Deposition Transcript of Robert LeBlanc, dated Nov. 8, 2005, at 222:12-25, attached as Exhibit 15 to SCO’s
 Opposition Exhibits.
 132
       Pisano Report at 47-49; Pisano Response Report at 48.
 133
       Pisano Response Report at 39; Leitzinger Report at 52-54.
 134
   Declaration of Erik W. Hughes (“Hughes Declaration”) ¶ 3, attached as Exhibit 1 to SCO’s Opposition Exibits;
 Declaration of Janet Sullivan (“Sullivan Declaration”) ¶ 3, attached as Exhibit 369 to SCO’s Oppositon Exhibits.
 135
   Caldera, Powerful Choices, Operating System Roadmap, dated Dec. 2001, at SCO1521021, attahced as Exhibit
 380 to SCO’s Opposition Exhibits.



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 positioned OpenLinux “for use as a back office server and Internet access point” or “for

 applications at the department level.” 136

             62.      Consistent with this message, SCO did not encourage Oracle, Computer

 Associates, or Intel to support LINUX instead of UNIX. To the extent SCO was involved in

 LINUX activities with these customers, it was only after these companies had decided to support

 LINUX. This was an effort to preserve some revenue in connection with these companies after

 they made a decision adverse to SCO’s UNIX business, i.e., an effort to mitigate its losses. 137

             63.      IBM itself recognized that SCO’s strategy was not to replace UNIX with LINUX

 in its existing customers. In August 2002, Dr. Sen-Ming (SM) Chang, LINUX Manager of

 IBM’s Greater China Group, frankly assessed IBM’s strategy and risks with respect to SCO

 customer base. 138 First, he acknowledged that, with “Caldera’s revenue stream . . . 85% based on

 SCO and related products” it would be “highly unlikely you will get their help short-term to

 conduct a SCO ‘rip and replace’” of SCO UNIX with LINUX. However, he worried: “If we go

 after the SCO install base without Caldera in the loop, obviously Caldera will seek to partner

 with our competition including HP-Compaq.” 139

              E. IBM’s Efforts to Prevent SCO from Asserting Intellectual Property Rights

             64.      In late 2002 and early 2003, SCO began researching the intellectual property

 surrounding LINUX. At this time, SCO discovered that customers were using its proprietary

 UNIX libraries with LINUX – which was not permissible. 140


 136
       Id.; Hughes Declaration ¶ 6.
 137
       Id. ¶11; Sullivan Declaration ¶¶ 7, 19.
 138
   Email from C. Carson to P. Byers, R. Michos, dated Aug. 12, 2002, attached as Exhibit 23 to SCO’s Opposition
 Exhibits.
 139
       Id. at 181500977.
 140
   Declaration of Darl McBride (“McBride Declaration”) ¶ 3, attached as Exhibit 165 to SCO’s Opposition
 Exhibits.



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             65.    In response to such discoveries and customer requests, SCO attempted to

 implement a strategy in late 2002 and early 2003 (after the disclosures were already made and in

 an effort to mitigate its damages) by which customers could license from SCO the right to use

 SCO’s proprietary UNIX libraries with LINUX. 141 SCO later devised a license by which

 customers could legitimately use LINUX more broadly, without violating SCO’s intellectual

 property rights. 142

             66.    SCO presented its library licensing plan to multiple partners, including Oracle,

 Intel, and Computer Associates, and was met with favorable response. 143 Until IBM, no

 company objected to the plan or expressed disapproval. 144

             67.    IBM, however, reacted with antagonism to SCO’s plan to license the UNIX

 libraries and source code included in LINUX.

                    a.      IBM affirmatively discouraged SCO from putting out a press release

             regarding its library licensing program. 145

                    b.      IBM executive Karen Smith recalls a conversation with IBM executive

             Steve Solazzo and Mr.Darl McBride around December 2002 in which Mr. Solazzo

             endeavored to discourage SCO from proceeding with the plan. 146

                    c.      SCO’s plans to issue a press release regarding its library licensing

             program, and IBM’s exception to SCO doing so, was the impetus for an additional call in

 141
       Id.
 142
       Id.
 143
   Declaration of Christopher S. Sontag (“Sontag Declaration”) ¶ 4, attached as Exhibit 9 to SCO’s Opposition
 Exhibits.
 144
       Id.
 145
    Deposition Transcript of Karen L. Smith, dated Jan. 24, 2006 (“Smith Jan. 24, 2006 Morning Depo.”), at 83:22-
 25, attached as Exhibit 310 to SCO’s Opposition Exhibits.
 146
    Deposition Transcript of Karen L. Smith, dated Jan. 24, 2006 (“Smith Jan. 24, 2006 Afternoon Depo.”), at 17:25-
 19:20, attached as Exhibit 164 to IBM’s First Exhibits.



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             December with IBM including SCO executives Darl McBride and Chris Sontag, SCO

             attorneys, and IBM executives and attorneys. 147 In that call, IBM again tried to persuade

             SCO not to issue the press release and begin its program. 148

                      d.      IBM ultimately persuaded SCO to delay its press release until January

             2003, allegedly because IBM was concerned that the release would impact its ability to

             reach its December LINUX-revenue numbers. 149 Based upon the representations made by

             IBM, SCO agreed to push the release and the initiation of the program back to January

             2003. 150

                      e.      IBM again expressed negativity about SCO’s efforts in a call in mid-

             January 2003. This call included Darl McBride and IBM executives Karen Smith and

             Bob Butler. 151 While IBM again sought to dissuade SCO from issuing a press release

             about its plan, Mr. McBride, in that meeting or later, never gave any assurances to IBM

             that the press release would not go out. 152

                      f.      On January 22, 2003, SCO issued its press release announcing the

             formation of its new business division, SCOsource, to manage the licensing of its

             intellectual property. 153 The press release further explained that SCO had retained the law




 147
       Id. at 26:14-17.
 148
       McBride Dec. 2, 2005 Depo. at 178:18-179:15; Sontag Declaration ¶ 5.
 149
       McBride Declaration ¶ 5.
 150
       Id.
 151
       Smith Jan. 24, 2006 Afternoon Depo. at 49:6 – 50:2.
 152
       McBride Declaration ¶ 6.
 153
    SCO Establishes SCOsource to License Unix Intellectual Property,
 http://ir.sco.com/releasedetail.cfm?ReleaseID=99965, attached as Exhibit 201 to SCO’s Opposition Exhibits.



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             firm of Boies, Schiller and Flexner “to help research and advise SCO on the company’s

             intellectual property.” 154

                      g.       The next day, on January 23, 2003, Karen Smith and Darl McBride met

             for a breakfast meeting at LinuxWorld 2003, at Ms. Smith’s request. 155 At this meeting,

             Ms. Smith informed Mr. McBride that IBM was displeased with SCO’s announcement,

             and that it would “kill” LINUX. She further indicated that, as a result of SCO’s licensing

             announcement, IBM was going to cut off all of its business ties with SCO, and would

             instruct other IBM business partners do the same. 156

                      h.       That afternoon, Ms. Smith met with Hewlett-Packard Executive Richard

             Becker. This meeting was shortly after Ms. Smith’s breakfast meeting with Mr.

             McBride. 157

                      i.       Ms. Smith claims to not recall specifically what she said at that meeting

             with Mr. Becker, 158 but acknowledges that the topic of SCO’s recent press release and its

             licensing plan came up in her conversation with Mr. Becker because she was “bothered

             and concerned” about SCO’s actions. 159

                      j.       Mr. Becker stated that “[Ms. Smith] indicated to me that IBM was going

             to withdraw all their business activities from SCO, and that in the interest of the best




 154
       Id. at 1.
 155
       McBride Dec. 2, 2005 Depo. at 164:20-22.
 156
       Id. at 163:13-166:12.
 157
       Smith Jan. 24, 2006 Morning Depo. at 147:15-19.
 158
       Id. at 149:12-17
 159
       Id. at 150:11-23.



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             outcome for our joint Linux initiatives that she was going to suggest that HP, and I was

             representing HP, and following me, Intel should do the same.” 160

             68.      Just a day later, Ms. Smith began to execute on her threat that IBM would

 discontinue its business relationships with SCO: A January 24, 2003 internal IBM email stated:

 “We have received direction from Karen Smith who is responsible for IBM’s Linux Strategy &

 Market Development. Because of recent public announcements from SCO (a Linux distributor)

 around intellectual property, we in RSS [Retail Stores Solution] have been asked to discontinue

 any plans to work with SCO and avoid any association with SCO in our development, sales &

 marketing efforts.” 161

             69.      IBM engaged with SCO partners at a meeting or meetings referred to in the press

 as the “Chicago Seven Meetings”:

                      k.      In July of 2003, representatives from seven different companies engaged

             or involved in the LINUX business community met in Chicago. 162 The participants

             represented IBM, Novell, Computer Associates, Oracle, Dell, Intel and Hewlett-

             Packard. 163

                      l.      The meeting was motivated by, at least in part, concerns shared by LINUX

             distributors arising from SCO’s claims against IBM. 164 Novell’s CEO Jack Messman

             acknowledged that the group discussed SCO’s claims that LINUX contained UNIX




 160
       Becker Oct. 15, 2003 Depo. at 54:5-11.
 161
   Email from P. Kooler to T. Garneau, dated Jan. 27, 2003, at 181008215-16, attached as Exhibit 202 to SCO’s
 Opposition Exhibits.
 162
       Smith Jan. 24, 2006 Afternoon Depo. at 78:12-13.
 163
       Id. at 83:9-84:18.
 164
   Source Strategy, Sound Products and Strong Support Give CIOs Alternative IT Choices, LINUX EXECUTIVE
 REPORT (Aug. 2004), www.ibm.com/linux, attached as Exhibit 256 to SCO’s Opposition Exhibits.



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              code. 165 According to Mr. Messman, there existed a perceived problem in the market

              arising from SCO’s challenge that LINUX contained UNIX, and Novell proposed to

              solve the issue by acquiring Suse LINUX; it’s reasoning was that, because Novell

              contended that it still held the copyrights to UNIX, if there in fact were any UNIX in

              LINUX, Novell had the right to use it, and to indemnify its customers if they used it. 166

                       m.     The ostensible purpose of the “Chicago Seven” meeting was to discuss a

              distribution of LINUX to which all of the partners would contribute (and, of course,

              benefit). 167 According to IBM’s vice president, the group discussed the respective

              investments each was making in the Open Source Development Labs (“OSDL”),

              including certification and testing of LINUX. OSDL, notably, was not invited to

              participate in this discussion with the “Chicago Seven.” 168

                                           F. SCO’s Failure of Proof.

              70.      SCO has not identified any evidence of improper conduct by IBM that interfered

  with any of its contracts or business relationships, as shown below.

I.            BayStar

              71.      Baystar invested $50 million in SCO in October 2003. The investment had been

  made through a preferred stock transaction. 169




  165
   Ex. Deposition Transcript of Jack L. Messman, dated Apr. 14, 2006, at 239:9-12, attached as Exhibit 145 to
 SCO’s Opposition Exhibits.
  166
        Id. at 240:11-15.
  167
    Source Strategy, Sound Products and Strong Support Give CIOs Alternative IT Choices, LINUX EXECUTIVE
  REPORT (Aug. 2004), www.ibm.com/linux, attached as Exhibit 256 to SCO’s Opposition Exhibits.
  168
        Id.
  169
        McBride Declaration ¶ 27.



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             72.         SCO sought the investment from Baystar to fund its ongoing operations, which

 included continuing development and marketing of its UNIX and other products, protection of its

 intellectual property, and its lawsuits against IBM and other companies. 170

             73.         When Baystar initially spoke to SCO about the investment, its representatives –

 namely, Lawrence Goldfarb – expressed that Baystar “believed that SCO had a great opportunity

 with the lawsuit” and that Baystar was interested in the value of SCO’s intellectual property

 assets. 171

             74.         However, after the investment was finalized, Mr. Goldfarb began making wildly

 inconsistent demands upon SCO. 172 At one moment he would criticize SCO for focusing too

 much on the lawsuits, and in the next he would dramatically reverse his position and attack SCO

 for its focus on its ongoing businesses. 173 Mr. McBride explained:

                     I recall that after the Baystar transaction was complete and we started
             moving forward, within some relatively short period of time we started getting
             extreme pressure coming from Baystar, and the content of the pressure was ever
             changing. One minute it was we were not doing our business – doing enough core
             business, the next minute it was we’re not doing enough legal lawsuits, and it
             seemed to go back and forth. And there wasn’t a good theme as to what their
             issues were, other than we kept getting threats of them to sue us over one thing or
             another, if we didn’t respond to what their immediate demand was. 174

 Even in the midst of this erratic behavior, Mr. Goldfarb’s enthusiasm for SCO’s litigation

 strategy did not wane. 175




 170
       Id.
 171
   Deposition Transcript of Ralph J. Yarro, III, dated Mar. 14, 2006, at 93:9-20, attached as Exhibit 21 to SCO’s
 Opposition Exhibits.
 172
       Id. at 94:9-22, 95:15-22.
 173
       Id. at 95:7-14.
 174
     Deposition Transcript of Darl McBride, dated Mar. 15, 2006 (“McBride Mar. 15, 2006 Depo.), at 248:17-249:5,
 attached as Exhibit 330 to IBM’s First Exhibits.
 175
       Tibbitts Dec. 16, 2005 Depo. at 30:17-23.



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             75.         Nevertheless, on April 15, 2004, Baystar sought redemption of its SCO shares. In

 its redemption notice, Baystar claimed that SCO was in breach of its agreements with Baystar,

 and that Baystar was going to redeem its shares. 176

             76.         However, Baystar never could substantiate, or even fully explain, the nature of its

 claims of breach against SCO. Mr. Tibbitts testified that “Nolan [Taylor] started corresponding

 with them, I believe, trying to find out what the problem was and could never . . . get . . . enough

 information to do much about it.” 177

             77.         SCO originally believed that Mr. Goldfarb’s erratic behavior was attributable to

 an interest he expressed to Mr. McBride early in his investment. Mr. Goldfarb stated: “Look,

 Darl I’m a trader, and I don’t really care whether your stock goes up or down, I just need it

 volatile because I can make money if it goes up and I can make money if it goes down.” 178 Based

 on this comment, SCO suspected that Mr. Goldfarb’s difficult and troubling behavior was simply

 an attempt on his part to manipulate the stock of his company to his own advantage. 179

             78.         In the partial redemption of Baystar’s investment, SCO lost a significant source of

 funding for its ongoing operations and protection of its intellectual property. In April 2004, SCO

 settled Baystar’s request for the return of its investment with a $13 million cash payment, and the

 issuance of approximately 2.1 million shares of common stock. In return, Baystar relinquished its

 preferred stock. The value of the cash and stock issued to Baystar pursuant to this resolution

 amounted to $20 million from SCO. 180



 176
       Id. at 32:3-10.
 177
       Id. at 32:1-10.
 178
       Id. at 31:1-32:1; McBride Declaration ¶ 28.
 179
       McBride Declaration ¶ 28.
 180
       Id. ¶ 30.



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             79.    No one from IBM ever communicated with any representative of BayStar

 concerning SCO or BayStar’s investment in SCO.

                    a.      In a sworn declaration, Lawrence Goldfarb, managing member of BayStar,

             states: “No one from IBM ever had any communications with me or, to my knowledge,

             anyone at BayStar relating to SCO.” 181

                    b.      Mr. Goldfarb also states: “No one from IBM ever contacted me or anyone

             else at BayStar about SCO, BayStar’s investment in SCO, or anything else.” 182

             80.    BayStar’s threats of litigation against SCO and its decision to terminate or reduce

 its business relationship with SCO were not induced or caused by any action or communication

 by IBM.

                    a.      BayStar’s Mr. Goldfarb states: “BayStar terminated its relationship with

             SCO for multiple reasons. BayStar’s decision to terminate its relationship with SCO had

             nothing whatsoever to do with any communications with or conduct of IBM.” 183

                    b.      Mr. Goldfarb further states: “BayStar’s decision to redeem its shares in

             SCO and retire its investment in SCO had nothing whatsoever to do with IBM or any

             representative of IBM.” 184

             81.    BayStar’s decision to redeem its investment in SCO was caused by reasons

 having nothing to do with IBM.

                    a.      Shortly after BayStar made the investment in SCO, SCO’s stock price,

             financial performance and the viability of its UNIX products all appeared to be in

 181
   Declaration of Lawrence R. Goldfarb (“Goldfarb Declaration”) ¶ 4, attached as Exhibit 165 to IBM’s First
 Exhibits.
 182
       Id. ¶ 16.
 183
       Id. ¶ 4.
 184
       Id. ¶ 16.



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             decline. Mr. Goldfarb states: “SCO’s stock price declined ... I was also very concerned

             about SCO’s high cash burn rate and whether its UNIX products were viable in the

             marketplace.” 185

                        b.      Microsoft’s conduct suggested that it might not guarantee BayStar’s

             investment in SCO as it had promised to Mr. Goldfarb. Mr. Goldfarb states: “Mr.

             Emerson [Microsoft’s senior vice president of corporate development and strategy] and I

             discussed a variety of investment structures wherein Microsoft would ‘backstop,’ or

             guarantee in some way, BayStar’s investment.” 186 Mr. Goldfarb states that, after BayStar

             made the investment, “Microsoft stopped returning my phone calls and emails, and to the

             best of my knowledge, Mr. Emerson was fired from Microsoft.” 187

                        c.      When BayStar’s concerns about SCO’s business were not adequately

             addressed by SCO, BayStar decided to retire its investment in SCO. Mr. Goldfarb states:

                        In [an April 7, 2004 letter to Darcy Mott] I noted that “BayStar’s initial
                        investment [in SCO] was due, in significant part, to management’s
                        representations regarding the prospects for [SCO’s] core UNIX business,”
                        but that “it had become clear that [SCO’s] only business strategy [was] the
                        monetization of its intellectual property rights through litigation.” I
                        pointed out my belief that SCO’s management “deceived BayStar about
                        [SCO’s] true business strategy” and that “current management is
                        absolutely incapable of executing that strategy.” Finally, I noted my belief
                        that SCO did not have any prospect of generating significant revenue or
                        profitability from its existing UNIX product and service business lines. 188

             Mr. Goldfarb further states: “Having received no satisfactory response from SCO, I

             determined BayStar’s obligations to its investors required the Fund to get out of the




 185
       Id. ¶¶ 10, 11.
 186
       Id. ¶ 7.
 187
       Id. ¶ 10.
 188
       Id. ¶ 13 (internal citation omitted).



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             investment. I negotiated the terms of the deal to retire the investment on behalf of

             BayStar.” 189

  II.        Computer Associates, Oracle, and Intel.

             82.        SCO’s relationship with Computer Associates began in the mid to early 1990’s. 190

 Computer Associates licensed UNIX source code from AT&T, and also executed a SCO source

 license in 2003. 191 Computer Associates was also a tier one partner to SCO in that they had

 “various solutions that work on [SCO] operating systems, such as ARC Serve and Unicenter,

 Ingress . . . .” 192 Computer Associates and SCO would disclose roadmaps for their technology to

 each other in order to facilitate work on certificates of their products and services on SCO

 operating systems. 193 Computer Associates certification of their products and services on SCO

 operating systems would create revenue for SCO from other joint Computer Associates and SCO

 customers. 194

             83.        Computer Associates’ certification to SCO’s products has declined since 2003. 195

             84.        Oracle and SCO’s business relationship began in approximately 1996. 196

             85.        Oracle is an ISV, meaning that they provided software, such as database and other

 solutions, to their customers. For many years, Oracle would certify its software to run on SCO




 189
       Id. ¶ 14.
 190
       Hunsaker Nov. 10, 2005 Depo. at 25:5-8.
 191
       Deposition Transcript of William Broderick at 52:24-53:10, attached as Exhibit 336 to IBM’s First Exhibits.
 192
       Hunsaker Nov. 10, 2005 Depo. at 33:17-34:1.
 193
       Id. at 34:2-8.
 194
       Sullivan Declaration ¶ 12.
 195
       Id.
 196
       Hunsaker Nov. 10, 2005 Depo. at 61:21-62:1.



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 platforms such that customers using SCO’s operating systems could use Oracle’s software on

 those operating systems. 197

            86.      Oracle certifications on SCO operating systems benefited SCO. While SCO made

 little revenue from Oracle directly, the Oracle certifications were important to both existing and

 prospective customers. 198 SCO’s customers demanded the ability to port their operating system

 with Oracle, and SCO recognized that without this capability, customers would replace their

 UNIX operating systems with LINUX platforms capable of porting with Oracle. 199

            87.      After LINUX became commercially hardened by IBM’s improper disclosures of

 SCO’s proprietary technology, Oracle decided to support only LINUX on the Intel platform, and

 to forego its support for SCO’s UNIX-on-Intel operating systems. 200 This would not have been

 an economically or technically feasible decision if IBM had not hardened LINUX, because the

 then current state of LINUX would not have been capable of handling the demands of all of

 Oracle’s UNIX customers. 201

            88.      When SCO first proposed its SCOSource library licensing program to Oracle, the

 proposal was received without opposition.202

            89.      In the 2000 to 2001 time frame, after IBM had begun hardening LINUX, Oracle

 began to focus its efforts on LINUX. 203



 197
       Id. at 34:20–35:16; Sullivan Declaration ¶ 14a.
 198
       Sullivan Declaration ¶ 14.
 199
   Email from R. Broughton to J. Mace, A. Nagle, dated Nov. 7, 2002, attached as Exhibit 193 to SCO’s Opposition
 Exhibits; Email from J. Hunsaker to S. Wilson, dated May 19, 2003, attached at Exhibit 194 to SCO’s Opposition
 Exhibits; Email from J. Hunsaker to E. Hughes, C. Bushman, dated July 8, 2003, attached as Exhibit 195 to SCO’s
 Opposition Exhibits; Email from R. Broughton to S. Cutler, dated Nov. 18, 2003, attached as Exhibit 196 to SCO’s
 Opposition Exhibits.
 200
       Sullivan Declaration ¶ 17.
 201
       Tibbitts Dec. 16, 2005 Depo. at 124:24–125:7; Pisano Response Report at 51.
 202
       Sontag Declaration ¶ 4; McBride Mar. 15, 2006 Depo. at 105:17-106:8.



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            90.      SCO’s business relationship with Oracle dwindled in the following years, as

 Oracle refused to certify on SCO’s UNIX operating systems. 204 The business relationship with

 Oracle came to a complete end in 2003. 205 Although it initially did not object to SCO’s licensing

 plan to protect its confidential material, Oracle has since made complaints about SCO’s

 efforts. 206 Oracle only began taking this position after it had largely moved its business to

 enterprise LINUX, which would not have been possible if IBM had not advanced LINUX to the

 point where it was a viable alternative for Oracle and others, as set forth above.

            91.      In 2003, Oracle withdrew Open Unix 8 certification. 207 Although the parties once

 had a close working relationship, Oracle no longer even returns SCO’s calls, and has made it

 very clear to SCO that they do not intend to certify any new products on SCO’s operating

 systems. 208

            92.      The lack of Oracle certifications has impacted SCO revenues. 209 As Mr. McBride

 explained: “We see a very direct relationship to our revenue going down and not having Oracle’s

 support, so it’s very important, and it’s been very difficult for us not having their support.” 210

            93.      Intel was a Tier Zero partner as SCO’s UNIX operating systems run on Intel

 architecture and Intel is the “foundation” of these operating systems. 211


 203
     Deposition Transcript of Jeffrey Hunsaker, dated Feb. 28, 2006 (“Hunsaker Feb. 28, 2006 Depo.”), at 321:7–21,
 attached as Exhibit 322 to IBM’s First Exhibits; Sullivan Declaration ¶ 17.
 204
       Sullivan Declaration ¶ 20.
 205
       Hunsaker Nov. 10, 2005 Depo. at 22:5-7,61:21–63:1.
 206
   Email from S. Wilson to SCO Exec. Group, dated May 20, 2003, attached as Exhibit 213 to SCO’s Opposition
 Exhibits.
 207
       Sullivan Declaration ¶ 20.
 208
       Hunsaker Nov. 10, 2005 Depo. at 61:21-63:1.
 209
       Hunsaker Feb. 28, 2006 Depo. at 323:10-17.
 210
       McBride Mar. 15, 2006 Depo. at 100:17-22.
 211
       Hunsaker Nov. 10, 2005 Depo. at 32:1-6.



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             94.         SCO’s relationship with Intel began in 1979 as SCO “offered one of the first

 UNIX-like systems on Intel platforms for multi users and multitasking[.]” 212

             95.         In the business relationship, Intel and SCO “work[ed] together strategically to

 ensure that our solutions meet downstream and [to] provide solutions to our customers and our

 channel partners[.]” 213 Intel and SCO would share their roadmaps with each other, participate in

 conferences, and Intel would provide certification of their Intel chip sets, device drivers, and

 white box servers for SCO’s operating systems. 214

             96.         SCO had a very close alliance with Intel, and Intel contributed substantial

 marketing dollars to SCO. 215 The relationship between the two companies was “very strong for

 many, many years . . . .” 216

             97.         However, from 2001-2003, Intel only supported a limited number of servers on

 UnixWare. Only some servers were supported and only for UnixWare, not OpenServer. In 2003,

 Intel stopped sharing its processor roadmaps with SCO. 217

             98.         Neither Karen Smith (IBM’s then Vice President of LINUX Strategy and Market

 Development, and one of IBM’s LinuxWorld 2003 attendees) nor any other IBM representative

 ever stated to Computer Associates, Oracle, or Intel that IBM was cutting off its business ties

 with SCO or that IBM wanted them to cut off their business ties with SCO:




 212
       Id. at 64:9-12.
 213
       Id. at 32:21-23.
 214
       Id. at 32:24-33:6.
 215
   Deposition Transcript of Gregory S. Anderson, dated Oct. 21, 2004 (“Anderson Oct. 21, 2004 Depo.”), at
 138:15-17, attached as Exhibit 305 to IBM’s First Exhibits.
 216
       Hunsaker Nov. 10, 2005 Depo. at 64:12-15.
 217
       Hughes Declaration ¶ 12c.



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                      a.      In a sworn declaration, Samuel Greenblatt, Senior Vice President and

            Strategic Technical Advocate for Computer Associates’ LINUX Technology Group,

            states:

                      I attended the LinuxWorld 2003 convention. At no time did Karen Smith
                      or any other IBM representative communicate to me that IBM was
                      terminating its business relationship with The SCO Group, Inc. (“SCO”)
                      or that IBM wanted CA to stop doing business with SCO.

                      To the best of my knowledge, neither Ms. Smith nor any other IBM
                      representative ever, directly or indirectly, informed CA that IBM had
                      decided to terminate its relationship with SCO or asked CA to stop doing
                      business with SCO.

                      To the best of my knowledge, CA has not in any way altered its
                      relationship with SCO because of any statements or actions by IBM or any
                      representatives of IBM. 218

                      b.      In a sworn declaration, Monica Kumar, Principal Manager of Oracle’s

            LINUX Program Office, states:

                      I attended the Linux World 2003 convention. At no time did Karen Smith
                      or any other IBM representative communicate to me that IBM was
                      terminating its business relationship with The SCO Group, Inc. (“SCO”)
                      or that IBM wanted Oracle to stop doing business with SCO.

                      To the best of my knowledge, neither Ms. Smith nor any other IBM
                      representative ever, directly or indirectly, informed Oracle that IBM had
                      decided to terminate its relationship with SCO or asked Oracle to stop
                      doing business with SCO.

                      To the best of my knowledge, Oracle has not in any way altered its
                      relationship with SCO because of any statements or actions by IBM or any
                      representatives of IBM. 219

                      c.      In a sworn declaration, Luann Gulesarian, Intel’s Strategic Relationship

            Manager in its Sales and Marketing Group, states:

                      I attended the Linux World 2003 convention in New York, New York in
                      January 2003. At no time did anyone named Karen Smith or any other

 218
       Declaration of Samuel Greenblatt ¶¶ 2–4, attached as Exhibit 177 to IBM’s First Exhibits.
 219
       Declaration of Monica Kumas ¶¶ 2–4, attached as Exhibit 241 to IBM’s First Exhibits.



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                     IBM representative communicate to me that IBM was terminating its
                     business relationship with SCO or that IBM wanted Intel to stop doing
                     business with SCO.

                     To the best of my knowledge, neither Ms. Smith nor any other IBM
                     representative ever, directly or indirectly, informed Intel that IBM had
                     decided to terminate its relationship with SCO or asked Intel to stop doing
                     business with SCO.

                     To the best of my knowledge, Intel has not in any way altered its
                     relationship with SCO because of any statements or actions by IBM or any
                     representatives of IBM. 220

                     d.       Ms. Smith likewise confirms that she had no such conversations with

             Computer Associates, Oracle, or Intel. In a sworn declaration, Ms. Smith states: “I did

             not have any contacts with Intel, Computer Associates, or Oracle, during or after the

             LinuxWorld 2003 conference, in which I advised them that IBM was cutting off its

             business relationship with SCO, or suggested that these companies not do business with

             SCO.” 221 In addition, regardless of whether such statements were made, she did not do

             anything that caused these companies not to do business with SCO. 222

             99.     For a time, SCO supported the use of LINUX with Computer Associates, Oracle,

 and Intel products, partnering with each of these companies to provide LINUX solutions to their

 end users.

                     a.       SCO’s Gregory Anderson, a former SCO employee responsible for SCO’s

             relationships with its technology partners, agreed that “any change in the relationship

             between SCO/Caldera and Computer Associates ... had to do with SCO’s [alleged]

             decision not to continue to distribute Linux products.” 223


 220
       Declaration of Luann Guleserian ¶¶ 2–4, attached as Exhibit 204 to IBM’s First Exhibits.
 221
       Declaration of Karen Smith (“Smith Declaration”) ¶ 5, attached as Exhibit 205 to IBM’s First Exhibits.
 222
       Id. ¶ 4.
 223
       Anderson Oct. 21, 2004 Depo. at 149:6–19.



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                     b.       In 2000 and 2002, “Oracle/SCO met to discuss Oracle’s roadmap which

            phased out Unixware support[.]”224 After being convinced by SCO to “move off of Unix

            to Linux,” Oracle “made huge investments in supporting Linux.” 225 “They [Oracle] have

            put all their efforts behind Linux and they are not backing off this strategy- remember we

            helped with this.” 226 “[W]e, SCO and Oracle, determined that our best opportunity was

            migrating our customers to Linux, hence, we got them into [UnitedLinux] and signed

            support contracts to support their effort . . . we helped to convince them that the future

            was Linux.” 227 When SCO stopped supporting LINUX in 2003 and asked Oracle to

            support UnixWare again, Oracle was “quite upset about [SCO’s] Linux suspension

            strategy” because “[f]irst [SCO] told them to support UNIX, then Linux, now UNIX

            again.” 228

                     c.       Similarly, “SCO worked with Intel to get them into United Linux.” 229 To

            the extent that there was a change in the relationship between SCO and Intel, it is

            attributable to SCO allegedly “ceasing to distribute a Linux operating system and Linux

            products more so.” 230




 224
       Email from S. Wilson to R. Broughton, dated May 27, 2003, attached as Exhibit 71 to IBM’s First Exhibits.
 225
       Email, dated May 20, 2003, from S. Wilson to SCO Exec. Group, attached as Exhibit 72 to IBM’s First Exhibits.
 226
       Email from S. Wilson to R. Broughton, dated May 27, 2003, attached as Exhibit 71 to IBM’s First Exhibits.
 227
     Email from S. Wilson to D. Richter, T. McNamara, dated June 19, 2003, at SC01493226, attached as Exhibit 116
 to IBM’s First Exhibits.
 228
   Email from S. Wilson to G. Smith, dated Aug. 13, 2003, at SC01493402, attached as Exhibit 117 to IBM’s First
 Exhibits.
 229
       Id. at SC01493405.
 230
       Anderson Oct. 21, 2004 Depo. at 142:11–23.



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 III.        Hewlett-Packard.

             100.     SCO’s relationship with Hewlett-Packard began in the early 1980’s. 231 Hewlett-

 Packard works with SCO as a Tier 2 vendor, an IHV, and an independent hardware vendor. 232

 Hewlett-Packard does not consume SCO’s products directly; rather, they certify their hardware

 on SCO operating systems and various peripheral drivers. 233 Contracts between SCO and

 Hewlett-Packard include support contracts, certification renewals, licensing of products, and

 services contracts. 234

             101.     While SCO and Hewlett-Packard continue to have a relationship and continue to

 work together in some respects, Hewlett-Packard’s support has declined in response to IBM’s

 wrongful conduct. 235

             102.     For instance, Hewlett-Packard had previously provided SCO with $1 million

 annually in “market development funds.” Hewlett-Packard reduced this amount to $100,000, or

 one tenth of its prior support. 236

             103.     When SCO first proposed its SCOSource library licensing program to Hewlett-

 Packard, the proposal was received without opposition. 237

             104.     Karen Smith of IBM recalls a brief conversation with Rick Becker of Hewlett-

 Packard at the LinuxWorld 2003 convention, but does not recall stating and does not believe she




 231
       Hunsaker Nov. 10, 2005 Depo. at 35:19-21
 232
       Hughes Declaration ¶ 13.
 233
       Hunsaker Nov. 10, 2005 Depo. at 35:21–36:2.
 234
       Id. at 87:22-88:3.
 235
       Hughes Declaration ¶ 13.
 236
       Hunsaker Nov. 10, 2005 Depo. at 72:12-73:11; Hughes Declaration ¶ 13.
 237
       Sontag Declaration ¶ 4.



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 stated to Mr. Becker that IBM was going to cut off all business ties with SCO and that IBM

 wanted Hewlett-Packard to do the same. 238

            105.     Mr. Becker stated that “[Ms. Smith] indicated to me that IBM was going to

 withdraw all their business activities from SCO, and that in the interest of the best outcome for

 our joint Linux initiatives that she was going to suggest that HP, and I was representing HP, and

 following me, Intel should do the same.” 239

            106.     In any case, according to Mr. Becker, the statements allegedly made by Ms. Smith

 to Mr. Becker had no impact on the relationship between Hewlett-Packard and SCO. At his

 deposition, Mr. Becker testified:

            Q: Did you take any actions as a result of your conversations with Ms. Smith?

            A: I did ... I consulted with a colleague about the appropriate actions ... And since
            IBM is both a competitor and a partner, as we look at the landscape, decided the
            best course of action was just to not have any more engagement with [Ms.
            Smith].”

            Q: ... HP has continued to do business with SCO despite Karen Smith’s comments
            ... is that correct?

            A: Yes. 240

            107.     Hewlett-Packard has confirmed that to the extent its business relationship with

 SCO has changed, it is for reasons having nothing to do with IBM. Joseph Beyers, Hewlett-

 Packard’s Vice President of Intellectual Property, states in a sworn declaration:

            HP has done business with The SCO Group, Inc. (“SCO”), or its predecessor, The
            Santa Cruz Operation, Inc., since the mid-1980s. HP continues to do business
            with SCO, and has a variety of business relationships with SCO, ranging from
            licensing SCO’s intellectual property, including UNIX, to joint marketing and
            promotions activities.


 238
       Smith Declaration ¶¶ 4, 6.
 239
       Becker Oct. 15, 2003 Depo. at 54:5-11.
 240
       Id. at 149:11–24.



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            To the extent HP may have reduced or altered its business relationship with SCO,
            HP has not in any way reduced or altered its relationship with SCO because of
            any statements or actions of IBM or any representatives of IBM. 241

            108.      Moreover, by SCO’s own admission, the relationship between SCO and Hewlett-

 Packard did not decline immediately after the LinuxWorld 2003 convention and continues to be

 strong today:

                      a.      According to SCO’s Mr. Anderson, who had responsibility for SCO’s

            relationships with its technology partners, including Hewlett-Packard, the business

            relationship between SCO and Hewlett-Packard was “very good” from January 2003,

            during the LinuxWorld event, until at least May 2003, when he left SCO. 242

                      b.      According to Mr. Hunsaker, Senior Vice-President and General Manager

            of SCO’s UNIX division and former Vice-President of Worldwide Sales, the relationship

            continues to be “good” today. 243 Mr. Hunsaker testified:

                      Just recently [Computer Associates] participated, as has H-P, in various
                      conferences, our annual SCO Forum, our launch events in New York City
                      with our new release, OpenServer 6, which we’ve gathered some of our
                      top customers and partners from around the world to demonstrate our new
                      solutions. Both of these customers participated in those events and have
                      certified their pro line, hardware line, H-P, their databases and
                      management tools with Computer Associates on our platform. 244

                      c.      SCO and Hewlett-Packard have had a mutual “longstanding presence” at

            SCO Forum and HP World and their “close relationship” has resulted in “billions of




 241
       Declaration of Joseph Beyers (“Beyers Declaration”) ¶¶ 2, 3, attached as Exhbit 597 to IBM’s First Exhibits.
 242
       Anderson Oct. 21, 2004 Depo. at 145:12–23.
 243
       Hunsaker Nov. 10, 2005 Depo. at 70:21–23.
 244
       Id. at 73:12–25.



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             dollars” of Hewlett-Packard products running SCO software. 245 Concerning the current

             business relationship between Hewlett-Packard and SCO, SCO’s website states:

                     The SCO-HP Relationship: How HP and The SCO Group Can Help
                     You

                     SCO and HP have been partners in leading edge technology since the mid-
                     1980s, when most PCs were single-task, single-user systems and the term
                     ‘server’ was unknown. The HP/SCO partnership harnessed the latent
                     power of microcomputers with SCO UNIX to bring mainframe and
                     minicomputer capabilities like multi-user and multi-tasking to the desktop.
                     SCO was the first to bring these features to market, leveraging the superior
                     reliability and stability of HP systems.

                     The SCO/HP partnership is reflected in a longstanding presence at SCO
                     Forum and HP World. This close relationship has resulted in billions of
                     dollars of HP hardware running SCO software worldwide. HP and SCO
                     have a considerable presence in such vertical markets as Financial, Health
                     Care, Manufacturing, and Transaction Processing. HP continues to support
                     SCO operating systems across its server lines and has recently extended
                     support to HP advanced storage technologies such as the MSAlOOO and
                     MSA1500. 246

                     d.     SCO’s website also names Hewlett-Packard as the only “Platinum

             Sponsor” of its 2006 SCOForum event, the highest level of sponsorship among the

             eighteen sponsors listed, while displaying Hewlett-Packard’s logo in connection with the

             event. 247

 IV.         OpenSource Conference in Scottsdale, Arizona.

             109.    John Terpstra’s decision to rescind the invitation to Darl McBride to speak at the

 OpenSource Conference in Scottsdale, Arizona, was the result of complaints from other

 participants of the OpenSource Conference, not IBM.



 245
   The SCO – HP Relationship, http://www.sco.com/hp/relationship.html, attached as Exhibit 170 to IBM’s First
 Exhibits.
 246
       Id.
 247
   SCO Forum 2006, http://www.sco.com/2006forum/sponsors.html, attached at Exhibit 192 to IBM’s First
 Exhibits.



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                      a.       Mr. Terpstra states:

                      Although I asked representatives from IBM to participate in the Open
                      Source Open Standards Conference multiple times, no one from IBM was
                      willing to commit to speak at the conference or to participate in it in any
                      way, at any time.

                      At no time did anyone from IBM tell me that it did not want Mr. McBride
                      to speak at or participate in the conference. At no time did anyone from
                      IBM tell me that it would not participate in the conference unless Mr.
                      McBride did not speak. At no time did anyone from IBM tell me that it
                      would withdraw its participation in the conference if Mr. McBride did
                      speak- as set forth above, IBM never committed to participate in the
                      conference at all. At no time did anyone from IBM pressure me in any
                      way to ask Mr. McBride or SCO not to speak at or participate in the
                      conference. 248

                      b.       Mr. Terpstra further states:

                      Other potential participants in the conference did inform me, however, that
                      they would not participate in the conference if Mr. McBride were to be a
                      speaker or if SCO were present in any manner. I was able to secure their
                      attendance only after offering assurance that Mr. McBride and SCO would
                      not be present and that a list of attendees would not be made public.

                      As a result, I called Mr. McBride sometime before the conference was to
                      occur, and explained to him that overall feedback from potential
                      participants in the Open Source Open Standards Conference was
                      prejudicial to sustaining the invitation for Mr. McBride to speak and for
                      SCO to be present at this event. 249

                                      G. IBM’s Purpose in Supporting LINUX.

             110.     IBM’s LINUX strategy was motivated entirely by competitive reasons. Dan Frye,

 co-founder of and Vice President responsible for managing IBM’s LINUX Technology Center,

 states:

             IBM undertook its Linux business strategy, and made contributions to Linux, in
             the good faith belief that these activities were permissible. IBM did not undertake
             its Linux activities with an intent to harm SCO and those activities were not



 248
       Declaration of John H. Terpstra ¶¶ 4, 5, attached as Exhibit 267 to IBM’s First Exhibits.
 249
       Id. ¶¶ 6, 7.



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             motivated by any spite or ill will toward SCO. On the contrary, IBM undertook its
             Linux strategy for competitive reasons. 250

             111.      SCO’s own experts believe that competitive forces created market pressures that

 led IBM to support LINUX:

                       a.         “[T]echnological and competitive changes in the industry in the middle

             and late 1990s created a need for IBM to modify its competitive strategy.” 251

                       b.         “In addition to the fact that this industry was moving to open architecture,

             there were other big changes as well. In the 1990s, the processing capacity of the Intel

             processor chip was increasing rapidly. . . . This continuing evolution of the Intel

             architecture was threatening IBM’s existing server business.” 252

                       c.         “The simultaneous convergence of the dominance of Sun, the growth in

             Intel Architecture-based servers, and inroads by Microsoft created a difficult situation for

             IBM.” 253

                       d.         “[C]ompetitive reasons . . . motivated IBM to formulate and execute a

             Linux strategy.” 254

                       e.         “In mid-1998, a group of senior IBM executives met to discuss the

             competitive challenges facing the Server Group and the ‘need to move with urgency to

             address the problems facing the RS/6000 business.’” 255

                       f.         “In late 1998, IBM commissioned a Linux Task Force to study the market

             segments and applications where Linux was being used. The task force ‘[c]ited rapid

 250
       Declaration of Daniel Frye ¶ 5, attached as Exhibit 586 to IBM’s First Exhibits.
 251
       Pisano Report at 15.
 252
       Id. at 18–19.
 253
       Id. at 20.
 254
       Id. at 21.
 255
       Leitzinger Report at 30.



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             growth and opportunity’ in the Linux market and ‘[d]etermined IBM must engage in

             Linux phenomena.” 256

             112.      SCO’s experts acknowledge that IBM made the decision to support LINUX

 because of competition from Sun and Microsoft, among other factors, and that the decision had

 nothing to do with SCO:

                       a.         “In 1999, IBM began to make statements about the use of Linux as a

             ‘game-changer’ to compete against Sun and Microsoft.” 257

                       b.         “IBM internal documents from this time period refer to Linux as a

             ‘disruptive force to change the rules of the game’ and ‘a distinct opportunity to unseat

             Sun and Microsoft as the inevitable choices and curtail their growth.” 258

                       c.         “IBM had seen its mainframe revenues decline by more than half during

             the 1990s. When IBM started selling Linux on zSeries servers in 2000, it turned around

             what had been a decade long slide in mainframe revenues. . . . Through its Linux

             initiatives, IBM was also able to tum around its competitive position relative to Sun in the

             RISC-based server business. In coming to its Linux strategy, IBM noted that, ‘the real

             near term business opportunity is to take Unix leadership away from Sun with our

             integrated Linux/AIX strategy.” 259

             113.      SCO’s own experts believe that IBM’s support of LINUX constituted

 competition:




 256
       Id. at 37.
 257
       Pisano Report at 26.
 258
       Leitzinger Report at 39.
 259
       Id. at 59–60.



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                         a.     “Linux – with its open source nature and its focus on relatively

             inexpensive IA hardware – provided ‘an expansive homogenous platform, dramatically

             broader and more vendor independent than Solaris [with] better volume dynamics than

             Solaris/SPARC.’ Linux also provided ‘a low-cost, reliable and more open alternative to

             Windows NT/2000.’ Linux provided a way for IBM to attack Microsoft’s domination of

             the ‘operating system control point.’ In effect, ‘Linux commoditizes the OS market

             allowing a level playing field for middleware & servers across multiple chip

             architectures.’ This played to IBM’s strengths.” 260

                                                 H. SCO’s Lack of Injury.

             114.        SCO cannot specifically identify any damages resulting from any acts of alleged

 interference by IBM, as explained below.

                         a.     When asked if he was able to provide any information about any damages

             that SCO may have suffered with respect to a particular company with which SCO

             alleges IBM interfered, Mr. Tibbitts testified, “I don’t have a damage number. That’s

             what our outside consultants are working on.” 261 Similarly, when asked about a second

             company:

                         If you’re talking about a dollar amount, no, I’m not. If you’re talking
                         about in general, you know, how SCO would be damaged by people
                         moving away from UNIX- SCO’s UNIX platforms to competitors, you
                         know, it would be lost revenue, lost profits, lost business opportunity. 262

                         b.     Mr. Tibbitts also could provide no information on what SCO’s revenues or

             profits with respect to any of entities with which IBM is alleged to have interfered may

             have been:

 260
       Id. at 39–40 (emphasis in original).
 261
       Tibbitts Dec. 16, 2005 Depo. at 81:1–2.
 262
       Id. at 82:9–19.



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                        Q: And are you able to provide any information concerning -well, this
                        may be obvious, but I take it, then, that you are not able to provide any
                        information concerning what SCO’ s annual revenues or profits may have
                        been with respect to any of those products or companies.

                        A: And that’s correct. 263

                        c.     With regard to SCO’s claim for interference with the “Unix on Intel

             market,” Mr. Tibbitts testified that SCO’s “theory is not company/company specific” 264

             and “IBM’s taking Linux to the enterprise could conceivably have interfered with

             everybody, you know.” 265 Thus, SCO is “not allocating a specific dollar amount to each

             of [those entities] anyway” because SCO’s “tortious interference claim ... is more of a

             tortious interference perspective, business relationships for the Unix on Intel market as a

             whole.” 266

                        d.     Similarly, as to the six existing relationships with which SCO alleges IBM

             interfered, SCO does not claim any discrete damages resulting from IBM’s alleged

             interference. For example, as to BayStar, Mr. Tibbitts testified:

                        [W]e don’t have a discreet (sic) claim about BayStar with a damage
                        number associated with that. The BayStar story is part of our overall story
                        about how IBM dealt with us . . . I think it’s just part of the story and
                        we’re not going to say the damages related to BayStar are X dollars, but . .
                        . it’s part of the story that leads to the damages that have been submitted in
                        our damage reports. 267

                        e.     Not one of SCO’s experts attempted to quantify or even address the

             alleged damages allegedly caused by IBM’s alleged tortious interference with SCO’s

             contractual or business relationships.

 263
       Id. at 90:2–8.
 264
       Tibbitts June 30, 2006 Depo. at 34:25-35:11.
 265
       Tibbitts Dec. 16, 2005 Depo. at 84:23–24.
 266
       Tibbitts June 30, 2006 Depo. at 26:17–22.
 267
       Id. at 14:17–15:9.



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            115.     There were problems adversely affecting SCO’s business from at least 1999

 onward that were independent of any actions of IBM.

                     a.       Former SCO regional director of intellectual property licensing Gregory

            Pettit stated that SCO was not “successful in getting new customers” at a time when

            “[LINUX] hadn’t established itself, didn’t have the credentials” and “was relatively new

            and unproven.” 268

                     b.       Former SCO vice president Lawrence Gasparro stated that SCO customers

            complained that SCO’s UNIX products lacked the new functions and capabilities they

            needed. 269 The complaints about the lack of features and capabilities for SCO’s

            UnixWare and OpenServer products began in 2000. 270 Customer feedback about “the

            lack of new [SCO] products that suited their requirements” began as early as 1996. 271

                     c.       Former SCO employee Gregory Anderson stated that from January 2000

            to the acquisition by Caldera of Santa Cruz’s UNIX business in May 2001, SCO’ s

            marketing funds for its UNIX products were declining. 272

                     d.       Former SCO sales representative Philip Langer stated that after the

            acquisition by Caldera of SCO’s UNIX business in 2001, he was “focused on maintaining

            the existing customers as opposed to approaching new customers” of UnixWare and

            OpenServer. 273

 268
   Deposition Transcript of Gregory A. Pettit, dated Oct. 7, 2004, at 67:16–68:4, 68:23–70:12, attached as Exhibit
 304 to IBM’s first Exhibits.
 269
     Deposition Transcript of Lawrence Gasparro, dated Oct. 6, 2004 (“Gasparro Oct. 6, 2004 Depo.”), at 208:2–14,
 attached as Exhibit 303 to IBM’s First Exhibits.
 270
       Id. at 209:24–210:6.
 271
       Id. at 209:15–23.
 272
       Anderson Oct. 21, 2004 Depo. at 108:25–109:22.
 273
    Deposition Transcript of Philip E. Langer, dated Nov. 5, 2004, at 47:22–48:18, attached as Exhibit 308 to IBM’s
 First Exhibits.



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                      e.      Langer stated that SCO’s LINUX products were more expensive than the

            LINUX products of its competitors, so SCO was “having trouble getting the business a

            lot of times on the price point.” 274 SCO’s LINUX products were kept at “a comparative

            price with [SCO’s] UNIX [products] because we would devalue our UNIX

            business[.]”275

                      f.      According to Mr. Gasparro, SCO attempted to sell a LINUX solution to

            Sherwin-Williams (one of the 14 “former SCO customers” identified in SCO’s

            Supplemental Response). However, Sherwin-Williams needed to go with another LINUX

            distributor instead of using Caldera/LINUX, and Mr. Gasparro stated his belief that it was

            because “Sherwin-Williams needed a more complete solution than what [SCO] had

            offered.” 276

                      I. No Disputed Facts Regarding Baystar and Lawrence Goldfarb

            SCO had proposed a fact that stated that Lawrence Goldfarb, managing member of

 Baystar, was pressured by IBM to discontinue its support of and investment in SCO.277

 Specifically, SCO alleged that Mr. Godlfarb expressly stated to Darl McBride of SCO that IBM

 had been “on him, on him, on him’ to retract his support from SCO.” 278 IBM had presented a

 fact, supported by a sworn declaration from Larry Goldfarb, stating that “No one from IBM ever

 had any communications with me or, to my knowledge, anyone at BayStar relating to SCO.” 279




 274
       Id. at 26:12–24.
 275
       Id. at 26:17–19.
 276
       Gasparro Oct. 6, 2004 Depo. at 183:7–184:9.
 277
       SCO’s Interference Opposition at 19 ¶¶ 57 and 75, response to ¶ 46.
 278
       SCO’s Interference Opposition at 19 ¶ 57.
 279
       Statement of Undisputed Facts, supra, ¶ 79(a) (citing Goldfarb Declaration ¶ 4).



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             These proposed facts did not result in a genuine disputed of material fact to be resolved at

 trial because SCO’s proposed fact was only supported by hearsay. SCO offered as support for its

 fact a declaration of Darl McBride, offering a recitation of what Mr. Goldfarb had allegedly

 said, 280 an out of court statement by a non-party offered for the truth of the matter asserted.

 Similarly, SCO also offered the deposition testimony of Ryan Tibbitts, there reciting what Mr.

 McBride had told him about what Mr. Goldfarb had allegedly said to Mr. McBride, 281 there

 offering multiple layers of hearsay.

             The Federal Rules of Civil Procedure state that “[i]f a party fails to properly support an

 assertion of fact or fails to address another party’s assertion of fact as required by Rule 56(c) [i.e.

 with admissible evidence], the court may consider the fact undisputed for the purposes of the

 motion.” 282 Accordingly, IBM’s fact, supported by Mr. Goldfarb’s declaration, is considered an

 undisputed fact for the purposes of IBM’s Interference Motion when faced with SCO’s proposed

 fact and responses that were supported only by hearsay.

                                        SUMMARY JUDGMENT STANDARD

             Summary judgment is proper “if the movant shows that there is no genuine dispute as to

 any material fact and the movant is entitled to judgment as a matter of law.” 283 “An issue of

 material fact is ‘genuine’ if a reasonable jury could return a verdict for the nonmoving party.” 284

 In moving for summary judgment, IBM “bears the burden of showing the absence of a genuine

 issue of material fact . . . .” 285 However, as it relates to SCO’s claims, IBM “need not negate

 280
       McBride Declaration ¶ 29.
 281
       Tibbitts Dec. 16, 2005 Depo. at 86:16–19.
 282
       FED. R. CIV. P. 56(e), (e)(2).
 283
       FED. R. CIV. P. 56(a).
 284
    Universal Money Ctrs., Inc. v. Am. Tel. & Tel. Co., 22 F.3d 1527, 1529 (10th Cir. 1994) (quoting Anderson v.
 Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)) (internal quotation marks omitted).
 285
       Universal, 22 F.3d at 1529.


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 [SCO’s] claim[s], but need only point out to the district court ‘that there is an absence of

 evidence to support [SCO’s] case.’” 286 Upon such a showing, SCO “must set forth specific facts

 showing that there is a genuine issue for trial as to those dispositive matters for which [SCO]

 carries the burden of proof.” 287 “The mere existence of a scintilla of evidence in support of the

 plaintiff’s position will be insufficient to defeat a properly supported motion for summary

 judgment.” 288

                                                         ANALYSIS

             A plaintiff must prove three elements under Utah law to succeed on claims of intentional

 interference with economic relations: “(1) that the defendant intentionally interfered with

 plaintiff’s existing or potential economic relations, (2) for an improper purpose or by improper

 means, (3) causing injury to the plaintiff.” 289 Subsequent case law has further restricted the scope

 of an interference claim: an improper purpose is no longer sufficient, and improper means is a

 necessary element. 290

             IBM’s Interference Motion offers three arguments for summary judgment on SCO’s

 interference claims: (A) SCO’s allegations of interference with respect to the identified

 companies “are denied by the companies or entities at issue and otherwise entirely without

 evidentiary support;” 291 (B) “there is no causal link between any act of IBM and any specific

 injury to SCO;” 292 and (C) “IBM’s allegedly tortious acts were not undertaken with an improper


 286
       Id. (citing Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986)).
 287
       Id. (citing Applied Genetics Int'l, Inc. v. First Affiliated Sec., Inc., 912 F.2d 1238, 1241 (10th Cir.1990)).
 288
       Id. (quoting Anderson, 477 U.S. at 252).
 289
       Leigh Furniture & Carpet Co. v. Isom, 657 P.2d 293, 304 (Utah 1982).
 290
   See IBM’s Interference Supplement at 6 (citing Eldridge v. Johndrow, 345 P.3d 553, 561 (Utah 2015); and
 SCO’s Interference Supplement at 6 (citing IBM’s Interference Supplement at 6).
 291
       IBM’s Interference Motion at 2.
 292
       Id. at 3.



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 purpose or by improper means.” 293 Because SCO’s claim fails on the lack of evidence supporting

 its allegations of interference and a lack of causation, it is unnecessary to further consider

 whether IBM used improper means.

             A. No Evidence Supports Direct Interference with the Companies SCO Specifically
                  Identified and Claims Regarding Market Competition are Not Actionable.

              IBM argued that “SCO cannot show any unlawful interference by IBM at all.” 294 Indeed,

 as shown by the undisputed facts, 295 SCO’s allegations regarding Baystar, 296 Computer

 Associates, 297 Oracle, 298 and Intel 299 allege no direct interference from IBM. Rather, regarding

 these companies, and regarding what SCO describes as a broader claim of interference with the

 UNIX-on-Intel market generally, SCO alleges nothing more than that IBM “hardened” LINUX

 by misappropriation of source code to which SCO claimed some ownership (an ownership that

 has since been pared following the Novell case 300 and subsequent partial summary judgment 301 in

 this case), and subsequently, SCO’s business with those companies diminished.

              First, SCO has alleged no set of facts of direct interference with any company except

 possibly Hewlett-Packard, which will be discussed below. 302 Second, alleged misappropriation

 of source code, while potentially a breach of contract or a copyright violation, is not in and of

 itself tortious interference. Third, IBM correctly argues that “Utah (like other jurisdictions)

 293
       Id.
 294
       IBM’s Interference Memorandum at 36.
 295
       See Statement of Undisputed Facts, supra, Section F.
 296
       Id. ¶¶ 71–81,
 297
       Id. ¶¶ 82–83, 98(a), 98(d), 99(a).
 298
       Id. ¶¶ 84–92, 98(b), 98 (d), 99(b).
 299
       Id. ¶¶ 93–97, 98(c), 98(d), 99(c).
 300
       SCO Group, Inv. v. Novell, Inc., Case No. 2:04-cv-00129-TS.
 301
    Memorandum Decision and Order Granting in Part and Denying in Part IBM’s Motion for Partial Summary
 Judgment on the Basis of the Novell Judgment, docket no. 1132, filed Dec. 15, 2014.
 302
       See Analysis, infra, Part B.



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 simply does not recognize activities with respect to an entire market as a basis for recovery for

 ‘intentional’ interference with contract or business relations,” 303 and the authority SCO offered

 does not support SCO’s general market interference theory but actually holds that no such tort is

 recognized. 304

             In opposition, SCO argues that in order to meet the first element of the tort, SCO “need

 only show that defendant’s intentional conduct interfered with existing or prospective business

 relationships,” but SCO “is not required to identify specific contractual relationships with which

 defendant interfered.” 305 Instead of offering any specific identification or facts, SCO argues that

 “Utah law recognizes that actionable business relationships include plaintiff’s actual or potential

 customers, suppliers, and business associates,” and as support, cites the Utah Supreme Court:

 “Driving away an individual’s existing or potential customers is the archetypical injury this

 cause of action was devised to remedy.” 306 Indeed, SCO argues that “[t]he fact that the number

 of potential customers with whom SCO would have completed a transaction, but for IBM’s

 interference, exceeds the number that SCO can possibly identify, makes IBM’s improper conduct

 no less actionable.” 307

             In Leigh Furniture, the Utah Supreme Court was confronted with a set of facts

 significantly distinct from the facts of this case. In Leigh Furniture, the former owner of the

 business made “frequent visits to [the current owner]’s store during business hours to confront

 303
   IBM’s Interference Memorandum at 2 (citing Leigh Furniture, 657 P.2d at 307; Bower v. Stein Eriksen Lodge
 Owners Ass’n., Inv., 201 F. Supp. 2d 1134 (D. Utah 2002)).
 304
    See Leigh Furniture, 657 P.2d at 307 (recognizing the value of competitive activity which takes place in the
 “rough and tumble of the marketplace” and recognizing that interfering with potential customers may be actionable
 under this tort but not otherwise discussing a tort for indirect interference or non-interference) and Mumford v. ITT
 Commercial Fin. Corp., 858 P.2d 1041 (Utah Ct. App. 1993) (stating that the conduct, not necessarily the resulting
 interference, must be intentional to satisfy the intent requirement of intentional interference).
 305
       SCO’s Interference Opposition at 28.
 306
       Id. (citing Leigh Furniture, 657 P.2d at 306).
 307
       SCO’s Interference Opposition at 34.



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 him, question him, and make demands and inquiries regarding the manner in which he was

 conducting his business[,] repeatedly interrupted sales activities, caused his customers to

 comment and complain, and more than once caused a customer to leave the store.” 308 This is not

 what SCO alleges IBM to have done in this case.

            The IBM analog in Leigh Furniture would have seen the previous owner running a

 competing business with directly competitive products, followed by the furniture store’s business

 dwindling. However, those were not the facts in Leigh Furniture, and likewise, IBM was not

 directly interrupting SCO’s sales activities and thereby directly impeding and frustrating SCO’s

 business. SCO is correct that interference with potential customers is actionable, but its

 contention that interference with unidentifiable potential customers without number is actionable

 is far more tenuous. However, these points are generally irrelevant because it is the context of the

 alleged interference, not the identity of potential customers, that is most strikingly fatal to SCO’s

 claims. This is so because while Leigh Furniture did recognize that interfering with potential

 customers may be actionable under this tort, it did not recognize a tort for indirect interference or

 non-interference, 309 otherwise identified as market competition. 310

            SCO argued that circumstantial evidence is sufficient to meet its burden to defeat IBM’s

 Interference Motion, 311 but a line must be drawn between circumstantial evidence and mere




 308
       Leigh Furniture, 657 P.2d at 306.
 309
   See IBM’s Interference Memorandum at 47–51 (discussing indirect interference regarding the “UNIX-on-Intel
 market”).
 310
    See Gull Labs, Inc. v. Diagnostic Tech., Inc., 695 F.Supp. 1151, 1155 (D. Utah 1988) (“Competition is a major
 privilege justifying interference with economic advantage, and competitors are not liable for interference with
 contract if the interference advances the competitors’ own interest and is not otherwise unlawful.”); Leigh Furniture,
 657 P.2d at 305 n.8 (“The exercise of a legal right constitutes justification and is a complete defense to an action of
 tortious intervention of contractual rights”) (internal quotations and citations omitted).
 311
       SCO’s Interference Opposition at 30.



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 speculation. The undisputed facts 312 contain no evidence of any interference by IBM regarding

 these companies. Allowing SCO’s claims to survive on the bases of SCO’s business dwindling

 after IBM “hardened” LINUX would require speculation to fill the void where no evidence, not

 even circumstantial, is offered. SCO’s best attempt at offering circumstantial evidence comes in

 its response to IBM’s facts regarding the lack of evidence of interference with Computer

 Associates, Oracle, and Intel. 313

             SCO’s attempted dispute with the facts offered regarding these companies was that a

 conversation may have taken place between IBM’s Karen Smith and Hewlett-Packard executive

 Rick Becker at the LinuxWorld 2003 convention in which Ms. Smith allegedly said that IBM

 was going to pull all of its support from SCO and suggested that Mr. Becker should do the

 same. 314 “Not long thereafter, companies including Computer Associates, Oracle, and Intel,

 further reduced their support for SCO.” 315 The speculative jump SCO insinuates is not

 implausible: that IBM executives might have said similar things to executives of other

 companies 316 (ignoring the fact that those companies have sworn that no such discussions

 occurred, and SCO was unable to dispute those facts with admissible evidence), but without any

 evidence of such an occurrence, that possibility remains entirely speculative, and cannot salvage

 SCO’s interference claims. SCO has alleged nothing more than noninterference, competition,

 and speculation, based on allegations of some kind of tortious conversion, misappropriation, or

 breach of contract regarding the source code added to LINUX, which is not per se interference

 without more factual context. Therefore, IBM has “point[ed] out to the district court ‘that there is

 312
       See Statement of Undisputed Facts, supra, Section F.
 313
       SCO’s Interference Opposition at 79.
 314
       Id.
 315
       Id.
 316
       Id. at 47–48.



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 an absence of evidence to support [SCO’s] case,’” 317 and SCO has not “set forth specific facts

 showing that there is a genuine issue for trial” 318 regarding whether IBM “intentionally

 interfered with [SCO]’s existing or potential economic relations.” 319

           B. IBM’s Alleged Interference with Hewlett-Packard May Constitute Interference

             Having determined that IBM’s alleged interference with the UNIX-on-Intel market in

 general is not actionable as indirect market competition and that there are no facts to salvage

 claims regarding Baystar, Computer Associates, Oracle, and Intel, it remains to be determined

 whether SCO has alleged actionable interference regarding Hewlett-Packard. As discussed

 above, the relevant facts regarding the alleged interference with Hewlett-Packard are as follows:

             Karen Smith of IBM recalls a brief conversation with Rick Becker of Hewlett-
             Packard at the LinuxWorld 2003 convention, but does not recall stating and does
             not believe she stated to Mr. Becker that IBM was going to cut off all business
             ties with SCO and that IBM wanted Hewlett-Packard to do the same. 320

             Mr. Becker stated that “[Ms. Smith] indicated to me that IBM was going to
             withdraw all their business activities from SCO, and that in the interest of the best
             outcome for our joint Linux initiatives that she was going to suggest that HP, and
             I was representing HP, and following me, Intel should do the same.” 321

 SCO has not offered case precedent to show that a defendant actionably interferes by stating that

 it “was going to cut off all business with” the plaintiff and that it “was going to suggest” that

 third parties “do the same.” However, resolving whether this constitutes actionable interference

 is deferred because SCO’s interference claims fail entirely, but also specifically regarding

 Hewlett-Packard, on the issue of causation in SCO’s injury, 322 discussed more fully below.

 317
       Universal, 22 F.3d at 1529 (citing Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986)).
 318
       Id. (citing Applied Genetics Int'l, Inc. v. First Affiliated Sec., Inc., 912 F.2d 1238, 1241 (10th Cir.1990)).
 319
       Leigh Furniture & Carpet Co. v. Isom, 657 P.2d 293, 304 (Utah 1982).
 320
       Statement of Undisputed Facts, supra, ¶ 104 (citing Smith Declaration ¶¶ 4, 6).
 321
       Id. ¶ 105 (citing Becker Oct. 15, 2003 Depo. at 54:5-11).
 322
   See IBM’s Interference Memorandum at 44 (arguing that SCO’s claim fails on causation, even assuming that Ms.
 Smith’s conversation with Mr. Becker occurred as SCO alleged).



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               C. There Is No Causal Link Between IBM’s Alleged Acts and SCO’s Injury.

       I.    Causation and Injury Generally

             SCO’s interference claims fail generally for a lack of identified and articulated damages;

 because these claims are subsumed in other claims; and because intervening forces rather than

 IBM’s offering of a competitive product caused SCO’s decline.

             IBM argues that “SCO has produced no evidence of damages specific to its interference

 claims with respect to” the specifically identified companies, 323 and that “none of SCO’s experts

 calculate or even address damages resulting from IBM’s alleged interference.” 324 SCO responds

 that “SCO’s damages for IBM’s acts of interference are subsumed within and coterminous with

 SCO’s damages for its breach of contract claims.” 325 Although SCO’s surface argument is that it

 has articulated a damages calculation elsewhere in this litigation, its response acknowledges that

 what SCO labels as tortious interference is in reality a recasting of SCO’s other claims, such as

 breach of contract. SCO’s litigation is focused on one harm: IBM’s use of source code in

 LINUX, restyled over multiple contract and tort theories. As already discussed above, 326 any

 improper use of source code, although it may have breached a contract, was not in and of itself

 tortious interference. These interference claims incorrectly focus on the effects of IBM’s use of

 source code, improperly reframing the effects of that use as new and distinct claims.

             Even if SCO had articulated a specific damages amount tied to specifically identifiable

 third parties who reduced or ceased doing business with SCO, SCO’s interference claims also

 323
       IBM’s Interference Memorandum at 59.
 324
       Id.
 325
       SCO’s Interference Opposition at 90.
 326
    See Analysis, supra Part A (“[A]lleged misappropriation of source code, while potentially a breach of contract or
 a copyright violation, is not in and of itself tortious interference. . . . SCO has alleged nothing more than
 noninterference, competition, and speculation, based on allegations of some kind of tortious conversion,
 misappropriation, or breach of contract regarding the source code added to LINUX, which is not per se interference
 without more factual context.”).



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 fail for a lack of causation. “SCO does not identify any specific feature of Linux – ‘a specific

 trade secret or confidential or proprietary information’ belonging to SCO and allegedly

 incorporated into Linux by IBM – that caused any of these companies to decide to use or support

 Linux.” 327 SCO repeatedly makes arguments like the “improvements to Linux directly and

 foreseeably caused Linux to displace SCO’s UNIX operating systems in the Intel market,” 328

 without acknowledging that IBM’s creation of a product would not by itself displace SCO’s

 product. Rather, SCO’s customers would have to independently choose to forego continuing

 business with SCO for SCO’s business to decline. The independent choices of SCO’s customers

 undermine any alleged causal connection between IBM’s product offering and SCO’s decline.

             Additionally, there were many other issues in SCO’s business and relationships, at least

 some of which predated or were entirely independent of IBM, which could have contributed to

 SCO’s decline, 329 further interrupting any causal chain between IBM and SCO’s alleged injury.

 Simply stated, SCO’s theory of causation and damages is based upon a common logical fallacy:

 post hoc ergo propter hoc: because one event happens after another, the first event was a cause

 of the second event. To the extent that SCO’s decline came as a result of its customers switching

 to LINUX, the customer’s choice, and not the offering of a viable competitive option, was the

 natural cause of that decline.

  II.        Causation and Injury Regarding Hewlett-Packard

             As stated above, 330 although IBM’s alleged conversation with Hewlett-Packard’s Rick

 Becker may constitute intentional interference (a determination that has been deferred), SCO’s

 claims regarding Hewlett-Packard also fail because the alleged interference did not damage the
 327
       IBM’s Interference Memorandum at 59.
 328
       SCO’s Interference Opposition at 31.
 329
       Statement of Undisputed Fact, supra, ¶ 115.
 330
       See Analysis, supra, Part (B).



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 SCO- Hewlett-Packard relationship. 331 For example, according to Mr. Becker, the statements

 allegedly made by Ms. Smith to Mr. Becker had no impact on the relationship between Hewlett-

 Packard and SCO. 332 Furthermore, Hewlett-Packard has confirmed that to the extent its business

 relationship with SCO has changed, it is for reasons having nothing to do with IBM. 333 Finally,

 the relationship between SCO and Hewlett-Packard did not decline immediately after the

 LinuxWorld 2003 convention and continues to be strong today. 334

             In additional to the general causation and damages arguments discussed immediately

 above, SCO’s claims cannot succeed regarding IBM’s alleged interference with Hewlett-Packard

 where Hewlett-Packard itself acknowledged that the alleged interference caused no course

 alteration within the SCO-Hewlett-Packard relationship, and where the SCO-Hewlett-Packard

 relationship was not only not interfered with, but continued to be strong.

                    D. SCO Has Waived Any Claim Regarding the OpenSource Conference.

             A portion of SCO’s interference claims focused on IBM’s alleged efforts to prevent SCO

 executive Darl MCBride from speaking at the OpenSource Conference in Scottsdale, Arizona in

 the spring of 2004, through contact with the conference’s host John Terpstra. However, SCO has

 abandoned this portion of its claim, stating that “in light of Mr. Terpstra’s declaration submitted

 in support of IBM [sic] motion for summary judgment, SCO is not pursuing this aspect of its

 claim.” 335 Therefore, summary judgment is granted in IBM’s favor regarding alleged




 331
   See IBM’s Interference Memorandum at 44 (arguing that SCO’s claim fails on causation, even assuming that Ms.
 Smith’s conversation with Mr. Becker occurred as SCO alleged).
 332
       Statement of Undisputed Facts, supra, ¶ 106 (citing Becker Oct. 15, 2003 Depo. at 149:11–24).
 333
       Id. ¶ 107 (citing Beyers Declaration ¶¶ 2, 3).
 334
       Id. ¶ 108.
 335
       SCO’s Interference Opposition at 72, at response to ¶ 37(d).



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 interference with Mr. McBride’s speaking at the OpenSource Conference in 2004, which is

 included in SCO’s Seventh Cause of Action for direct interference.

                                            CONCLUSION

         Summary judgment is granted to IBM on SCO’s interference claims because the alleged

 intentional interference is either wholly unsupported by the evidence or is not actionable because

 it is indirect interference or privileged market competition. Furthermore, any presumed causal

 relationship between IBM’s alleged interference and SCO’s alleged injury is broken by

 intervening forces which truly caused SCO’s decline. Rather, SCO’s interference claims appear

 to be a repackaging of the damages portion of SCO’s contract claims, and SCO even admits that

 the damages for these claims are subsumed in its contract claims. For the reasons stated more

 fully above, summary judgment is granted in IBM’s favor regarding SCO’s interference claims.

                                                 ORDER

         For the reasons stated above, IT IS HEREBY ORDERED that IBM’s Interference

 Motion 336 is GRANTED, and summary judgment is granted in IBM’s favor on SCO’s remaining

 tortious interference claims (SCO’s Seventh and Ninth Causes of Action).


         Dated February 8, 2016.

                                                  BY THE COURT:



                                                  ____________________________
                                                  David Nuffer
                                                  United States District Judge




 336
    IBM’s Motion for Summary Judgment on SCO’s Interference Claims (SCO’s Seventh, Eighth and Ninth Causes
 of Action), docket no. 783, filed Sept. 25, 2006.



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                              UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, CENTRAL DIVISION


 THE SCO GROUP, INC., A DELAWARE                     ORDER GRANTING IBM’S [782]
 CORPORATION;                                        MOTION FOR PARTIAL
                                                     SUMMARY JUDGMENT
                        Plaintiff,
                                                     2:03-CV-00294-DN
 v.
                                                     District Judge David Nuffer
 INTERNATIONAL BUSINESS MACHINES
 CORPORATION,

                        Defendant.


        This case arises out of the relationship between The SCO Group, Inc. (“SCO”) and

 International Business Machines Corporation (“IBM”) regarding IBM’s production of its LINUX

 operating system. SCO held a majority of the UNIX-on-Intel market with its UNIX operating

 system in 1998 when IBM and SCO agreed to collaborate to produce a new operating system,

 Project Monterey. SCO claimed that IBM used this project to gain access SCO’s UNIX source

 code and then copied thousands or millions of lines of that code into LINUX. Because LINUX

 was offered at no cost in the open-source community, it rapidly displaced UNIX, and SCO’s

 UNIX sales rapidly diminished. SCO publicized the alleged copyright infringement and the

 alleged wrongs committed by IBM, and IBM argued that SCO’s tactics were improper and in

 bad faith, and that it had the right to use any lines of code it added to LINUX. Previously in this

 litigation, many claims have been resolved. This order addresses SCO’s unfair competition

 claim, granting summary judgment on that claim in favor of IBM.




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                                          CASE AND MOTION BACKGROUND

            This case has been assigned to multiple judges in the District of Utah since it was filed in

 2003. The case was administratively closed by Judge Kimball on September 20, 2007 due to

 SCO’s filing for bankruptcy, 1 and on September 10, 2010, Judge Campbell denied SCO’s

 request to re-open the case to resolve two of the several pending motions. 2 SCO filed a motion to

 reopen the case to resolve some pending motions, 3 and after the case was reassigned again, that




 1
     Order Regarding Temporary Administrative Closure of Case, docket no. 1081, filed Sept. 20. 2007.
 2
     Order, docket no. 1093, filed Sept. 10, 2010.
 3
     The SCO Group, Inc.’s Motion to Reopen the Case, docket no. 1095, filed Nov. 4, 2011.



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 motion was denied with the intent of keeping the case closed during the bankruptcy. 4 On May 7,

 2013, SCO filed a motion for reconsideration of that order. 5 Because IBM did not oppose this

 motion or the reopening of the case, SCO’s motion was granted, the previous order denying the

 motion to reopen 6 was vacated, and the case was reopened on June 14, 2013. 7

            Following the resolution of separate litigation between Novell, Inc. (“Novell”) and SCO, 8

 SCO proposed that six of SCO’s claims be dismissed with prejudice: breach of IBM Software

 Agreement (Count I), breach of IBM Sublicensing Agreement (Count II), breach of Sequent

 Software Agreement (Count III), breach of Sequent Sublicensing Agreement (Count IV),

 copyright infringement (Count V), and interference with the 1995 Asset Purchase Agreement at

 issue in the Novell case (Count VIII). 9 On July 22, 2013, IBM filed a motion for partial summary

 judgment regarding remaining claims based on the Novell judgment. 10 On December 15, 2014,

 partial summary judgment was granted in IBM’s favor on IBM’s counterclaims seeking a

 declaration of non-infringement of the copyrights to the pre-1996 UNIX source code (IBM’s

 Counterclaims IX and X), and on SCO’s unfair competition claim (Count VI) and tortious

 interference claims (Counts VII and IX) “insofar as they alleged that SCO, and not Novell, owns

 the copyrights to the pre-1996 UNIX source code and/or that Novell does not have the right to




 4
     Memorandum Decision and Order Denying Motion to Reopen the Case, docket no. 1109, filed Apr. 24, 2013.
 5
  The SCO Group, Inc.’s Motion for Reconsideration of the Court’s Order Denying Motion to Reopen the Case,
 docket no. 1110, filed May 7, 2013.
 6
     Memorandum Decision and Order Denying Motion to Reopen the Case, docket no. 1109, filed Apr. 24, 2013.
 7
     Order Reopening Case and Vacating Prior Order, docket no. 1115, filed June 14, 2013.
 8
     SCO Group, Inv. v. Novell, Inc., Case No. 2:04-cv-00129-TS.
 9
     Partial Judgment Dismissing SCO Claims, docket no. 1123, filed July 10, 2013.
 10
   IBM’s Motion and Memorandum for Partial Summary Judgment on the Basis of the Novell Judgment, docket no.
 1126, filed July 22, 2013.



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 waive IBM’s alleged breaches of the licensing agreements pursuant to which IBM licensed pre-

 1996 UNIX source code.” 11

            On March 13, 2015, SCO and IBM filed a Joint Status Report 12 outlining the claims and

 motions that remain pending. SCO’s only remaining claims are unfair competition (Count VI),

 tortious interference with a contract (Count VII), and tortious interference with prospective a

 business relationship (Count IX), all of which are challenged by summary judgment motions.

 IBM has eight pending counterclaims, seven of which are challenged by summary judgment

 motions. 13 This order addresses only SCO’s unfair competition claim.

            On September 25, 2006, IBM filed a motion for summary judgment on SCO’s unfair

 competition claim, 14 followed shortly thereafter by a memorandum in support. 15 On November

 11, 2006, SCO filed its opposition brief, 16 to which IBM replied on January 12, 2007. 17 The

 parties argued the motion before Judge Kimball on March 5, 2007. 18 Pursuant to a request in the



 11
   Memorandum Decision and Order Granting in Part and Denying in Part IBM’s Motion for Partial Summary
 Judgment on the Basis of the Novell Judgment, docket no. 1132, filed Dec. 15, 2014.
 12
      Docket no. 1134, filed Mar. 13, 2015.
 13
   IBM’s pending counterclaims are breach of contract (Counterclaim I), a violation of the Lanham Act
 (Counterclaim II), unfair competition (Counterclaim III), intentional interference with prospective economic
 relations (Counterclaim IV), a violation of the New York State Unfair and Deceptive Trade Practices Act
 (Counterclaim V), breach of the General Public License (Counterclaim VI), promissory estoppel (Counterclaim
 VII), and copyright infringement (Counterclaim VIII). SCO has not challenged IBM’s breach of contract
 counterclaim by dispositive motions.
 14
   IBM’s Motion for Summary Judgment on SCO’s Unfair Competition Claim (SCO’s Sixth Cause of Action)
 (“IBM’s Unfair Competition Motion”), docket no. 782, filed Sept. 25, 2006.
 15
   IBM’s Memorandum in Support of Its Motion for Summary Judgment on SCO’s Unfair Competition Claim
 (SCO’s Sixth Cause of Action) Filed Under Seal Pursuant to 9/16/03 Protective Order, Docket #38 (“IBM’s Unfair
 Competition Memorandum”), docket no. 806, filed Sept. 29, 2006.
 16
   Plaintiff/Counterclaim-Defendant SCO’s Memorandum in Opposition to IBM’s Motion for Summary Judgment
 on SCO’s Unfair Competition Claim (SCO’s Sixth Cause of Action) (“SCO’s Unfair Competition Opposition”),
 docket no. 861, filed Nov. 11, 2006.
 17
   IBM’s Reply Memorandum in Further Support of Its Motion for Summary Judgment on SCO’s Unfair
 Competition Claim (SCO’s Sixth Cause of Action) Filed Under Seal Pursuant to 9/16/03 Protective Order, Docket
 #38 (“IBM’s Unfair Competition Reply”), docket no. 947, filed Jan. 12, 2007.
 18
      See Minute Entry, docket no. 974, filed Mar. 5, 2007.



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 March 2015 Joint Status Report 19 to supplement the older briefing, the parties were given the

 opportunity to provide five additional pages of authority. 20 On May 21, 2015, IBM filed its

 supplemental brief, 21 and SCO filed its supplement on June 5, 2015. 22

            A status conference was held on June 11, 2015 in which the parties gave brief educational

 and background summaries on the remaining claims and motions. 23 As part of this background

 presentation, both parties relied heavily on both Utah and New York case law, agreeing that

 there wasn’t an important distinction in the bodies of law regarding this case and stipulating to

 the use of both. In that hearing, the parties also agreed to engage in settlement negotiations

 conducted by a magistrate judge, but were not amendable to a settlement conference when the

 magistrate judge attempted to arrange one. 24

            Having reviewed the parties’ original and supplementary briefing as well as their oral

 argument before Judge Kimball, it is unnecessary to hold additional oral argument to decide this

 motion. Therefore, for the reasons stated more fully below, summary judgment is GRANTED in

 IBM’s favor on SCO’s unfair competition claim.




 19
      Docket no. 1134, filed Mar. 13, 2015.
 20
      See Docket Text Order, docket no. 1142, filed May 28, 205.
 21
   IBM’s Case Law Update with Respect to Its Motion for Summary Judgment on SCO’s Unfair Competition Claim
 (SCO’s Sixth Cause of Action) and Its Motion for Summary Judgment on SCO’s Interference Claims (SCO’s
 Seventh and Ninth Causes of Action) (“IBM’s Unfair Competition Supplement”), docket no. 1140, filed May 21,
 2015.
 22
    SCO’s Response to IBM’s Case Law Update with Respect to Its Motion for Summary Judgment on SCO’s Unfair
 Competition Claim (SCO’s Sixth Cause of Action) and Its Motion for Summary Judgment on SCO’s Interference
 Claims (SCO’s Seventh and Ninth Causes of Action) (“SCO’s Unfair Competition Supplement”), docket no. 1144,
 filed June 5, 2015.
 23
      See Minute Order, docket no. 1150, filed June 11, 2015.
 24
      See Order Regarding Settlement Conference Referral, docket no. 1155, filed July 7, 2015.



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                                  STATEMENT OF UNDISPUTED FACTS

             The below collection of undisputed material facts is distilled from the above listed filings.

 IBM’s Unfair Competition Memorandum provided a statement of facts 25 and separate supporting

 exhibits. 26 SCO’s Unfair Competition Opposition responded to IBM’s statement of facts 27 and

 provided a statement of additional facts 28 and its own set of exhibits. IBM’s Unfair Competition

 Reply replied to SCO’s responses to IBM’s statement of facts 29 included a one-page addendum

 in which it objected to SCO’s additional facts as lacking foundation and being otherwise

 irrelevant, 30 although no contradictory evidence was offered to rebut those facts as required

 under the Federal Rules of Civil Procedure. In the June 11, 2015 hearing, the parties agreed to

 reconcile the facts on IBM’s Unfair Competition Motion and IBM’s summary judgment

 motion 31 regarding SCO’s interference claims. 32 The parties were ordered to reconcile the facts

 on IBM’s Unfair Competition motion first, to be completed within 30 days; however, after

 seeking an extension, the parties failed to reconcile the facts as ordered. Determination of the

 undisputed facts has been made by the court.




 25
      IBM’s Unfair Competition Memorandum at 2–10.
 26
   See Declaration of Todd M. Shaughnessy Filed Under Seal Pursuant to 9/16/03 Protective Order, Docket #38
 (“IBM’s First Exhibits”), docket no. 804, filed under seal on Sept. 25, 2006.
 27
   SCO’s Unfair Competition Opposition at 53–64, Appendix A: Response to IBM’s “Statement of Undisputed
 Facts.”
 28
      Id. at 3–29.
 29
      IBM’s Unfair Competition Reply at Addendum A: IBM’s Undisputed Facts: IBM Unfair Competition Brief.
 30
      Id. at Addendum B: IBM’s Objections to SCO’s Alleged Evidence.
 31
   IBM’s Motion for Summary Judgment on SCO’s Interference Claims (SCO’s Seventh, Eighth and Ninth Causes
 of Action), docket no. 783, filed Sept. 25, 2006.
 32
      See Minute Order, docket no. 1150, filed June 11, 2015.



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            The headings in this statement of facts are descriptive, not declaratory or substantive.

                                        A. SCO’s Unfair Competition Claim.

            1.         SCO filed its original Complaint, which included a claim for unfair competition,

 on March 6, 2003. 33 SCO’s unfair competition claim repeated many of the allegations of its other

 causes of action, including a claim for misappropriation of trade secrets, but labeled those same

 allegations as “unfair competition.” 34

            2.         On July 22, 2003, SCO filed an Amended Complaint. 35 In the Amended

 Complaint, SCO again asserted a claim for unfair competition, and again based that claim on

 much of the same alleged conduct that supported each of its other causes of action. 36

            3.         SCO thereafter sought, and was granted, permission to file a Second Amended

 Complaint. 37

            4.         SCO’s Second Amended Complaint, filed on February 27, 2004, again included

 an unfair competition claim (the sixth cause of action), which remained an amalgamation of

 many of its other claims relabeled as “unfair competition.” 38 In its Second Amended Complaint,

 SCO abandoned its claim for misappropriation of trade secrets altogether. 39 In fact, at a hearing

 on December 5, 2003, SCO acknowledged that there are no trade secrets in UNIX System V.

 Counsel for SCO stated: “There is no trade secret in UNIX system [V]. That is on the record. No

 problem with that.” 40

 33
      Complaint, attached as Exhibit 1 to IBM’s First Exhibits.
 34
      Id. ¶ 118–19.
 35
      Amended Complaint, attached as Exhibit 2 to IBM’s First Exhibits.
 36
      Id. ¶¶ 147–53.
 37
      Second Amended Complaint, attached as Exhibit 3 to IBM’s First Exhibits.
 38
      Id. ¶¶ 181–88.
 39
      See generally id.
 40
      Transcript of Motion to Compel, dated Dec. 5, 2003, at 46:2–3, attached as Exhibit 414 to IBM’s First Exhibits.



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             5.       SCO then sought and was granted leave to file a Third Amended Complaint to

 add a tenth cause of action. 41 SCO’s tenth cause of action asserted that “IBM misappropriated,

 and used in its own ‘AIX for Power’ operating system, substantial copyrighted source code

 relating to UnixWare System V Release 4 [‘SVr4’].” 42 SCO further alleged that “IBM obtained

 access to the copyrighted UnixWare SVr4 code through ‘Project Monterey”‘. 43

             6.       In a decision dated July 1, 2005, this Court denied SCO’s motion to add a cause

 of action based upon IBM’s alleged copying of code obtained through Project Monterey into

 AIX, stating that “the court finds that SCO has unduly delayed seeking leave to assert the

 proposed cause of action. It appears that SCO–or its predecessor–either knew or should have

 known about the conduct at issue before it filed its original Complaint.” 44

                                                   B. SCO’s Disclosures.

             7.       IBM served interrogatories asking SCO to describe in detail its allegations and

 alleged evidence of misconduct by IBM. 45

             8.       With respect to SCO’s unfair competition claim, IBM asked SCO to “describe, in

 detail, each instance in which plaintiff alleges that IBM engaged in unfair competition, including

 but not limited to: (a) the dates on which IBM allegedly engaged in unfair competition; (b) all

 persons involved in the alleged unfair competition; and (c) the specific manner in which IBM is

 alleged to have engaged in unfair competition.” 46



 41
      Third Amended Complaint ¶¶ 217–41, attached as Exhibit 10 to IBM’s First Exhibits.
 42
      Id. ¶ 217.
 43
      Id.
 44
      Order at 4, filed July 1, 2005, attached as Exhibit 58 to IBM’s First Exhibits.
 45
   Defendant IBM’s First Set of Interrogatories and First Request for the Production of Documents, attached as
 Exhibit 11 to IBM’s First Exhibits.
 46
      Id. at 4 Interrogatory No.7.



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            9.        Following IBM’s motions to compel further discovery regarding SCO’s allegedly

 incomplete disclosures regarding its allegations and evidence of IBM’s alleged misconduct, the

 Court entered three different orders requiring SCO to provide detailed responses to IBM’s

 Interrogatories. 47 In the final of those three orders, the Court set December 22, 2005, as the “final

 deadline for [SCO] to identify with specificity all allegedly misused material” and update its

 interrogatory responses accordingly. 48

            10.       Initially, SCO defined its unfair competition claim as a combination of each of its

 other causes of action, including its breach of contract claims, its tortious interference claims and

 its copyright claims. 49

            11.       SCO eventually focused its unfair competition claim upon allegations related to

 Project Monterey. Specifically, SCO alleges that:

                      a.       IBM made and continued to make investments in the development of

            LINUX, and secretly advanced and promoted development of LINUX without disclosing

            such activities to SCO, during and at a time when IBM was under a duty to deal fairly

            with and disclose such competing activities to SCO pursuant to its contractual obligations

            to SCO under Project Monterey and otherwise. 50


 47
   See Order Granting International Business Machine’s Motions to Compel Discovery and Requests for Production
 of Documents, filed Dec. 12, 2003, attached as Exhibit 55 to IBM’s First Exhibits; Order Regarding SCO’s Motion
 to Compel Discovery and IBM’s Motion to Compel Discovery, filed Mar. 3, 2004, attached as Exhibit 56 to IBM’s
 First Exhibits; and Order, filed July 1, 2005, attached as Exhibit 58 to IBM’s First Exhibits.
 48
      Order, filed July 1, 2005, at 4, attached as Exhibit 58 to IBM’s First Exhibits.
 49
   See Plaintiff’s Responses to Defendant’s First Set of Interrogatories and First Request for the Production of
 Documents at 11 Interrogatory Response No.7, attached as Exhibit 31 to IBM’s First Exhibits; Plaintiff’s
 Supplemental Response to Defendant’s First Set of Interrogatories at 29-31 Supplemental Interrogatory Response
 No.7, attached as Exhibit 32 to IBM’s First Exhibits; Plaintiff’s Revised Supplemental Response to Defendant’s
 First and Second Set of Interrogatories at 44-56 Supplemental Interrogatory Responses No.7 and 8, attached as
 Exhibit 33 to IBM’s First Exhibits; SCO’s Supplemental Response to Interrogatory No. 8 at 2-13 Supplemental
 Interrogatory Response No.8, attached as Exhibit 46 to IBM’s First Exhibits.
 50
   Plaintiff’s Supplemental Response to Defendant’s First Set of Interrogatories at 29-31 Supplemental Interrogatory
 Response No.7, attached as Exhibit 32 to IBM’s First Exhibits.



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                    b.      IBM’s unfair competition arose from the relationship it established with

            SCO as a result of the joint effort between SCO and IBM known as “Project

            Monterey.” 51

                    c.      As a result of the formal agreement between SCO and IBM and the

            numerous representations made by IBM that were calculated to be relied upon by SCO,

            IBM had a fiduciary obligation to SCO that required IBM to be forthright and truthful in

            all affairs related to the partnership agreement. 52

                    d.      IBM unfairly took advantage of its partnership relations with SCO,

            unfairly gained access to SCO’s business relationships, and unfairly and knowingly

            diverted SCO’s resources away from competition with IBM and toward the purposes of

            the relationship. 53

                    e.      During a substantial part of 1999, IBM was secretly developing plans to

            cease its planned strategic relationship with SCO and to begin supporting LINUX. 54

            12.     SCO alleges that “[b]ecause IBM has been developing its plan to replace

 UnixWare support with Linux support, and because it knew SCO had dedicated its entire

 enterprise resources to the IBM/UnixWare joint relationship, IBM had a fiduciary obligation to

 inform SCO of its Linux-related plans long before its Linux public announcement in December




 51
   Plaintiff’s Revised Supplemental Response to Defendant’s First and Second Set of Interrogatories at 44-50
 Supplemental Interrogatory Response No.7, attached as Exhibit 33 to IBM’s First Exhibits.
 52
      Id.
 53
      Id.
 54
      Id.



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 1999.” 55 IBM made a public announcement of its intention to support LINUX at LinuxWorld in

 March 1999. 56

            13.      SCO also alleges that IBM engaged in unfair competition by copying into IBM’s

 AIX operating system code from the UNIX System V Release Four (“SVr4”) operating system

 that had been included in the Santa Cruz Operation’s (“SCO” or “Santa Cruz”) 57 UnixWare 7

 product. 58 According to SCO, IBM obtained that code during the course of Project Monterey and

 its use of that code exceeded the scope permitted by the Project Monterey joint development

 agreement (the “JDA”). 59

            14.      When Santa Cruz became aware of the allegedly improper inclusion of Santa

 Cruz code in AIX for Power remains in dispute 60

            15.      In interrogatory responses, SCO has alleged that IBM began copying Santa Cruz

 code obtained through Project Monterey into AIX in October 2000. 61 Similarly, in an expert

 report submitted on behalf of SCO, Christine Botosan writes “I have been asked to assume that


 55
      Id.
 56
   IBM Linux Update, dated Sept. 23, 1999, at 4, attached as Exhibit 21 to IBM’s First Exhibits; Expert Report of
 Jeffery Leitzinger, dated May 19, 2006 (“Leitzinger Report”), at 38, attached as Exhibit 259 to IBM’s First Exhibits.
 57
   The Santa Cruz Operation was historically referred to as “SCO” and many documents in this action use the term
 “SCO” in reference to that entity. In May 2001, Santa Cruz transferred its UNIX assets to plaintiff, which was then
 called Caldera International, Inc. (“Caldera”). Immediately after the sale, Santa Cruz changed its name to Tarantella.
 Caldera International, Inc. remained Caldera after the transaction but later, in 2002, changed its name to The SCO
 Group, Inc., the plaintiff in this action, in order to leverage the UNIX assets and business it had acquired. The term
 “SCO” is used herein, as it is in many documents, to refer to the entity in possession of the UNIX assets, although
 that entity changed from Santa Cruz to The SCO Group, previously Caldera, in May 2001.
 58
   Plaintiff’s Revised Supplemental Response to Defendant’s First and Second Set of Interrogatories at 44-50
 Interrogatory Response No.7, attached as Exhibit 33 to IBM’s First Exhibits.
 59
      Id.
 60
   Declaration of David McCrabb ¶ 16, attached as Exhibit 227 to IBM’s First Exhibits; Declaration of Jay F.
 Petersen (“Petersen Declaration”) ¶¶ 16–18, attached as Exhibit 354 to Declaration of Brent O. Hatch (“SCO’s
 Opposition Exhibits”), docket no. 876, filed under seal on Nov. 11, 2006; Declaration of John T. Maciazek
 (“Maciazek Declaration”) ¶ 15, attached as Exhibit 362 to SCO’s Opposition Exhibits; Declaration of Doug Michels
 (“Michels Declaration”) ¶ 16, attached as Exhibit 351 to SCO’s Opposition Exhibits; Declaration of Alok Mohan
 (“Mohan Declaration”) ¶ 10, attached as Exhibit 17 to SCO’s Opposition Exhibits.
 61
      See SCO’s Supplemental Response to Interrogatory No. 8 at 10, attached as Exhibit 46 to IBM’s First Exhibits.



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 IBM engaged in unfair competition by misusing code provided in Project Monterey to strengthen

 IBM’s proprietary AIX product. I have been told that the disgorgement of IBM’s subsequent

 AIX profits is an appropriate remedy for such unfair competition and that the date from which

 disgorgement should begin is October 1, 2000.” 62

                                             C. Background on SCO

         16.      Plaintiff’s predecessor, Santa Cruz, was founded in 1979, and in 1983 it delivered

 the first packaged UNIX System for Intel processor-based PCs. 63 SCO’s UNIX operating

 systems, UnixWare and OpenServer, run on the 32-bit Intel IA-32 microprocessor or “chip.” 64

         17.      As one industry analyst described it, “SCO established the market for advanced

 operating systems on industry-standard Intel platforms in the 1980s, pioneering such features as

 a full 32-bit implementation, security, and multiprocessing.” 65 At least as far back as 1989, SCO

 was described as “the largest vendor of Unix-like operating systems on Intel-based computers.” 66

         18.      SCO sold its UNIX-on-Intel operating systems to major corporate customers

 located throughout the world including NASDAQ, McDonalds, Sherwin Williams, Papa Johns,

 Daimler Chrysler, BMW, and Lucent Technologies. SCO’s UnixWare product was certified for

 and sold on a wide variety of OEM IA-32 systems including those from Compaq, Hewlett-




 62
   Expert Report of Christine A. Botosan, dated May 19, 2006, at 3–4, attached as Exhibit 171 to IBM’s First
 Exhibits.
 63
  The History of the SCO Group at 1, www.sco.com/company/history.html, attached as Exhibit 250 to SCO’s
 Opposition Exhibits.
 64
  IBM Servers, Project Monterey: A Strategic Approach to Business Computing, dated July 1999 (“Project
 Monterey: A Strategic Approach to Business Computing”), at 181047252, attached as Exhibit 214 to SCO’s
 Opposition Exhibits (“SCO is the clear leader in providing UNIX operating systems on the IA-32 architecture.”).
 65
   Christopher Thompson, SCOring a Hit against Microsoft Windows NT at 6, GARTNER (Apr. 21, 1997), attached as
 Exhibit 244 to SCO’s Opposition Exhibits.
 66
   Evan Grossman, UNIX Users Look Forward to Advantages of Intel ‘486 at 1, PC WEEK (Apr. 17, 1989), attached
 as Exhibit 246 to SCO’s Opposition Exhibits.



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 Packard Company (“Hewlett-Packard”), Unisys, NCR, Data General, Siemens Nixdorf,

 FujitsuICL, Olivetti, and IBM. 67

            19.      In 1998, SCO was the worldwide UNIX market leader in terms of unit shipments,

 with roughly 40 percent of total market unit sales. 68 In terms of revenue, SCO dominated what is

 referred to as the “UNIX-on-Intel market” to an even greater extent, with an 80% market share. 69

            20.      At that time, the processing capacity of the Intel processor chip was increasing

 rapidly. By 1995, Intel began to target its chips to be used in high-performance desktops and

 servers, and new UNIX servers based on 32-bit Intel chips began to compete against UNIX

 systems based on the far more expensive RISC chip, which until then had been the preferred chip

 for enterprise-critical systems. From 1995 to 1999, shipments of servers based on Intel

 architecture approximately tripled and, by 2000, servers based on Intel architecture began to

 dominate the UNIX market. 70

            21.      By 1998, Intel was developing the first commercial 64-bit chip, called Itanium,

 with the code name Merced. 71 Capitalizing on its expertise with the Intel IA-32, SCO began

 work on porting its operating systems to the Itanium, IA-64 chip. 72




 67
      Petersen Declaration ¶ 7; Maciazek Declaration ¶ 7.
 68
      Project Monterey: A Strategic Approach to Business Computing at 181047252, n. 2.
 69
   Memorandum to L. Gerstner regarding IBM’s UNIX Strategy, dated July 30, 1998, at 1710117641, attached as
 Exhibit 204 to SCO’s Opposition Exhibits.
 70
   Expert Report of Gary Pisano, Ph.D., dated May 19, 2006, at 18–20, attached as Exhibit 284 to SCO’s Opposition
 Exhibits.
 71
  Project Monterey: A Strategic Approach to Business Computing at 181047251–52; Kim Nash, Behind the Merced
 Mystique at 1, CNN.com (July 15, 1998), attached as Exhibit 249 to SCO’s Opposition Exhibits.
 72
      Petersen Declaration ¶ 8; Maciazek Declaration ¶ 8.



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                            D. Background on IBM and the UNIX-on-Intel Market

            21.      In contrast to SCO, IBM in 1998 had almost no presence in the market for UNIX-

 based operating systems on Intel chips. Instead, IBM had focused its efforts on its operating

 system called AIX for Power, which ran on servers using IBM’s RISC-type Power processor. 73

            22.      A May 6, 1998 internal IBM document proposed: “Tight partnership with SCO to

 exploit their code, channels, attract ISVs with a single AIX O/S marketed by both companies to

 be explored.” 74

            23.      A July 30, 1998 summary of IBM’s UNIX Strategy, addressed to IBM’s CEO

 Lou Gerstner, stated: “While HP and Sun have been successful at driving commitments to 64-bit

 Intel, today’s clear leader in the UNIX on Intel market is Santa Cruz Operation (SCO) with over

 80% of the $3B Unix-Intel market.” 75

            24.      SCO’s UnixWare operating system was based on UNIX SVr4 technology, the

 most recent version of UNIX. 76 In contrast, IBM’s AIX operating system was based on the

 earlier UNIX System V Release 3.2 (“SVr3.2”) technology. 77 SCO alleged to own all of the

 UNIX source code. 78 IBM had opted not to buy from SCO an upgrade of SCO’s UNIX license to

 the SVr4 code base. 79


 73
   Project Monterey: A Strategic Approach to Business Computing at 181047252; Deposition Transcript of William
 Sandve, dated Nov. 19, 2004 (“Sandve Nov. 19, 2004 Depo.”), at 8:11–9:17, attached as Exhibit 166 to SCO’s
 Opposition Exhibits.
 74
   Port AIX to Merced Investment Fact Sheet, RS/6000 Spring Strategy, Invest/(Reduce) Bridge, dated June 16,
 1998, at 1710117588, attached as Exhibit 189 to SCO’s Opposition Exhibits.
 75
   Memorandum to L. Gerstner regarding IBM’s UNIX Strategy, dated July 30, 1998, at 1710117641, attached as
 Exhibit 204 to SCO’s Opposition Exhibits.
 76
      Petersen Declaration ¶ 9; Maciazek Declaration ¶ 9.
 77
  Email from W. Sandve to J. Graham, dated Jan. 23, 2002, at 181017195, attached as Exhibit 205 to SCO’s
 Opposition Exhibits.
 78
   Email from W. Sandve to S. Gordon, H. Armitage, S. Keene, and J. Kruemcke at 181472999, attached as Exhibit
 227 to SCO’s Opposition Exhibits.
 79
      Id.



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            25.      Like SCO’s UnixWare, Sun Microsystems’s (“Sun”) UNIX operating system,

 Solaris, was based on SVr4 code. 80

            26.      “IBM was highly concerned about competition with Sun[,]” and believed that

 incorporation of SVr4 code into AIX would help it compete against Sun. 81

                                                E. Project Monterey.

            27.      In 1994, Intel and Hewlett-Packard announced their collaboration to create a new

 64-bit processor architecture design, 82 and “the intent of the technology agreement [was] to have

 a single architecture that will replace all others from either company.” 83

            28.      In or around 1998, IBM began negotiating with Santa Cruz to undertake a joint

 development project for, among other things, a UNIX-like operating system that would run on

 the IA-64 platform. This project subsequently came to be known as “Project Monterey.” 84 At

 that time, Santa Cruz sold two UNIX products that ran exclusively on Intel’s existing 32-bit

 hardware platform: UnixWare and OpenServer. 85

            29.      Both IBM and Santa Cruz were interested in attempting to leverage and

 strengthen their existing UNIX-like operating system products as part of Project Monterey. The



 80
      Email dated Jan. 23, 2002 from W. Sandve to J. Graham at 181017194, attached as Exhibit 205.
 81
    Rebuttal to the Report and Declaration of Professor J.R. Kearl by Gary Pisano, dated July 17, 2006, at 76,
 attached as Exhibit 285 to SCO’s Opposition Exhibits.
 82
   Paul Barker, New HP-Intel Pact Could Hit PC Clones Hard, Computing Canada, July 6, 1994, attached as Exhibit
 27 to IBM’s First Exhibits.
 83
      Id.
 84
   Options for Distribution and Royalty Flow-Draft 1 (“Options for Distribution and Royalty Flow”), attached as
 Exhibit 24 to IBM’s First Exhibits; Genus: An IBM/SCO UNIX Project Marketing Development Plan (“IBM/SCO
 UNIX Plan”), attached as Exhibit 25 to IBM’s First Exhibits; Asset Purchase Agreement between Novell, Inc. and
 The Santa Cruz Operation, Inc., dated Sept. 19, 1995, attached as Exhibit 123 to IBM’s First Exhibits; U.S.
 Copyright Registration Statement No. TX 5-856-472, registering IBM’s copyright to its work titled “Linux Kernel
 Support for Series Hypervisor Terminal,” dated Feb. 2, 2004, ¶ 54, attached as Exhibit 86 to IBM’s First Exhibits;
 Leitzinger Report at 30–31.
 85
   Complaint ¶¶ 26, 47, attached as Exhibit 1 to IBM’s First Exhibits; Form 10-K filed by The Santa Cruz Operation,
 Inc., for fiscal year ended September 30, 1999, at 5–8, attached as Exhibit 115 to IBM’s First Exhibits.



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 goal was to develop and market a “family” of UNIX-like operating system products, including a

 “Monterey/64” version for the IA-64 Intel processor, a version to run on IBM’s proprietary

 “Power” processor architecture and a version to run on the IA-32 architecture. 86

             30.    In October 1998, a deal between IBM, SCO, Sequent, and Intel was announced,

 and this deal came to be known as Project Monterey. 87 Project Monterey was described by IBM

 as a “major UNIX operating system initiative” 88 that would deliver a “single UNIX operating

 system product line that runs on IA-32, IA-64 and IBM microprocessors, in computers that range

 from entry-level to large enterprise servers.” 89

             31.    In the press release announcing Project Monterey, IBM stated: “We’re extending

 into broader markets with our award-winning AIX software that delivers the reliability and

 security required of an enterprise-class operating system . . . . Working with these companies,

 we’re capitalizing on the base of proven leadership technologies to deliver the world’s best

 UNIX on Power microprocessor and high-volume Intel microprocessor systems.” 90

             32.    On October 26, 1998, IBM and Santa Cruz entered into the JDA, whereby Santa

 Cruz and IBM agreed to, among other things, provide resources and technology to pursue these

 goals. 91


 86
   IBM-SCO Family Unix Technical Proposal, dated Sept. 2, 1998, attached as Exhibit 23 to IBM’s First Exhibits;
 see also Options for Distribution and Royalty Flow; IBM/SCO UNIX Plan; Joint Development Agreement
 (Agreement Number 4998CR0349) between SCO and IBM, dated Oct. 26, 1998 (“JDA”), attached as Exhibit 245 to
 IBM’s First Exhibits.
 87
   Press Release, IBM Launches Major UNIX Initiative, Significant Support from SCO, Sequent, Intel, and OEMs,
 dated Oct. 26, 1998, attached as Exhibit 240 to SCO’s Opposition Exhibits; Petersen Declaration ¶ 9; Maciazek
 Declaration ¶ 9; Mohan Declaration ¶ 9
 88
      Project Monterey: A Strategic Approach to Business Computing at 181047251.
 89
   Press Release, IBM Launches Major UNIX Initiative, Significant Support from SCO, Sequent, Intel, and OEMs,
 dated Oct. 26, 1998, at 1, attached as Exhibit 240 to SCO’s Opposition Exhibits.
 90
   Press Release, IBM Launches Major UNIX Initiative, Significant Support from SCO, Sequent, Intel, and OEMs,
 dated Oct. 26, 1998, at 1–2, attached as Exhibit 240 to SCO’s Opposition Exhibits.
 91
      JDA.



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             33.   In the JDA, the parties agreed to jointly develop an operating system that would

 run on Intel’s forthcoming 64-bit chip. This operating system was defined as the “IA-64

 Product” (sometimes referred to herein as the “Project Monterey Operating System”). The IA- 64

 Product was to be the cornerstone of a “family of products” that would be sold by both IBM and

 SCO. 92

             34.   The agreement contemplated that SCO would continue to sell its 32-bit operating

 systems and would also be able to upgrade or migrate its customers to the jointly developed

 Project Monterey Operating System on the 64-bit chip. 93

             35.   Thus, the ultimate goal was that both SCO customers (those using Santa Cruz’s

 UnixWare operating system software on computers with Intel’s 32-bit processors) and IBM

 customers (those using IBM’s AIX for Power operating system software on computers with

 IBM’s Power processor) would upgrade to the jointly developed Project Monterey Operating

 System software (the IA-64 Product), which was to be compatible with computers using either

 the 32-bit or the 64-bit Intel chip or the IBM Power chip. 94

             36.   In furtherance of IBM and Santa Cruz’s intention to create a compatible family of

 products, both companies granted licenses to the other. 95 For its part, IBM granted Santa Cruz a

 royalty-free license to certain AIX source code for Santa Cruz’s use in its UnixWare product for



 92
   Id. at Preamble and § 1.10; Sandve Nov. 19, 2004 Depo. at 21:6–9; Project Monterey: A Strategic Approach to
 Business Computing at 181047252; Email from W. Sandve to M. Day, dated Oct. 15, 1998, at 1710013164, attached
 as Exhibit 191 to SCO’s Opposition Exhibits.
 93
   JDA at Preamble and §§ 1.9, 9.0–9.4; Project Monterey: A Strategic Approach to Business Computing at
 181047252–53; SC98, High Performance Networking and Computing: Executive Overview, draft version, dated
 Nov. 2, 1998, at 181441556, attached as Exhibit 176 to SCO’s Opposition Exhibits.
 94
    See generally Project Monterey: A Strategic Approach to Business Computing at 181047252–53; SC98, High
 Performance Networking and Computing: Executive Overview, draft version, dated Nov. 2, 1998, at 181441556,
 attached as Exhibit 176 to SCO’s Opposition Exhibits (“IBM and SCO offer a smooth migration path from AIX to
 IA-64 and from UnixWare to IA-64”).
 95
      JDA.



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 the existing 32-bit Intel processor. 96 In turn, Santa Cruz granted IBM a royalty-free license to

 certain UnixWare source code for IBM’s use in its AIX operating system tailored to run on

 IBM’s Power architecture processor. 97 Each party also granted the other a license to use any

 code supplied during Project Monterey for the development of the operating system that would

 be marketed for use on the forthcoming IA-64 product. 98

             37.         Specifically, the JDA expressly granted to IBM:

             a worldwide, non-exclusive, royalty free . . ., perpetual and irrevocable . . . right
             and license under SCO’s and applicable third parties’ copyrights . . . and any trade
             secrets or confidential information in the Licensed SCO Materials and SCO
             Project Work which are included in Deliverables to (i) prepare or have prepared
             Derivative Works, (ii) use, execute, reproduce, display and perform the Licensed
             SCO Materials and SCO Project Work and Derivative Works thereof, (iii)
             sublicense and distribute the Licensed SCO Materials and SCO Project Work and
             Derivative Works thereof either directly or through Distributors, in the form of
             Source Code, Object Code, Documentation, and/or in any other form whatsoever,
             and (iv) grant licenses, sublicenses, and authorizations to others (including
             without limitation IBM Subsidiaries, Distributors and any other third parties), on
             a non-exclusive basis that is equal to the scope of the licenses granted
             hereunder. 99

             38.         That “worldwide, non-exclusive, royalty free . . . perpetual and irrevocable

 . . . right and license” was limited as follows:

             When IBM sublicenses the IA-64 Product containing Licensed SCO Materials
             and/or SCO Project Work in Source Code form or when SCO sublicenses the IA-
             64 Product containing Licensed IBM Materials and/or IBM Project Work in
             Source Code form, the parties shall not grant the third party the right to further
             grant source sublicenses to the other party’s Licensed Materials or Project Work.
             Further, when licensing such Source Code, both e parties shall only grant the right
             to create Derivative Works required for the following purposes:
             1. Maintenance and support;
             2. Translation [sic] and localization;
             3. Porting, optimization and extensions;

 96
      Id. § 2.0(c)(2).
 97
      Id. §2.0(d)(2); Declaration of David McCrabb ¶ 16, attached as Exhibit 227 to IBM’s First Exhibits.
 98
      JDA. §§ 2.0(c)(2), 2.0(d)(2).
 99
      Id. § 2.2(d)(2).



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             4. Any other Derivative Works agreed to by SCO and IBM. 100

             39.       In the JDA, IBM also stated its intention to engage in certain marketing activities

 including to “market, promote and sell the Unixware and IA-32 Product on IBM systems in

 1999[.]”101

             40.       IBM also agreed to make a certain minimum of middleware available for the

 UnixWare 7 and IA-32, based on IBM’s determination of commercial considerations. IBM’s

 plan included Tivoli, WebSphere, and DB2. 102

             41.       Section 15.2 of the JDA, which is entitled “Change of Control,” provides:

             Notwithstanding Section 15.1, IBM shall have the right to terminate this
             Agreement immediately upon the occurrence of a Change of Control of SCO
             which IBM in its sole discretion determines will substantially and adversely
             impact the overall purpose of the cooperation set forth by this Agreement and
             applicable Project Supplements or will create a significant risk or material and
             adverse exposure of IBM’s confidential and/or technical proprietary information
             (which is subject to, and to the extent of, confidentiality restrictions)
             (“Information”). For the purposes of this Agreement, control shall be deemed to
             be constituted by rights, contract or any other means which, either separately or
             jointly and having regard to the consideration of fact or law involved, confer the
             possibility of exercising decisive influence (other than by an entity currently
             exercising such influence or any entity controlled by or controlling such entity) on
             SCO by: (1) owning more than half the equity, capital or business assets, or (2)
             having the power to appoint more than half of the members of the supervisory
             board, board of directors or bodies legally representing SCO, or (3) having the
             right to directly manage SCO’s business activities. 103

             42.       Section 22.12 of the JDA, which is entitled “Assignment,” provides, in relevant

 part: “Neither party may assign, or otherwise transfer, its rights or delegate any of its duties or

 obligations under this Agreement without the prior written consent of the other party.” 104


 100
       Id. § 2.2(e).
 101
       Id. at Attachment A, § I.
 102
       Id. at Attachment A, § II.
 103
       Id. §15.2.
 104
       Id. § 22.12.



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             43.        Section 22.3 of the JDA, which is entitled “Choice of Law/Venue,” provides:

             This Agreement shall be governed by, and the legal relations between the parties
             hereto shall be determined in accordance with, the substantive laws of the State of
             New York, without regard to the conflict of law principles of such State, as if this
             Agreement was executed and fully performed within the State of New York. Each
             party hereby waives any right to a trial by jury in any dispute arising under or in
             connection with this Agreement, and agrees that any dispute hereunder shall be
             tried by a judge without a jury. Any legal or other action related to a breach of this
             Agreement must be commenced no later than two (2) years from the date of the
             breach in a court sited in the State of New York. 105

             44.        Consistent with the JDA arrangement, IBM repeatedly referred to SCO as a

 “partner” during the course of Project Monterey:

                     a. On May 6, 1998, IBM proposed a “tight partnership with SCO.” 106

                     b. In 2000, one IBM employee stated in an email that “we need to recognize that we

                        must treat [SCO] as we would another business partner and follow the appropriate

                        rules and laws regarding … competitive issues.” 107

                     c. Even as late as 2002, Mr. Sandve stated in an internal email that “due to our

                        partnership with SCO, we have been able to make AIX closer to SVR4 as best we

                        can.” 108

             45.        Although development of the Project Monterey IA-64 operating system

 proceeded throughout 1999 and 2000, the project encountered substantial difficulties due to

 delays in Intel’s IA-64 processor development schedule. Intel’s release of the initial Intel IA-64

 processor, code-named “Merced” and officially named Itanium, was substantially delayed. In


 105
       Id. § 22.3.
 106
   Port AIX to Merced Investment Fact Sheet, RS/6000 Spring Strategy, Invest/(Reduce) Bridge, dated June 16,
 1998, at 1710117588, attached as Exhibit 189 to SCO’s Opposition Exhibits.
 107
   Email from R. Roth to W. Sandve, dated Feb. 23, 2000, at 181427972, attached as Exhibit 218 to SCO’s
 Opposition Exhibits.
 108
   Email from W. Sandve to J. Graham, dated Jan. 23, 2002, at 181017195, attached as Exhibit 205 to SCO’s
 Opposition Exhibits.



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 1995 and 1996, executives of Itanium co-developer HP hinted that the processor was well

 underway, and might ship as early as 1997. That date came and went, and eventually 1999 was

 stated as the target. But that date also came and went. Itanium did not end up shipping until mid-

 2001. 109

         46.      Once Itanium did arrive, it performed poorly relative to alternatives in the

 marketplace. As a result, Intel and Hewlett-Packard re-positioned it as primarily an evaluation

 and development platform, a precursor to the second-generation Itanium 2 “McKinley” release

 that would enable true production deployments. Neither IBM nor Santa Cruz had any

 involvement in or control over the development of the Itanium processor. 110

         47.      In addition to creating development difficulties, these delays caused a substantial

 decrease in market interest and confidence in the forthcoming IA-64 product and thereby the IA-

 64 operating system then under development by IBM and Santa Cruz. 111

         48.      In early 1999, IBM executives cautioned that the “SCO/Monterey plans should

 not be stopped until we have a better plan to move to.” 112 An IBM team prepared an undated

 memorandum detailing five options, one of which was the “elimination of SCO” and the

 “replacing of UnixWare with Linux” as IBM’s vehicle for entry into the “low end” segment of




 109
   Stephen Shankland, Itanium: A Cautionary Tale, CNET News.com (Dec. 8, 2005), attached as Exhibit 22 to
 IBM’s First Exhibits; Expert Report of Jonathan Eunice, dated July 17, 2006 (“Eunice Report”), ¶ 57, attached as
 Exhibit 186 to IBM’s First Exhibits; John G. Spooner, Intel Set To Rattle Server Market With Itanium, CNET
 News.com (Jan. 2, 2002), attached as Exhibit 394 to IBM’s First Exhibits.
 110
    Brian Pereira, Mckinley Is One to Watch, NETWORK MAGAZINE INDIA (Mar. 2002), attached as Exhibit 26 to
 IBM’s First Exhibts; Michael Kanellos, Is Merced Doomed?, CNET News.com (Jan. 2, 2002), attached as Exhibit
 28 to IBM’s First Exhibits; Eunice Report ¶ 58.
 111
    Brian Pereira, Mckinley Is One to Watch, NETWORK MAGAZINE INDIA (Mar. 2002), attached as Exhibit 26 to
 IBM’s First Exhibts; Michael Kanellos, Is Merced Doomed?, CNET News.com (Jan. 2, 2002), attached as Exhibit
 28 to IBM’s First Exhibits; Eunice Report ¶ 59.
 112
   Email from R. LeBlanc to S. Mills, dated Jan. 19, 199, at 181349130, attached as Exhibit 234 to SCO’s
 Opposition Exhibits.



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 the UNIX-on-Intel market. 113 However, the team cautioned that, under this option, IBM would

 not attain the right to use the SVr4 code, and therefore SCO and its UnixWare “should be

 retained in order to have access to SCO’s SVr4/5 and other technologies.” 114

            49.      IBM then began cutting the Project Monterey budget, causing employees to

 question the viability of the project:

                     a.      A January/February 1999 IBM department staffing memo observed:

            “Current budget outlook which factors in a substantial challenge from SG Development

            and additional unfunded Monterey family line item content, would result in an

            uncompetitive AIX/Monterey product line by 2000.” 115

                     b.      At the same time, an IBM employee stated in an internal email that IBM

            was not “investing in the tools to make Monterey successful.” 116

                     c.      Another IBM employee stated that “working on both Linux and Monterey

            [was] defocusing.” 117

                     d.      Yet another IBM employee related “the high degree of concern I am

            hearing from my technical team and others concerning Linux strategy and the collision

            with Monterey.” 118

                     e.      In March of 1999, IBM publicly announced its support of LINUX at the

            LinuxWorld event. 119

 113
       Document Objective at 181526163, attached as Exhibit 371 to SCO’s Opposition Exhibits.
 114
       Id. at 181526164.
 115
       Dept HHTS Status, dated Jan./Feb. 1999, at 181442681, attached as Exhibit 368 to SCO’s Opposition Exhibits.
 116
   Email from W. Sandve to T. Moore, dated Feb. 24, 1999, at 181016130, attached as Exhibit 242 to SCO’s
 Opposition Exhibits.
 117
   Email from P. Horn to R. LeBlanc, dated Aug. 17, 1999, at 181349188, attached as Exhibit 236 to SCO’s
 Opposition Exhibits.
 118
   Email from M. Kiehl to W. Yates, dated Feb. 23, 1999, at 181016068, attached as Exhibit 187 to SCO’s
 Opposition Exhibits.



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                     f.       In an August 10, 1999 article about IBM’s support of both LINUX and

            Project Monterey, IBM assuaged concerns:

                     IBM’s John Prial said Big Blue is comfortable with many operating
                     systems under its roof, and that AIX today and Monterey tomorrow will
                     sell in a different area than Linux. “We’re very comfortable having many
                     operating systems,” he said. “Monterey will be popular in high business-
                     value transactional systems and heavy-duty business intelligence,” Prial
                     said. Linux, on the other hand, currently is popular in Web servers, file
                     and print servers, and other smaller-scale computers, though that could
                     change two or three years down the line. 120

 IBM made similar representations privately to SCO. 121

            50.      SCO believed IBM’s representations. 122 In an August 19, 1999 article about

 IBM’s support of Trillian (the IA-64 project for LINUX), SCO CEO Doug Michels was quoted

 as follows:

            “IBM is not looking at Trillian as an alternative to Monterey. The real interest in
            Linux is coming from all the software companies that sell databases and
            transaction based tools because they are frustrated that Microsoft moreorless [sic]
            gives these things away as part of the Back Office bundle. So they say ‘if you
            give us a free OS, we’ll make money from it’.”

            But Trillian is not intended to make Linux an enterprise class OS and there are no
            real efforts elsewhere to do so either, he claimed. 123

             51.     Behind the scenes, IBM executives recognized the inherent conflict in supporting

 both LINUX and Project Monterey: in November 1999, IBM executive Sheila Harnett stated:

            The distinction used to position Monterey versus Linux is that Monterey is
            targeted for high-end servers, whereas Linux comes in at the lower to mid range

 119
       IBM Linux Update, dated Sept. 23, 1999, at 4, attached as Exhibit 21 to IBM’s First Exhibits.
 120
   Stephen Shankland, IBM Joins Advanced Linux Effort at 2, CNET News.com (Jan. 2, 2002), attached as Exhibit
 252 to SCO’s Opposition Exhibits.
 121
   IBM Meeting, dated Jan. 28, 2000, at SCO1235090–91, attached as Exhibit 186 to SCO’s Opposition Exhibits;
 Michels Declaration ¶¶ 17, 22.
 122
       Michels Declaration ¶¶ 17–18; Mohan Declaration ¶ 10.
 123
     Cath Everett, SCO Forum: Trillian Project No Threat to Monterey, Claims SCP President at 1–2,
 http://www.pcw.co.uk/articles/print/2107749 (Aug. 19, 1999), attached as Exhibit 253 of SCO’s Opposition
 Exhibits; Michels Declaration ¶ 18.



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            of servers. However, this distinction is a fragile one, since IBM is working as fast
            as it can to bolster Linux’s ability to compete in the mid to high end range of
            servers. 124

             52.     In late 1999 and 2000, IBM executives began to recommend internally that IBM

 take more definitive steps to drop Project Monterey and transition even more support to LINUX:

                     a.       In October 1999, IBM executive Irving Wladawsky-Berger recommended

            internally that IBM “embrace Linux in a very major way,” “drop Monterey,” and “move

            at lightning speed.” 125

                     b.       In May 2000, IBM executive Steve Mills recommended to Samuel

            Palmisano: “As soon as possible we should announce the following . . . A transition of

            our AIX and Monterey efforts to Linux”; he explained: “Monterey will not gain enough

            industry following to be viable,” and, “Our resources and messages are fragmented. We

            need a bold move that is without qualification. We need a single marketing and sales

            message.” 126

                     c.       An IBM internal memorandum expressly recognized that, if IBM opted

            for this strategy, it “may squeeze target opportunities for [SCO’s] UnixWare from low

            end” and result in “loss of revenue for SCO.” 127

             53.     Notwithstanding these recommendations and predictions, IBM did not drop

 Project Monterey. 128 Rather, without telling SCO, IBM continued Project Monterey while it tried



 124
   Email from E. Lynch to K. Norsworthy, dated Nov. 30, 1999, at 181436864, attached as Exhibit 175 to SCO’s
 Opposition Exhibits (emphasis added).
 125
   Email from I. Wladawsky-Berger to S. Mills, et al., dated Oct. 22, 1999, at 181668451, attached as Exhibit 183 to
 SCO’s Opposition Exhibits.
 126
   Email from S. Mills to S. Palmisano, et al., dated Apr. 24, 1998, at 181669431–32, attached as Exhibit 184 to
 SCO’s Opposition Exhibits.
 127
       Document Objective at 181526162, attached as Exhibit 371 to SCO’s Opposition Exhibits.
 128
       Mohan Declaration at ¶ 10; Petersen Declaration ¶ 15; Maciazek Declaration ¶ 14.



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 to “to make Linux scale up as quickly as possible.” 129 By June 2000, the IBM Academy of

 Technology OS Consultancy recommended a “significant reduction in emphasis” in Project

 Monterey and that IBM “should further develop for Monterey only what is in common with

 Power.” 130

            54.     In direct contrast to IBM’s internal de-emphasis on Project Monterey, at a

 December 21, 2000 OEM Council Meeting, IBM’s Charlie Reese stated: “We have a strong

 commitment to remain focused on Itanium.” 131

                         F. The Release of the Project Monterey Operating System

            55.     On January 27, 2001, an internal IBM email proposed: “Release AIX 5.1 for IA-

 64 as an I-Listed PRPQ on the planned April schedule” and “Compilers are not included in the

 PRPQ. . . .” 132 Internally at IBM, an I-Listed PRPQ (Programming Request for Price Quote)

 requires IBM lab approval. 133

            56.     IBM employee Rose Ann Roth stated: “I think the compiler MUST be available

 in some form or the whole thing just doesn’t make any sense (i.e. SCO won’t buy it).” 134

            57.     Nevertheless, on April 17, 2001, IBM announced the availability of AIX 5L for

 Itanium as an I-Listed PRPQ, and made it “available” on May 4, 2001. 135 Unlike the PRPQ of


 129
    Email from I. Wladwsky-Berger to R. LeBlanc, et al., dated Mar. 1, 2000, at 181668964, attached as Exhibit 235
 to SCO’s Opposition Exhibits.
 130
     Report of the IBM Academy of Technology Consultancy on Operating Systems Evolution, dated July 13, 2000,
 at 181291944, attached as Exhibit 239 to SCO’s Opposition Exhibits.
 131
   OEM Council Meeting, dated December 21, 2000, at 181005905, attached as Exhibit 172 to SCO’s Opposition
 Exhibits.
 132
   Email from R. Acosta to M. Payne, dated Jan. 29, 2001, at 181014956, attached as Exhibit 97 to SCO’s
 Opposition Exhibits.
 133
       Sandve Nov. 19, 2004 Depo. at 135:2–4.
 134
   Email from R. Acosta to M. Payne, dated Jan. 29, 2001, at 181014956, attached as Exhibit 97 to SCO’s
 Opposition Exhibits.
 135
   AIX 5L for Itanium Strategy at 181015076, attached as Exhibit 89 to SCO’s Opposition Exhibits; Email from R.
 Acosta to M. Payne, dated Jan. 29, 2001, at 181014956, attached as Exhibit 97 to SCO’s Opposition Exhibits.



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 AIX 5L for Power in October 2000, the PRPQ of AIX 5L for Itanium did not have a compiler to

 make it work and there was “no confirmed compiler plan.” 136 Moreover, the PRPQ was offered

 free of charge, without support. 137

             58.     Code not containing a compiler cannot be executed. 138

             59.     Indeed, IBM distributed only 32 copies of the PRPQ in 2001. 139 The PRPQ was

 not on IBM’s price lists, and was not marketed. 140

             55.     Despite the delays in the launch of the IA-64 processor, in late April 2001, IBM

 and Santa Cruz announced the first release of AIX SL for the IA-64 processor on May 4,

 2001. 141 That release occurred as scheduled, 142 although it is disputed whether that release was

 legitimate or pretextual. 143

                             G. IBM’s Use of SCO’s SVR4 Code in IBM Products

             56.     On October 24, 2000, IBM placed SCO’s SVr4 source code into a PRPQ (IBM’s

 internal name for a beta test version), “early adopters” of AIX for Power (named AIX 5L for

 Power 5.0), which was intended for certified software developers and “not intended for general

 production use.” 144

 136
       Unix Vision – proposed, attached as Exhibit 300 to SCO’s Opposition Exhibits.
 137
       Id.
 138
       Sandve Nov. 19, 2004 Depo. at 81:7–9.
 139
   Letter from J. Fair to K. Madsen, dated Apr. 29, 2002, at 1710118968–69, attached as Exhibit 159 to SCO’s
 Opposition Exhibits.
 140
       Id.
 141
    IBM Press Release, IBM Breaks Barriers Between Linux and UNIX with AIX 51, dated Apr. 23, 2001, attached as
 Exhibit 593 to IBM’s First Exhibits; Caldera Systems, Inc. Press Release, SCO and Caldera Release Technology
 Preview of AIX 5L-64 Bit UNIX OS for Intel Itanium Processors, dated Apr. 23, 2001, attached as Exhibit 594 to
 IBM’s First Exhibits; The Santa Cruz Operation, Inc. and Caldera Systems, Inc. Press Release, SCO and Caldera
 Release Technology Preview of AIX 5L-64 Bit UNIX OS for Intel Itanium Processors, dated Apr. 23, 2001, attached
 as Exhibit 595 to IBM’s First Exhibits.
 142
       Third Amended Complaint ¶ 236, attached as Exhibit 10 to IBM’s First Exhibits; Leitzinger Report at 44.
 143
       Third Amended Complaint ¶ 236, attached as Exhibit 10 to IBM’s First Exhibits.
 144
       AIX 5L For Power Version 5.0, attached as Exhibit 289 to SCO’s Opposition Exhibits.


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             57.     Then, on May 4, 2001, IBM included SCO’s code, from Project Monterey, in the

 first “generally available” version (AIX 5L for Power 5.1). 145

             58.           IBM’s “AIX 5L for Itanium strategy” was to “continue to ship AIX 5L as a

 PRPQ” in “stealth mode only.” 146 In addition, even as it was announcing the PRPQ, IBM stated

 internally: “At the appropriate time announce plan not to GA AIX 5L and withdraw the

 PRPQ.” 147

             59.     On April 4, 2001, IBM executive William Saulnier sent IBM counsel Helene

 Armitage an email containing a draft proposal for the “AIX 5L Announce Positioning Re

 Itanium.” 148 He stated: “I believe this proposal does the best possible job to announcing what we

 intend to do . . . .” 149 Ms. Armitage largely rejected his proposal, indicating that she took a

 “heavy hack” at his thoughts. 150 She stated: “I’m concerned that your words define a delayed GA

 to 2H01 for the AIX product, and do not call the PRPQ GA.” In other words, Ms. Armitage was

 concerned that Saulnier did not describe the premature PRPQ as “GA” or “generally available.”

 Ms. Armitage then explained: “As you know, we need to GA this PRPQ to gain rights to SCO

 code we want for our base AIX product delivery – and every [one] is rather tired of me

 remaining and harping on this point.” She then went on to articulate the external position she

 wanted to see on the product, but acknowledged, “I know the fine lines we are walking here.” 151



 145
     Deposition Transcript of Bill Sandve, dated Jan. 26, 2006, at 30:12–15, 30:22–31:10, 33:8–23, 107:21–32,
 attached as Exhibit 229 to IBM’s First Exhibits.
 146
       AIX 5L for Itanium Strategy at 181015076, attached as Exhibit 89 to SCO’s Opposition Exhibits.
 147
       Id.
 148
   Email from S. Dobbs to H. Armitage, dated Apr. 4, 2001, at 181028285, attached as Exhibit 88 to SCO’s
 Opposition Exhibits.
 149
       Id.
 150
       Id. at 181028284.
 151
       Id.



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            60.      IBM’s Ron Saint Pierre stated on November 1, 2001 that “Monterey has not gone

 GA and never will.” 152

                             H. The Acquisition of the UNIX Business by Caldera

            61.      On May 7, 2001, three days after the PRPQ of the Project Monterey Operating

 System, Santa Cruz finalized the sale of its Server Software and Professional Services divisions

 and its UNIX-related assets to Caldera, ending Santa Cruz’s investment in and support of the

 Project Monterey development effort. 153

            62.      Santa Cruz did not obtain IBM’s prior written consent to an assignment of the

 JDA. Instead, Santa Cruz informed IBM of the sale of its Server Software and Professional

 Services divisions and its UNIX-related assets to Caldera in a letter dated June 6, 2001. 154

            63.      Several weeks before the public announcement, Santa Cruz complied with

 Section 16.1 of the JDA and provided IBM with a detailed notice of the proposed transaction and

 an opportunity to tender a counteroffer within 15 days, pursuant to Section 16.2 of the JDA. 155

            64.      Although IBM thus had notice of the pending transaction for almost a year, IBM

 never told Santa Cruz or Caldera that it would not consent to the assignment of the JDA from

 Santa Cruz to Caldera. 156




 152
   Email from P. Malone to R. Saint Pierre, dated Nov. 2, 2001, at 1710066677, attached as Exhibit 86 to SCO’s
 Opposition Exhibits.
 153
    Form 10-K, filed by Caldera International, Inc. for the fiscal year ended October 31, 2001, at 52, attached as
 Exhibit 111 to IBM’s First Exhibits; Letter from Kimberlee A. Madsen to R. Lauderdale, dated June 6, 2001 (“June
 6, 2001 Madsen-Lauderdale Letter”), attached as Exhibit 244 to IBM’s First Exhibits.
 154
       See June 6, 2001 Madsen-Lauderdale Letter.
 155
   Letter from S. Sabbath and G. Seabrook to R. Lauderdale, dated June 21, 2000, attached as Exhibit 206 to SCO’s
 Opposition Exhibits.
 156
   Petersen Declaration ¶¶ 12–13; Maciazek Declaration ¶¶ 10–11; Declaration of Jeff Hunsaker (“Hunsaker
 Declaration”) ¶ 6, attached as Exhibit 356 to SCO’s Opposition Exhibits.



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            65.      Moreover, long after the announcement of the transaction, IBM reiterated its

 “strong commitment” to Project Monterey, and at various meetings with executives of both

 Caldera and Santa Cruz, IBM reiterated its support. 157

             66.     On May 4, 2001, IBM released the PRPQ of the Project Monterey Operating

 System 158 and the first “generally available” version of the SVr4-enhanced AIX 5L for Power. 159

            67.      IBM declined to consent to the assignment of Santa Cruz’s rights and obligations

 under the JDA. Pursuant to Section 22.12 of the JDA, IBM’s consent was necessary for such

 assignment to take effect. On the contrary, IBM invoked its right to cancel the JDA under

 Section 15.2 in a letter dated June 19, 2001. 160

            68.      Caldera did not acquire Santa Cruz, which continued in business, albeit changing

 its corporate name to “Tarantella.” 161

            69.      After the start of this litigation, Caldera changed its name to “The SCO Group,

 Inc.” 162

                                       I. Status of Project Monterey in 2002

            70.      In an October 2002 email, Bill Bulko (assistant to IBM executive Anthony Befi)

 stated:

            Tony and I were in a conference call with SCO Group (formerly called Caldera)
            on Friday. . . . During our discussion, they asked about Project Monterey and
            what its current status and positioning are. We told them that it’s a PRPQ, and
 157
   OEM Council Meeting, dated Dec. 21, 2000, at 181005905, attached as Exhibit 172 to SCO’s Opposition
 Exhibits; Mohan Declaration ¶ 10; Michels Declaration ¶ 17; Hunsaker Declaration ¶ 6; Declaration of Robert
 Bench ¶ 15, attached as Exhibit 6 to SCO’s Opposition Exhibits.
 158
       AIX 5L for Itanium Strategy, attached as Exhibit 89 to SCO’s Opposition Exhibits.
 159
   U.S. Copyright Registration Statement No. TC 5-856-468, dated Feb. 2, 2004, attached as Exhibit 82 to SCO’s
 Opposition Exhibits.
 160
       Letter from R. Lauderdale to K. Madsen, dated June 19, 2001, attached as Exhibit 220 to IBM’s First Exhibits.
 161
       See June 6, 2001 Madsen-Lauderdale Letter.
 162
   Form 10-K, filed by SCO for the fiscal year ended October 31, 2003, at 4, attached as Exhibit 113 to IBM’s First
 Exhibits.



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             explained what that meant – but neither Tony nor I were confident that we were
             up-to-date on what the current ‘official response’ should be. 163

             71.      On November 6, 2002, Mr. Bulko then sent a “Project Monterey update” to Mr.

 Befi, indicating, “Tony: you asked me to collect some data on the current status of Project

 Monterey in order to update you before you meet with SCO (Caldera) again. Here is a capsule

 summary of our position with Project Monterey.” 164 He gave a background summary of the

 Project Monterey relationship, and then explained: “Even though SCO code is now embedded

 within AIX, we would only have to pay royalties to SCO when we distributed Monterey.” 165 He

 further instructed: “Our initial license to SCO code was contingent on our making an attempt to

 distribute an IA-64 product. Consequently, we need to be clear that we have been trying to

 distribute Monterey, but no one wants it.” 166 Mr. Bulko further disclosed that IBM had “no plans

 to make AIX available on the Itanium platform” and was “planning to EOL [end of life]

 Monterey by the end of this year.” 167

                                 SUMMARY JUDGMENT STANDARD

             Summary judgment is proper “if the movant shows that there is no genuine dispute as to

 any material fact and the movant is entitled to judgment as a matter of law.” 168 “An issue of

 material fact is ‘genuine’ if a reasonable jury could return a verdict for the nonmoving party.” 169

 In moving for summary judgment, IBM “bears the burden of showing the absence of a genuine

 163
   Email from C. Yount to B. Bulko, dated Oct. 22, 2002, at 1710015451, attached as Exhibit 57 to SCO’s
 Opposition Exhibits.
 164
   Email from B. Bulko to A. Befi, dated Nov. 6, 2002, at 1710015441, attached as Exhibit 84 to SCO’s Opposition
 Exhibits.
 165
       Id.
 166
       Id.
 167
       Id.
 168
       FED. R. CIV. P. 56(a).
 169
    Universal Money Ctrs., Inc. v. Am. Tel. & Tel. Co., 22 F.3d 1527, 1529 (10th Cir. 1994) (quoting Anderson v.
 Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)) (internal quotation marks omitted).



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 issue of material fact . . . .” 170 However, as it relates to SCO’s claims, IBM “need not negate

 [SCO’s] claim[s], but need only point out to the district court ‘that there is an absence of

 evidence to support [SCO’s] case.’” 171 Upon such a showing, SCO “must set forth specific facts

 showing that there is a genuine issue for trial as to those dispositive matters for which [SCO]

 carries the burden of proof.” 172 “The mere existence of a scintilla of evidence in support of the

 plaintiff’s position will be insufficient to defeat a properly supported motion for summary

 judgment.” 173

                                                         ANALYSIS

             IBM’s Unfair Competition Motion states three grounds for summary judgment regarding

 SCO’s unfair competition claim: “(1) it is untimely; (2) SCO cannot show that IBM engaged in

 unfair competition regarding Monterey; and (3) the claim is preempted by federal copyright

 law.” 174 IBM’s Unfair Competition Memorandum further develops those arguments. Most

 important for this ruling is the second argument: that SCO cannot show that IBM engaged in

 unfair competition because, among other reasons, IBM’s alleged conduct would constitute a

 breach of contract, and “[s]uch claims may not be transmuted into a tort claim such as unfair

 competition.” Because this argument is correct, it is unnecessary to discuss IBM’s other bases for

 summary judgment. As discussed more fully below, (A) tort claims are subsumed in contract

 claims when the issue is addressed by an express contract provision and not addressed by a

 separate legal duty; (B) SCO’s unfair competition claim is subsumed by express contractual

 provisions of the JDA that specifically govern the licensing and use of SCO’s code; and (C) SCO

 170
       Universal, 22 F.3d at 1529.
 171
       Id. (citing Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986)).
 172
       Id. (citing Applied Genetics Int'l, Inc. v. First Affiliated Sec., Inc., 912 F.2d 1238, 1241 (10th Cir.1990)).
 173
       Id. (quoting Anderson, 477 U.S. at 252).
 174
       IBM’s Unfair Competition Motion at 2.



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 and IBM were not joint venturers or partners, and no fiduciary relationship existed, meaning that

 IBM owed no heightened legal duties to SCO. For these reasons, summary judgment is granted

 on SCO’s unfair competition claim in IBM’s favor.

                          A. The Independent Tort Doctrine Bars Tort Claims
                              Where There Is An Express Contract Provision

         In the original briefing on IBM’s Unfair Competition Motion in 2006, although the

 parties argued over the application, they generally agreed on the law regarding the independent

 tort doctrine: under New York precedent, “[i]t is a well-established principle that a simple breach

 of contract is not to be considered a tort unless a duty independent of the contract itself has been

 violated,” and the tort claim “must spring from circumstances extraneous to, and not constituting

 elements of, the contract, although it may be connected with and dependent upon the

 contract.” 175 The tort “must be sufficiently distinct from the breach of contract claim in order to

 be legally sufficient,” and “[i]n order to be independently viable, [it] must arise from a separate

 legal duty, or be collateral and extraneous to the terms and conditions of the contract that were

 allegedly breached or cause special damages that are not recoverable under the contract.” 176 The

 law is the same in Utah: where there exists an “express contract provision dealing with the issue,

 there is no independent duty created here which would create a tort apart from the contractual

 obligations between the parties.” 177

         SCO argued that “[a]lthough some New York cases suggest that a plaintiff may not

 ‘transmogrify’ a contract claim into one for tort, this is limited to instances where ‘the only


 175
    Productivity Software Intern, Inc. v. Healthcare Technologies, Inc., 1995 WL 437526 (S.D.N.Y.) (quoting Clark-
 Fitzpatrick, Inc. v. Long Island Rail Road Co., 70 N.Y.2d 382, 389 (N.Y. 1987)).
 176
    Medinol Ltd. v. Boston Scientific Corp., 346 F.Supp.2d 575, 607 (S.D.N.Y 2004) (citing Great Earth
 International Franchising Corp. v. Milks Development, 311 F.Supp.2d 419, 425 (S.D.N.Y. 2004)).
 177
    Deer Crest Associates I, L.C. v. Deer Crest Resort Group, L.L.C., No. 2:04-CV-00220-TS, 2006 WL 722216, *3
 (D.Utah Mar. 15, 2006).



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 interest at stake is that of holding the defendant to a promise.’” 178 However, SCO’s citation of

 the Second Circuit’s discussion of the policy underlying the independent tort doctrine does not

 weaken the doctrine to be less than stated in the more recent cases cited above and acknowledged

 by SCO. Regardless of the “interest[s] at stake,” 179 “a contract claim may not be pleaded as a tort

 claim unless a legal duty independent of the contract itself has been violated.” 180

            SCO also suggests a wrinkle in the independent tort doctrine articulated by the Tenth

 Circuit in Equilease Corp. v. State Fed. Sav. And Loan. Assn.: “where a contract is the mere

 inducement creating the state of things that furnishes the occasion for the tort, the tort, not the

 contract, is the basis of the action. . . . [I]f a duty to take care arises from the relation of the

 parties irrespective of a contract, the action is one of tort.” 181 However, the Tenth Circuit’s

 statement relies on a 1926 Oklahoma Supreme Court case. The parties have presented no Utah or

 New York case law that would suggest that contractual duties could be disregarded by finding

 that the contract was an inducement to facilitate a tort. However, as the Tenth Circuit stated, it is

 important to consider “if a duty to take care arises from the relation of the parties irrespective of

 the contract.” 182

            SCO cites a New York appellate decision for the proposition that “[t]he same conduct

 which constitutes a breach of a contractual obligation may also constitute the breach of a duty

 arising out of the contract relationship which is independent of the contract itself.” 183 The line of


 178
    SCO’s Unfair Competition Opposition at 39–40 (citing Hargrave v. Oki Nursery, Inc., 636 F.2d 897, 899 (2nd
 Cir. 1980) and Hammer v. Amazon.com, 392 F.Supp.2d 423 (E.D.N.Y. 2005).
 179
       Id. (citing Hargrave, 636 F.2d at 899).
 180
       Hammer, 392 F.Supp.2d at 432–33 (internal citations omitted) (emphasis added).
 181
       647 F.2d 1069, 1074 (10th Cir. 1981) (applying Oklahoma law).
 182
       Equilease Corp., 647 F.2d at 1074.
 183
   SCO’s Unfair Competition Opposition at 41 (quoting Dime Sav. Bank of N.Y. v. Skrelja, 642 N.Y.S.2d 84 (N.Y.
 App. Div. 1996)).



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 cases supporting that proposition deals with claims for breach of a fiduciary duty, which is

 necessarily a legal duty independent of the contract. Similarly, the Utah Supreme Court has also

 “recognize[d] that in some cases the acts constituting a breach of contract may also result in

 breaches of duty that are independent of the contract and may give rise to causes of action in

 tort.” 184 The line of cases used by the Utah Supreme Court references intentional torts and

 statutorily imposed duties, which again are necessarily legal duties independent of contracts. The

 consideration of these independent relations is consistent with Equilease Corp.

            The supplemental briefing by the parties reflects an unchanged independent tort

 doctrine. 185 SCO again argues that IBM misstates the independent tort doctrine as too narrow.

 IBM argued that where parties’ interests are aligned and plaintiffs reasonably rely on

 representations of contractual performance, “a ‘legal duty . . . would arise out of the independent

 characteristics of the relationship between’ the parties, supporting an independent tort claim,

 even where that duty was ‘assessed largely on the standard of care and the other obligations set

 forth in the contract.’” 186 However, the case upon which SCO bases this argument dealt with

 financial investors suing their financial advisor, meaning the “independent characteristics of the

 relationship” were effectively a fiduciary relationship. Most contracting parties have aligned

 interests and rely on one another to perform. However, a common contract relationship cannot

 reasonably create the “independent characteristics” that would give rise to fiduciary-like duties




 184
       Culp Const. Co. v. Buildmart Mall, 795 P.2d 650 (Utah 1990).
 185
     See, e.g., Dorset Industries, Inc. v. Unified Grocers, Inc., 893 F.Supp.2d 395, 414 (E.D.N.Y. 2012); Taizhou
 Zhongneng Import and Export Co., Ltd. v. Koutsobinas, 509 F. App’x 54, 57 (2nd Cir. 2013) (the tort claim “cannot
 arise out of the same facts that serve as the basis for a plaintiff’s causes of action for breach of contract (internal
 citations and quotations omitted)); Board of Managers of Soho North 267 West 124th Street Condominium v. NW
 124 LLC, 984 N.Y.S.2d 17, 18–19 (N.Y. App. Div. 2014).
 186
   SCO’s Unfair Competition Supplement at 4–5 (citing Bayerische Landesbank, N.Y Branch v. Aladdin Capital
 Magmt. LLC, 692 F.3d 42, 58–59 (2nd Cir. 2012)).



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 without other, far more defining circumstances, like the financial advisor context referenced by

 SCO.

             It appears that the theme in these New York and Utah cases is that where a heightened

 duty is imposed as in the fiduciary context or by statute, essentially “aris[ing] from the relation

 of the parties irrespective of the contract,” 187 those duties are not subsumed in contractual duties.

 However, where the parties have agreed to certain heightened contractual standards which do not

 create the independent tort duty, common torts are subsumed in those express contractual duties.

 For example, in Sidney Frank Importing Co., a whisky importer sued a distillery for breach of

 contract and unfair competition. 188 The Southern District of New York identified the type of

 unfair competition claim that could be contract-related but not expressly subsumed in the breach

 of contract claim: “Cooley’s alleged duty under the Agreement to provide whiskey to Plaintiff in

 quantities specified by purchase orders . . . is distinct from Cooley and Beam’s duty not to

 misappropriate Plaintiff’s property for their own use.” 189 Simply stated, the independent tort

 doctrine remains unchanged: an express contractual duty subsumes tort claims that are not based

 on an independent legal duty. 190

                B. SCO’s Unfair Competition Claim Is Subsumed by Express Contractual
                            Provisions Specifically Governing the SVr4 Code

             In Sidney Frank Importing Co., which SCO offered, the Southern District of New York

 describes the claim of unfair competition:

             New York courts have recognized two theories of unfair competition claims:
             “palming off” and misappropriation. Palming off is the sale of goods of one
             manufacturer as those of another. Misappropriation, the theory which Plaintiff
 187
       Equilease Corp., 647 F.2d at 1074.
 188
       Sidney Frank Importing Co., Inc. v. Beam Inc., 998 F.Supp.2d 193, 210 (S.D.N.Y. 2014).
 189
       Id.
 190
   Deer Crest Associates I, L.C., 2006 WL 722216 at *3; Medinol Ltd., 346 F.Supp.2d at 607 (citing Milks
 Development, 311 F.Supp.2d at 425).



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            asserts here, concerns the taking and use of the plaintiff’s property to compete
            against the plaintiff’s own use of the same property. Misappropriation is also
            described as taking the skills, expenditures, and labor of a competitor, and
            misappropriating for the commercial advantage of one person . . . a benefit or
            property right belonging to another.

            To state a claim for the misappropriation theory of unfair competition, a plaintiff
            must allege that the defendant: (1) misappropriated the plaintiff’s labors, skills,
            expenditures, or good will; and (2) displayed some element of bad faith in doing
            so. 191

 Here, SCO specifically places its claim, at least in part, within the misappropriation prong

 of unfair competition, 192 alleging that IBM engaged in “[m]isappropriation of source

 code, methods, and confidential information” and “[c]ontribution of protected source

 code and methods for incorporation into one or more Linux software releases, intended

 for transfer of ownership to the general public.” 193 Therefore, the question is whether an

 express contract provision treats the appropriation of SCO’s source code.

            In this case, the JDA expressly granted to IBM:

            a worldwide, non-exclusive, royalty free . . ., perpetual and irrevocable . . . right
            and license under SCO’s and applicable third parties’ copyrights . . . and any trade
            secrets or confidential information in the Licensed SCO Materials and SCO
            Project Work which are included in Deliverables to (i) prepare or have prepared
            Derivative Works, (ii) use, execute, reproduce, display and perform the Licensed
            SCO Materials and SCO Project Work and Derivative Works thereof, (iii)
            sublicense and distribute the Licensed SCO Materials and SCO Project Work and
            Derivative Works thereof either directly or through Distributors, in the form of
            Source Code, Object Code, Documentation, and/or in any other form whatsoever,
            and (iv) grant licenses, sublicenses, and authorizations to others (including
            without limitation IBM Subsidiaries, Distributors and any other third parties), on
            a non-exclusive basis that is equal to the scope of the licenses granted
            hereunder. 194




 191
       Sidney Frank Importing Co., 998 F.Supp.2d at 210.
 192
       SCO’s Unfair Competition Supplement at 4.
 193
       Second Amended Complaint ¶ 184(a) and (e), docket no. 108, filed Feb. 27, 2014.
 194
       JDA § 2.2(d)(2).



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 That “worldwide, non-exclusive, royalty free . . ., perpetual and irrevocable . . . right and

 license” was limited as follows:

             When IBM sublicenses the IA-64 Product containing Licensed SCO Materials
             and/or SCO Project Work in Source Code form or when SCO sublicenses the IA-
             64 Product containing Licensed IBM Materials and/or IBM Project Work in
             Source Code form, the parties shall not grant the third party the right to further
             grant source sublicenses to the other party’s Licensed Materials or Project Work.
             Further, when licensing such Source Code, both e parties shall only grant the right
             to create Derivative Works required for the following purposes:
             1. Maintenance and support;
             2. Translation and localization;
             3. Porting, optimization and extensions;
             4. Any other Derivative Works agreed to by SCO and IBM. 195

             The use or appropriation of SCO’s source code is expressly addressed in the JDA. It is

 clear that use of the code is not “collateral and extraneous to the terms and conditions of the

 contract that were allegedly breached,” 196 but rather, there exists an “express contract provision

 dealing with the issue, [and therefore,] there is no independent duty created here which would

 create a tort apart from the contractual obligations between the parties.” 197 In fact, determining

 that IBM misappropriated the code in question would require a legal conclusion that IBM had

 breached the contract. This is unlike the Sidney Frank Importing Co. case, discussed above,

 where the Southern District of New York was able to distinguish the alleged breach of contract

 and the alleged tort because they embraced separate duties. Here, the alleged misappropriation is

 inseparable from an alleged breach of the JDA and its licensing provisions because IBM’s legal

 right to use the source code is at the heart of each claim.




 195
       Id. § 2.2(e).
 196
       Medinol Ltd., 346 F.Supp.2d at 607 (citing Milks Development, 311 F.Supp.2d at 425).
 197
       Deer Crest Associates I, L.C., 2006 WL 722216, at *3.



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            Even more telling, although the alleged tort claim “must be sufficiently distinct from the

 breach of contract claim in order to be legally sufficient,” 198 SCO actually based its claim on the

 allegations that IBM engaged in “[b]reach of contract,” “[v]iolation of confidentiality provisions

 running to the benefit of plaintiff,” and “[i]nducing and encouraging others to violate

 confidentiality provisions.” 199 Furthermore, SCO’s briefing is replete with characterizations of

 the IA-64 product being a “sham,” but the quality of the IA-64 product is only relevant to the use

 of SCO’s code in the context of the JDA, and SCO essentially sought to drive home the point

 that IBM’s did not sufficiently perform its contractual obligations to reap the benefits of the

 contract. Although SCO may argue that its unfair competition claim is not subsumed in the

 parties’ contractual duties, not only does the JDA clearly addresses IBM’s use of the code, but

 SCO’s own Second Amended Complaint specifically alleges breach of contract as many of the

 bases for its unfair competition claim. SCO’s unfair competition claim cannot survive summary

 judgment.

                  C. SCO Cannot Rely on the Utah Unfair Competition Act as a Basis for
                                      an Unfair Competition Claim

            In the 2006 briefing, SCO had originally argued that unfair competition is not simply

 limited to “palming off” and misappropriation, extending to “broadly encompass[] all forms of

 ‘commercial immorality.’” 200 However, cases SCO cited in 2015 from the same court upon

 which SCO relied in 2006 for its “commercial immorality” theory clearly stated that “New York

 courts have recognized two theories of unfair competition claims: ‘palming off’ and



 198
       Medinol Ltd., 346 F.Supp.2d at 607 (citing Milks Development, 311 F.Supp.2d at 425).
 199
       Second Amended Complaint ¶ 184(b)–(d), docket no. 108, filed Feb. 27, 2014.
 200
     SCO’s Unfair Competition Opposition at 43 (citing Too, Inc. v. Kohl’s Dep’t Stores, 210 F.Supp.2d 402, 405
 (S.D.N.Y 2002) (“[u]nfair competition may be based on a wide variety of illegal practices, including
 misappropriation and other forms of commercial immorality.)).



                                                                                                                  38
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 misappropriation.” 201 In SCO’s 2006 discussion of the broad unfairness standard, SCO argued in

 a footnote that a portion of the Utah Code (enacted in 2004 after IBM’s allegedly tortious acts)

 created a statutory right to damages for the unlawful, unfair, or fraudulent infringement of a

 copyright or the violation of a software license. 202 Given the importance of statutorily imposed

 legal duties under the independent tort doctrine, it is necessary to discuss this statutory argument.

            The relevant portion of the Definitions section of the Unfair Competition Act stated in

 2004 that:

            “unfair competition” means an intentional business act or practice that:
            (i)      (A) is unlawful, unfair, or fraudulent; and
                     (B) leads to a material diminution in value of intellectual property; and
            (ii) is one of the following:
                     (A) cyber-terrorism;
                     (B) infringement of a patent, trademark or trade name;
                     (C) a software license violation; or
                     (D) predatory hiring practices. 203

 SCO argued that “[e]ven if applied only prospectively, IBM is liable under the statute for SCO’s

 post-2004 damages, because unfair competition is a continuing tort and each sale of AIX for

 Power is an independent cause of action. . . . Moreover, the statute may be applied retroactively,

 because, as an addition to the previously existing Unfair Practices Act, it clarified existing

 law. 204

            SCO was ordered multiple times to disclose the basis of each of its claims but never

 disclosed any intent to rely upon this statute, and therefore, may not do so now. 205 Although




 201
       Sidney Frank Importing Co., 998 F.Supp.2d at 210.
 202
       SCO’s Unfair Competition Opposition at 44 n.11 (citing UTAH CODE ANN. § 13-5a-102(4)(a)).
 203
       UTAH CODE ANN. § 13-5a-102(4)(a)
 204
   SCO’s Unfair Competition Opposition at 44 n.11 (citing Dep’t of Soc. Serv. V. Higgs, 656 P.2d 998, 1001 (Utah
 1982)).
 205
       See Order Affirming Magistrate Judge’s Order of June 28, 2006, docket no. 884, filed Nov. 29, 2006.



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 SCO’s failure to disclose this statute as a basis for its unfair competition claim is alone sufficient,

 there are other reasons SCO cannot rely on this statute.

         First, the statute cannot be applied retroactively because the 2004 enactment of this

 language was not a clarification, but rather a legislative change. Contrary to SCO’s argument, the

 “clarification” exception, permitting the retroactive application of statutory amendments that

 only clarify existing law, cannot apply here. The enumeration of a breach of a software license as

 a form of unfair competition is not a new statutory provision that does not alter a party's

 substantive rights. 206

 Rather, “the legislature fundamentally altered the substantive rights accorded under Utah law,

 which previously restricted common law unfair competition claims to palming-off and

 misappropriation.” 207 Describing the enactment of novel statutory language as nothing more than

 a clarification would result in the unreasonable conclusion that much of newly enacted

 legislation is generally mere clarification, and therefore, retroactive. Additionally, IBM correctly

 points out that no Utah statute is retroactive unless expressly stated. 208

         Second, SCO’s prospective application argument is flawed because IBM’s alleged breach

 of the JDA occurred nearly four years prior to the effective date of Section 13-5-a-102(4)(a), and

 therefore, IBM’s breach would not have constituted unfair competition. SCO has offered no

 authority to support an argument that the continuing tort doctrine functions to create, after the

 enactment of a statute, a continuing tort from an alleged breach that did not constitute a tort when




 206
    See, e.g., Okland Constr. Co. v. Industrial Comm'n, 520 P.2d 208, 210-11 (Utah 1974) (applying clarification
 exception where the phrase "312 weeks" for earlier language of "six years ... weekly compensation" in statute).
 207
     IBM’s Unfair Competition Reply at 10–11 n.7 (citing Proctor & Gamble Co. v. Haugen, 222 F.3d 1262, 1280
 (10th Cir. 2000).
 208
     IBM’s Unfair Competition Reply at 10 (citing UTAH CODE ANN. § 68-3-3).



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 it occurred. For these reasons, SCO cannot rely on Utah’s subsequently enacted Unfair

 Competition Act to salvage its unfair competition claim.

             D. SCO and IBM Entered Into an Arms-Length Contract and Did Not Create a Joint
                     Venture, Partnership, or Any Other Form of Fiduciary Relationship

               SCO’s Unfair Competition Opposition understandably does not focus on the contractual

 provisions at issue; rather, SCO argued that a fiduciary duty exists between the parties, thereby

 rendering IBM’s actions actionable as unfair competition.

               SCO argued that it “is not seeking to hold IBM to a promise. . . . Nothing in the JDA

 expressly required IBM to inform SCO of its intent to string the project along. SCO[‘s]

 complain[t]s are not about a contractual breach, but of IBM’s pattern of deceptive and unfair

 conduct.” 209 More specifically, SCO complains that IBM deceived Santa Cruz and SCO about its

 Project Monterey and LINUX intentions, made a “sham” IA-64 product, and pretended to

 support Project Monterey long after it decided to terminate the project, in addition to

 misappropriating code. 210

               Preliminarily, the IA-64 product was the central purpose of Project Monterey and the

 JDA, and therefore a failure to perform under that contract by offering a “sham” IA-64 product

 would necessarily constitute a breach of contract or a breach of the implied covenant of good

 faith and fair dealing. Therefore, SCO’s remaining allegations include deception regarding

 intentions and pretended support. Although SCO’s Second Amended Complaint grandly alleges

 “conduct that is intentionally and foreseeably calculated to undermine and/or destroy the

 economic value of UNIX anywhere and everywhere in the world,” 211 the pleading lacks



 209
       SCO’s Unfair Competition Opposition at 40.
 210
       Id.
 211
       SCO’s Second Amended Complaint ¶ 183.



                                                                                                       41
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 specificity and substance, otherwise identifying these allegations as “[u]se of deceptive means

 and practices in dealing with plaintiff with respect to its software development efforts.” 212

             SCO argued that “despite the fact that SCO’s unfair competition claim is, in certain

 respects, related to the contract . . . the claim is actionable because, in view of the joint venture

 relationship, IBM has independent fiduciary and common law confidentiality duties that are

 distinct and wholly separate from the contract.” 213 Bizarrely, SCO argued that IBM should be

 precluded from even responding to SCO’s allegations of a fiduciary and confidential relationship

 because they were not disputed in IBM’s Unfair Competition Memorandum. 214 However, the

 local rules limit a reply memorandum to rebuttal of matters raised in the memorandum opposing

 the motion, 215 necessarily allowing IBM to respond to SCO’s discussion of a fiduciary

 relationship.

             SCO’s arguments regarding a fiduciary relationship fail for three reasons. First, although

 SCO offers the alleged fiduciary relationship as a counter to the independent tort doctrine issue,

 SCO has offered no authority to support its implied argument that an independent fiduciary duty

 somehow constitutes a claim of unfair competition. To the extent SCO would argue that any

 alleged fiduciary duties are independent from the JDA and therefore not subsumed in breach of

 contract, that argument would only support a claim for breach of a fiduciary duty, not unfair

 competition. Alleging that an independent legal duty exists does not allow SCO to avoid the

 independent tort doctrine in order to pursue a tort claim that is not based on a breach of that duty.




 212
       Id. ¶ 184(f).
 213
       SCO’s Unfair Competition Opposition at 42.
 214
       Id. at 42 n.10.
 215
       DUCivR 7-1(b)(3).



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             Second, the parties did not have a fiduciary relationship. “A fiduciary relationship exists

 under New York law when one person is under a duty to act for or to give advice for the benefit

 of another upon matters within the scope of the relation.” 216 In Utah, a fiduciary relationship

 “imparts a position of peculiar confidence placed by one individual in another” and “implies a

 condition of superiority of one of the parties over the other,” while a fiduciary “is a person with a

 duty to act primarily for the benefit of another” and “is in a position to have and exercise and

 does have and exercise influence over another.” 217 Although “[t]here is no invariable rule which

 determines the existence of a fiduciary relationship . . . there must exist a certain inequality,

 dependence, weakness of age, of mental strength, business intelligence, knowledge of the facts

 involved, or other conditions, giving to one advantage over the other.” 218 Clearly, SCO and IBM

 were two sophisticated business entities, and the facts SCO included in its briefing laud SCO’s

 expertise and capabilities, 219 and are not indicative of inequality, weakness, and dependency in

 the SCO-IBM relationship.

             Moreover, “[b]y their nature, arms-length commercial transactions ordinarily do not

 involve relationships defined by the New York court as fiduciary.” 220 “Under special

 circumstances a fiduciary duty may be found notwithstanding the existence of a contract—

 specifically, when there is a ‘relationship of higher trust than would arise from the . . . agreement

 alone.’” 221



 216
       Muller-Paisner v. TIAA, 289 F. App’x 461, 465 (2nd Cir. 2008) (citations omitted).
 217
       First Sec. Bank of Utah N.A. v. Banberry Dev.Corp., 786 P.2d 1326, 1333 (Utah 1990) (citations omitted).
 218
       Id.
 219
       See Statement of Undisputed Facts, supra, ¶¶ 16–19.
 220
       Muller-Paisner, 289 F. App’x at 466.
 221
   Zorbas v. U.S. Trust Co. N.A., 48 F.Supp.3d 464, 479 (E.D.N.Y. 2014) (citing EBC I, Inc. v. Goldman, Sachs &
 Co., 5 N.Y.3d 11, 20).



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            SCO argued that “the ‘tight partner’ relationship though [sic] SCO placed its ‘trust and

 confidence’ in IBM gives rise to a fiduciary relationship.” 222 However, the case SCO cites does

 not apply to the SCO-IBM relationship. In Muller-Paisner, the Second Circuit determined that

 an annuity broker owed a fiduciary relationship to a 70-year-old woman where the defendants

 had targeted specific advertisements regarding their expertise to her class of people, retired

 educators, focusing on the defendants’ roles as advisors, knowing their advice would be relied

 upon. 223

            Subsequently, the Southern District of New York specified that Muller-Paisner and other

 similar cases “are inapposite to this case involving two sophisticated business entities” because

 “those cases . . . involve unsophisticated parties, the elderly, or the infirm.” 224 The Southern

 District of New York further distinguished Muller-Paisner from cases like this case: “Muller-

 Paisner dealt with an insurer who allegedly made representations to an infirm purchaser of an

 annuity insurance contract” and “is inapplicable to the arm’s-length commercial transaction”

 where the plaintiff “is not like the infirm decedent in Muller-Paisner who was preyed upon by

 the defendant in this case.” 225 SCO did not attempt to argue that it should be considered as one of

 those “unsophisticated parties, the elderly, or the infirm,” or how IBM should be considered

 more like the insurance broker who “preyed upon” those types of disadvantaged people. 226

 Nevertheless, SCO’s attempt at creating such a relationship of trust and confidence fails.



 222
    SCO’s Unfair Competition Supplement at 5 (citing Muller-Paisner v. TIAA, 289 F. App’x 461, 466 (2nd Cir.
 2008) (“[A] fiduciary duty may arise in the context of a commercial transaction upon a requisite showing of trust
 and confidence.”)).
 223
       Muller-Paisner, 289 F. App’x at 466.
 224
    Banco Industrial de Venezuela, C.A. v. CDW Direct, L.L.C., 888 F.Supp.2d 508, 513 (S.D.N.Y. 2012) (emphasis
 added).
 225
       Id. (emphasis added).
 226
       Id. (emphasis added).



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             Third, SCO’s allegations fall well short of what is required to show the existence of a

 joint venture or partnership. In New York, “[t]o demonstrate the existence of a partnership, a

 plaintiff must prove four elements: (1) the parties' sharing of profits and losses; (2) the parties'

 joint control and management of the business; (3) the contribution by each party of property,

 financial resources, effort, skill, or knowledge to the business; and (4) the parties' intention to be

 partners.” 227 Similarly, to demonstrate the existence of a joint venture, a plaintiff must prove

 that:

             (1) two or more parties entered an agreement to create an enterprise for profit, (2)
             the agreement evidences the parties' mutual intent to be joint venturers, (3) each
             party contributed property, financing, skill, knowledge, or effort to the venture,
             (4) each party had some degree of joint management control over the venture, and
             (5) there was a provision for the sharing of both losses and profits. 228

 “The absence of any one element is fatal to the establishment of a joint venture. . . . Further, a

 joint venture represents more than a simple contractual relationship. Thus, it is insufficient for a

 plaintiff to allege mere joint ownership, a community of interest, or a joint interest in

 profitability.” 229 Importantly, “[i]n formulating an agreement to be joint venturers, ‘the parties

 must be clear that they intend to form a joint venture, which is a fiduciary relationship, and not a

 simple contract.’” 230 An essential element is the requirement that the parties provided for the

 sharing in profits and losses. 231

             The process of establishing a joint venture is similar if not identical in Utah. The

 requirements for the relationship are not exactly defined, but certain elements are essential:



 227
       Kids Cloz, Inc. v. Officially For Kids, Inc., 320 F.Supp.2d 164, 171 (S.D.N.Y. 2004).
 228
       Id. (internal quotations and citations omitted).
 229
       Id. (internal quotations and citations omitted).
 230
       Id. (citing Precision Testing Laboratories v. Kenyon Corp., 644 F.Supp. 1327, 1349 (S.D.N.Y. 1986)).
 231
       See id.



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             The parties must combine their property, money, effects, skill, labor and
             knowledge. As a general rule, there must be a community of interest in the
             performance of the common purpose, a joint proprietary interest in the subject
             matter, a mutual right to control, a right to share in the profits, and unless there is
             an agreement to the contrary, a duty to share in any losses which may be
             sustained.

             While the agreement to share losses need not necessarily be stated in specific
             terms, the agreement must be such as to permit the court to infer that the parties
             intended to share losses as well as profits. 232

             In this case, several elements are lacking. Most directly, the parties unambiguously stated

 in the JDA that they were not forming a joint venture or partnership:

             Each party is acting solely as an independent company. This Agreement shall not
             be construed to establish any form of partnership, agency, franchise or joint
             venture of any kind between SCO and IBM, nor to constitute either party as an
             agent, employee, legal representative, or any other form of representative of the
             other. This Agreement shall not be construed to provide for any sharing of profits
             or losses between the parties. 233

 This provision undercuts SCO’s argument.

             Although SCO is correct that “courts look to economic realities and disregard labels

 when the agreement as a whole and surrounding facts show an intent to create” a joint venture or

 partnership, 234 the economic realities of this case support rather than contradict the parties’

 express rejection of any sort of partnership. For example, SCO states that the JDA required

 sharing of profits and losses, 235 but the sections SCO cites, §§Sections 11.3 and 12.0–12.5, relate

 respectively to the ownership of joint inventions and provisions regarding royalties. Provisions

 governing joint inventions and royalties fall substantially short of a partnership bearing all profits

 and losses.



 232
       Bassett v. Baker, 530 P.2d 1, 2 (Utah 1974) (citing 48 C.J.S. Joint Adventures s 2a).
 233
       JDA § 22.5.
 234
       SCO’s Unfair Competition Opposition at 36–37 n.6.
 235
       Id.



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         The existence of fiduciary duties would not result in salvaging SCO’s unfair competition

 claim. SCO and IBM did not have an unequal and unbalanced relationship that would give IBM

 fiduciary duties toward SCO. SCO and IBM did not create a joint venture or partnership,

 meaning that IBM owed SCO no fiduciary duties.

                                            CONCLUSION

         Summary judgment is granted to IBM on SCO’s unfair competition claim because the

 alleged misappropriation at the heart of the claim is subsumed in SCO’s breach of contract claim,

 and the independent tort doctrine prevents SCO’s re-framing of its contract claim as a tort claim.

 SCO’s alternative arguments also fail. SCO cannot use a later-enacted portion of the Utah Code

 that was not offered as a basis for this claim or create a joint venture or fiduciary relationship

 from an otherwise arm’s-length contract between two sophisticated business entities.

                                                ORDER

         For the reasons stated above, IT IS HEREBY ORDERED that IBM’s Unfair Competition

 Motion 236 is GRANTED, and summary judgment is granted in IBM’s favor on SCO’s unfair

 competition claim (SCO’s Sixth Cause of Action).


         Dated February 5, 2016.

                                                 BY THE COURT:

                                                 ____________________________
                                                 David Nuffer
                                                 United States District Judge




 236
   IBM’s Motion for Summary Judgment on SCO’s Unfair Competition Claim (SCO’s Sixth Cause of Action),
 docket no. 782, filed Sept. 25, 2006.



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       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                     CENTRAL DIVISION


 THE SCO GROUP, INC.,

                Plaintiff/Counterclaim-
                Defendant,                                             ORDER

 vs.

 INTERNATIONAL BUSINESS                                      Case No. 2:03CV294 DAK
 MACHINES CORPORATION,

                Defendant/Counterclaim-
                Plaintiff.



        This matter is before the court on (1) Plaintiff The SCO Group, Inc.’s (“SCO”) Motion to

 Compel IBM to Produce Samuel J. Palmisano for Deposition, (2) SCO’s Motion for Leave to

 File Third Amended Complaint, and issues pertaining to the parties’ proposed Amended

 Scheduling Orders. A hearing on the motions was held on April 21, 2005. The court also heard

 brief argument on IBM’s Motion for Entry of Order Limiting Scope of IBM’s Ninth

 Counterclaim, which was not set for argument, but which is related to SCO’s Motion for Leave

 to File Third Amended Complaint. At the hearing, IBM was represented by David R. Marriott

 and Todd M. Shaughnessy. SCO was represented by Sean Eskovitz, Edward Normand, and

 Brent O. Hatch. Before the hearing, the court considered carefully the memoranda and other

 materials submitted by the parties. Since taking the motions under advisement, the court has

 further considered the law and facts relating to the motions. The court has also considered the
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 letter dated April 25, 2005, sent to the court from SCO’s counsel and also the letter dated April

 28, 2005, sent to the court from IBM’s counsel in response to SCO’s April 25, 2005 letter. Now

 being fully advised, the court renders the following Order.

 I. SCO’S MOTION TO COMPEL IBM TO PRODUCE SAMUEL J. PALMISANO FOR DEPOSITION

        SCO Seeks to Compel IBM to Produce its Chairman and Chief Executive Officer,

 Samuel J. Palmisano, for Deposition. IBM argues that SCO has failed to demonstrate that Mr.

 Palmisano has unique personal knowledge of the claims in the instant suit and that the

 information sought by SCO is available from other sources.

        The court finds that Mr. Palmisano could have unique personal knowledge related to the

 claims in this action. Thus, IBM must produce Mr. Palmisano for a deposition. To minimize the

 disruption of IBM’s operations, SCO has agreed to depose Mr. Palmisano in New York.

 Although SCO seeks a seven-hour deposition, the court imposes a limit of four hours, not

 including any breaks taken during the deposition.

 II.    SCO’S MOTION TO FILE THIRD AMENDED COMPLAINT AND IBM’S MOTION TO LIMIT
        SCOPE OF NINTH COUNTERCLAIM

        In its Ninth Counterclaim, IBM seeks declaratory judgment that “IBM does not infringe,

 induce the infringement of, or contribute to the infringement of any SCO copyright through the

 reproduction, improvement, and distribution of AIX and Dynix.” IBM, however, seeks to limit

 the scope of the Ninth Counterclaim, arguing that it intended to seek only a declaration that

 because IBM has not breached IBM’s license agreements with AT&T, and because SCO’s

 purported termination of those licenses is invalid, IBM’s continued distribution of AIX and


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 Dynix products does not infringe SCO’s alleged copyrights. In seeking a narrow interpretation

 of its Ninth Counterclaim, IBM contends, among other things, that the Ninth Counterclaim must

 be read in the context in which it was asserted. At that time, SCO had sued IBM for copyright

 infringement with respect to its continued distribution of AIX and Dynix, but it had not sued

 IBM for copyright infringement with respect to other non-Linux activities. IBM asserts that

 SCO had not even threatened to sue IBM for copyright infringement with respect to non-Linux

 activities other than IBM’s “post-termination” distribution of AIX and Dynix. Thus, IBM

 claims, it did not have a reasonable apprehension of being sued by SCO, thus there was not a

 case or controversy, and IBM could not have properly sued SCO for a declaration of non-

 infringement with respect to IBM’s non-Linux activities, other than the “post-termination”

 distribution of AIX and Dynix. Moreover, IBM argues that it should not be required to litigate a

 claim it did not intend to make, does not believe it asserted, and has no reason to pursue.

        SCO, on the other hand, claims that IBM is attempting to recharacterize its Ninth

 Counterclaim now that SCO has found clear evidence that IBM infringed SCO’s copyrights.

 Based on this purported evidence, SCO seeks not only to defend against IBM’s Ninth

 Counterclaim, but to add a claim for affirmative relief. Specifically, SCO seeks to assert a cause

 of action for copyright infringement based on IBM’s alleged unauthorized use of copyrighted

 SCO code in IBM’s AIX for Power products.

        The court will permit IBM to narrow the scope of its Ninth Counterclaim. In the context

 in which the Ninth Counterclaim was asserted, the court finds that IBM did not intend for the

 counterclaim to be interpreted as broadly as it has been interpreted. Having determined that the

 Ninth Counterclaim was not intended to sweep so broadly, SCO’s proposed amendment is no

                                                  3
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 longer the mirror-image of IBM’s Ninth Counterclaim. To permit the proposed amendment

 would expand this already sizable and complex litigation and would serve only to delay its

 resolution. Furthermore, SCO has twice amended its Complaint during this litigation, and the

 deadline for seeking leave to further amend has long-since passed. SCO has not demonstrated

 the “extremely compelling circumstances” required by this court’s June 10, 2004 Order. In

 addition, it has not demonstrated “good cause” under Rule 16(b) of the Federal Rules of Civil

 Procedure, and the court finds that SCO has unduly delayed seeking leave to assert the proposed

 cause of action. It appears that SCO–or its predecessor–either knew or should have known about

 the conduct at issue before it filed its original Complaint. Accordingly, the court declines to

 permit the filing of a Third Amended Complaint.

 III.   REVISED SCHEDULING ORDER

        Having considered the parties’ proposed Amended Scheduling Orders and the briefing

 related to the proposed Orders, the court sets forth the following deadlines:

                            EVENT                              DEADLINE
                IBM’s Complete Production of          August 1, 2005
                Discovery Pursuant to the
                Order of April 20, 2005
                Interim Deadline for Parties to       October 28, 2005
                Disclose with Specificity All
                Allegedly Misused Material
                Identified to Date and to
                Update Interrogatory
                Responses Accordingly
                Final Deadline for Parties to         December 22, 2005
                Identify with Specificity All
                Allegedly Misused Material



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                Close of All Fact Discovery           January 27, 2006
                Except As to Defenses to
                Claims Relating to Allegedly
                Misused Material
                Close of All Remaining                March 17, 2006
                Discovery (i.e., Fact Discovery
                As to Defenses to Any Claim
                Relating to Allegedly Misused
                Material)
                Initial Expert Reports                April 14, 2006
                Opposing Expert Reports               May 19, 2006
                Rebuttal Expert Reports               June 16, 2006
                Final Deadline for Expert             July 10, 2006
                Discovery
                Dispositive Motions                   July 28, 2006
                Oppositions to Dispositive            September 1, 2006
                Motions
                Reply Briefs on Dispositive           September 29, 2006
                Motions
                Rule 26(a)(3) Disclosures             January 12, 2007
                Final Pretrial Order                  January 19, 2007
                Deadline for Exchanging               January 22, 2007
                Proposed Jury Instructions1
                Motions in Limine                     January 26, 2007
                Special Attorney Conference           January 30, 2007
                and Settlement Conference




        1
            Approximately six weeks prior to trial, the court will send to the parties a Trial Order
 that sets forth deadlines regarding the exchange of jury instructions between the parties, filing of
 stipulated instructions and proposed instructions to which the parties could not agree, objections
 to proposed instructions, and responses to the objections. In the Trial Order, the court will also
 provide deadlines for filing proposed voir dire and proposed special verdict forms.

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                 Oppositions to Motions in            February 5, 2007
                 Limine
                 Reply Briefs on Motions in           February 9, 2007
                 Limine
                 5-week Jury Trial                    February 26, 2007


 IV.    UNSEALING OF DOCUMENTS

        The parties have been in the process of unsealing various documents. To ease the burden

 on the Clerk’s Office, the court requests that the parties comply with the following procedure for

 all papers that are unsealed in the future.

        If a party seeks to unseal an entire document, that party shall file only a Notice that sets

 forth the name and docket number of the document to be unsealed. The Clerk’s Office will then

 unseal that document. The parties shall not refile the entire document.

        If, however, only parts of a document are to be unsealed (i.e., various exhibits from an

 appendix containing many exhibits), that party shall file a Notice indicating each specific paper

 to be unsealed, the docket number of the document containing the papers, and actual copies of

 each paper to be unsealed.

                                           CONCLUSION

        For the foregoing reasons, IT IS HEREBY ORDERED that (1) SCO’s Motion to Compel

 IBM to Produce Samuel J. Palmisano for Deposition is GRANTED; (2) SCO’s Motion for Leave

 to File Third Amended Complaint is DENIED, (3) International Business Machines Corp.’s

 (“IBM”) Motion for Entry of Order Limiting Scope of IBM’s Ninth Counterclaim is




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 GRANTED. IBM is directed to file a proposed Order that restates its Ninth Counterclaim.2 An

 Amended Scheduling Order is set forth above, as is a procedure to follow when unsealing

 documents that were previously filed under seal.

        DATED this 1st day of July, 2005.

                                             BY THE COURT:




                                             DALE A. KIMBALL
                                             United States District Judge




        2
            IBM has previously submitted a proposed Order on this issue, but the language of the
 proposed Order is less than clear. Thus, the court directs IBM to file another proposed Order
 that clarifies the scope of the Ninth Counterclaim.

                                                 7
